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                             Exhibit B

                       DIP Credit Agreement
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                                                                      EXECUTION VERSION




              SUPERPRIORITY DEBTOR-IN-POSSESSION CREDIT AGREEMENT

                                           dated as of

                                        October 31, 2018

                                             among

                                GASTAR EXPLORATION INC.,
          as a Debtor and Debtor-in-Possession under Chapter 11 of the Bankruptcy Code,
                                           as Borrower

                         The Guarantors from time to time Party Hereto,
          as Debtors and Debtors-in-Possession under Chapter 11 of the Bankruptcy Code

                                    the Lenders Party Hereto,

                                              and

                     WILMINGTON TRUST, NATIONAL ASSOCIATION,
                               as Administrative Agent




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EXHIBITS:

Exhibit A – Form of Assignment and Assumption
Exhibit B – Form of Borrowing Request
Exhibit C – Form of Counterpart Agreement
Exhibit D – Initial Budget
Exhibit E – Form of Interest Election Request
Exhibit F – Form of Interim Order
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Schedule 1.01(c) - Subject Leases
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         SUPERPRIORITY DEBTOR-IN-POSSESSION CREDIT AGREEMENT

       This SUPERPRIORITY DEBTOR-IN-POSSESSION CREDIT AGREEMENT, dated as
of October 31, 2018, is among GASTAR EXPLORATION INC., a Delaware corporation and a
Debtor and Debtor-in-Possession under Chapter 11 of the Bankruptcy Code, as Borrower,
CERTAIN SUBSIDIARIES OF BORROWER, as Debtors and Debtors-in-Possession under
Chapter 11 of the Bankruptcy Code, as Guarantors, the LENDERS party hereto, and
WILMINGTON TRUST, NATIONAL ASSOCIATION, as Administrative Agent.

                                           RECITALS

        WHEREAS, on October 31, 2018, (the “Petition Date”), the Borrower and the Guarantors
commenced voluntary cases (the “Chapter 11 Cases”) under Chapter 11 of the Bankruptcy Code
in the United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy
Court”), and the Borrower and the Guarantors have continued to operate their businesses and
manage their properties as debtors-in-possession pursuant to sections 1107 and 1108 of the
Bankruptcy Code;

       WHEREAS, the Borrower and the Guarantors have requested and the Lenders have
agreed to provide a secured superpriority debtor-in-possession term loan facility to the Borrower
(the “DIP Facility”), comprised of loans in an aggregate principal amount not to exceed
$386,242,682.88; and

        WHEREAS, the Guarantors have agreed to guarantee the obligations of the Borrower
hereunder and the Borrower and the Guarantors have agreed to secure their respective
Obligations by granting to Administrative Agent, for the benefit of the Secured Parties, a lien on
substantially all of their respective assets, in accordance with the priorities provided in the DIP
Orders.

       NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged by the parties hereto, such parties hereby agree as follows:

                                           ARTICLE I.

                                         DEFINITIONS

      Section 1.01 Defined Terms. As used in this Agreement, the following terms have the
meanings specified below:

        “13-Week Budget” means a thirteen-week rolling operating budget and cash flow
forecast, in form and substance acceptable to the Majority Lenders in their sole discretion, which
shall reflect the Borrower’s good faith projection of all weekly cash receipts and disbursements
in connection with the operation of the Credit Parties’ and their respective Subsidiaries’ business
during such thirteen-week period on a line item basis, including but not limited to, (a)
operational expenses, (b) professional fees (provided that the projections for professional fees
shall include projections through February 15, 2019), (c) interest accrued under this Agreement,
(d) royalty obligations and (e) Adequate Protection Payments, as such budget and forecast may
be updated from time to time as required under Section 5.01(j) and which has been certified by a
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Financial Officer of the Borrower as having been prepared in good faith based upon assumptions
believed by the Credit Parties to be reasonable at the time made.

       “ABR Loan” or “ABR Borrowing” shall mean a Loan or a Borrowing consisting of
Loans bearing interest at a rate determined by reference to the Alternate Base Rate.

       “Acceptable Plan” means a plan of reorganization or liquidation that contains the terms
and conditions set forth in the Restructuring Support Agreement and which is otherwise
acceptable to the Lenders (and with respect to any provision that affects the rights or duties of
the Administrative Agent, the Administrative Agent) in their sole discretion.

        “Acceptable Security Interest” means, with respect to any Property, a Lien which
(a) exists in favor of the Administrative Agent for the benefit of the Secured Parties, (b) is
superior to all Liens or rights of any other Person in the Property encumbered thereby (other than
Non-Primed Excepted Liens), (c) secures the Obligations, and (d) is perfected and enforceable.
Any requirement that the Credit Parties provide an Acceptable Security Interest with respect to
any DrillCo PDP Reserves shall be satisfied if the applicable Credit Party grants a Wellbore Lien
with respect to such DrillCo PDP Reserves and the Oil and Gas Properties owned by any Credit
Party attributable thereto, so long as the Wellbore Lien meets the foregoing criteria.

        “Acquisition” means, the acquisition by the Borrower or any Subsidiary, whether by
purchase, merger (and, in the case of a merger with any such Person, with such Person being the
surviving corporation) or otherwise, of all or substantially all of the Capital Stock of, or all or
substantially all of the business, property or fixed assets of or business line or unit or a division
of, any other Person engaged solely in the business of producing oil or Natural Gas or the
acquisition by the Borrower or any Subsidiary of Property consisting of Oil and Gas Property.

       “Act” shall have the meaning assigned to such term in Section 11.16.

       “Adequate Protection Liens” has the meaning ascribed to such term in the Interim Order
or, upon entry of the Final DIP Order, in the Final DIP Order, as applicable.

        “Adequate Protection Payments” means the adequate protection payments to the
Prepetition Secured Parties pursuant to the terms of the DIP Orders.

        “Adjusted LIBO Rate” means, with respect to any Eurodollar Borrowing for any Interest
Period, the greater of (a) (x) an interest rate per annum (rounded upward, if necessary, to the
next 1/100th of 1%) determined by the Administrative Agent to be equal to the LIBO Rate for
such Eurodollar Borrowing in effect for such Interest Period divided by (y) 1 minus the Statutory
Reserves (if any) for such Eurodollar Borrowing for such Interest Period and (b) 2.00% per
annum.

       “Administrative Agent” means Wilmington Trust, National Association, in its capacity as
Administrative Agent under any of the Loan Documents, and any successor agent appointed
pursuant to Article IX.

       “Administrative Questionnaire” means an Administrative Questionnaire in a form
supplied by the Administrative Agent.


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      “Advance Payment” has the meaning assigned to such term in the definition of Advance
Payment Contract.

        “Advance Payment Contract” means any contract whereby any Credit Party either
(a) receives or becomes entitled to receive (either directly or indirectly) any payment
(an “Advance Payment”) to be applied toward payment of the purchase price of Hydrocarbons
produced or to be produced from Oil and Gas Property owned by any Credit Party and which
Advance Payment is, or is to be, paid in advance of actual delivery of such production to or for
the account of the purchaser regardless of such production, or (b) grants an option or right of
refusal to the purchaser to take delivery of such production in lieu of payment, and, in either of
the foregoing instances, the Advance Payment is, or is to be, applied as payment in full for such
production when sold and delivered or is, or is to be, applied as payment for a portion only of the
purchase price thereof or of a percentage or share of such production; provided that inclusion of
the standard “take or pay” provision in any gas sales or purchase contract or any other similar
contract in the ordinary course of business shall not, in and of itself, constitute such contract as
an Advance Payment Contract for the purposes hereof.

        “Affiliate” means, with respect to a specified Person, another Person that directly, or
indirectly through one or more intermediaries, Controls or is Controlled by or is under common
Control with the Person specified.

       “Affiliate Transaction” shall have the meaning assigned to such term in Section 6.10(a).

       “Aggregate Commitment” means, collectively, the aggregate New Money Commitments
and the aggregate Refinanced Commitments.

       “Agreement” means this Superpriority Debtor-in-Possession Credit Agreement, dated as
of October 31, 2018, as it may be amended, restated, amended and restated, supplemented or
otherwise modified from time to time.

         “Alternate Base Rate” shall mean, for any day, a fluctuating rate per annum (rounded
upward, if necessary, to the nearest 1/100th of 1%) equal to the greatest of (a) the Base Rate in
effect on such day, (b) the Federal Funds Effective Rate in effect on such day plus 1/2 of 1.00%
or (c) the Adjusted LIBO Rate for a one-month Interest Period beginning on such day (or if such
day is not a Business Day, on the immediately preceding Business Day) plus 1.00%. If the
Administrative Agent shall have determined (which determination shall be conclusive absent
manifest error) that it is unable to ascertain the Federal Funds Effective Rate for any reason,
including the inability or failure of the Administrative Agent to obtain sufficient quotations in
accordance with the terms of the definition thereof, the Alternate Base Rate shall be determined
without regard to clause (b) of the preceding sentence until the circumstances giving rise to such
inability no longer exist. Any change in the Alternate Base Rate due to a change in the Base
Rate or the Federal Funds Effective Rate shall be effective on the effective date of such change
in the Base Rate or the Federal Funds Effective Rate, respectively.

       “Anti-Corruption Laws” shall mean all laws, rules, and regulations of any jurisdiction
applicable to the Borrower or any of its Affiliates from time to time concerning or relating to
bribery or corruption, including without limitation the United States Foreign Corrupt Practices



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Act of 1977, as amended, the UK Bribery Act 2010 and other similar legislation in any other
jurisdictions.

        “Applicable Margin” shall mean, for any day (a) with respect to any Eurodollar Loan,
7.50% per annum and (b) with respect to any ABR Loan, 6.50% per annum; provided that to the
extent any Loan is outstanding for more than 90 days, the “Applicable Margin” for such Loan
(including, in the case of a Refinanced Loan, PIK Interest added to the principal amount of such
Refinanced Loan regardless of when such PIK Interest was added to such Refinanced Loan) shall
be increased from and after the 91st day by 2.50% per annum.

        “Applicable Percentage” means, with respect to any Lender at any time, a percentage
equal to a fraction, the numerator of which is the sum of such Lender’s Credit Exposure and
unused Commitments at such time and the denominator of which is the aggregate Credit
Exposure and aggregate unused Commitments at such time.

        “Approved Budget” means each of (a) the Initial Budget and (b) any 13-Week Budget
delivered by the Borrower pursuant to Section 5.01(j) and approved by the Majority Lenders in
their sole discretion.

       “Approved Fund” has the meaning assigned to such term in Section 11.04(b).

       “Approved Petroleum Engineer” means Wright & Company, Inc. or any reputable firm of
independent petroleum engineers selected by the Borrower and reasonably acceptable to the
Majority Lenders.

        “Ares” means (a) Ares Management LLC, its Affiliated investment managers and funds
or accounts managed by any of them (but excluding any portfolio companies that are owned in
whole or in part by any of the foregoing) and (b) any partner, member, manager, principal,
director or officer of any of the foregoing.

       “Asset Sale” means any Disposition by any Credit Party of any Property other than
Dispositions permitted by clauses (a), (b), (c), (d), (e) or (f) of Section 6.05.

       “Assignment and Assumption” means an assignment and assumption entered into by a
Lender and an Eligible Assignee (with the consent of any Person whose consent is required
under 11.04), and accepted by the Administrative Agent, in the form of Exhibit A or any other
form approved by the Administrative Agent.

      “Bankruptcy Code” shall mean Title 11 of the United States Code entitled “Bankruptcy,”
now and hereafter in effect, or any applicable successor statute.

       “Bankruptcy Court” shall have the meaning assigned to such term in the recitals hereto.

       “Base Rate” shall mean, for any day, the prime lending rate published in The Wall Street
Journal for such day; provided that if The Wall Street Journal ceases to publish for any reason
such rate of interest, “Base Rate” shall mean the prime lending rate as set forth on the Bloomberg
page PRIMBB Index (or successor page) for such day (or such other service as determined by
the Administrative Agent from time to time for purposes of providing quotations of prime


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lending interest rates); each change in the Base Rate shall be effective on the date such change is
effective. The prime rate is not necessarily the lowest rate charged by any financial institution to
its customers.

       “Board” means the Board of Governors of the Federal Reserve System of the
United States of America.

       “Borrower” means Gastar Exploration Inc., a Delaware corporation, and its successors
and permitted assigns.

       “Borrower Materials” shall have the meaning assigned to such term in Section 11.01(d).

      “Borrowing” shall mean Loans of the same Type made, converted or continued on the
same date and, in the case of Eurodollar Loans, as to which a single Interest Period is in effect.

        “Borrowing Cap” means, for any week, (a) with respect to New Money Interim Loans
and New Money Final Loans, the amount of Borrowings (if any) actually needed by the
Borrower at the applicable time of determination (taking into account the Borrower’s cash on
hand at such time) to fund the Chapter 11 Cases and/or the Borrower’s working capital needs
(after giving effect to the Minimum Liquidity Floor) for the immediately succeeding 14-day
period (any such applicable period, a “Borrowing Cap Period”) in the amounts expressly
provided for in the Approved Budget for such Borrowing Cap Period, net of (and without
duplicating) any New Money Interim Loans or New Money Final Loans previously made in
respect of amounts provided for in the Approved Budget for such Borrowing Cap Period, and (b)
with respect to New Money Reserve Loans, the amount of Borrowings (if any) actually needed
by the Borrower at the applicable time of determination (taking into account the Borrower’s cash
on hand at such time) to fund Operating Rights Preservation Activities (after giving effect to the
Minimum Liquidity Floor) in the amounts expressly approved by the Lenders for the applicable
Borrowing Cap Period, net of (and without duplicating) any New Money Reserve Loans
previously made in respect of Operating Rights Preservation Activities in respect of amounts so
approved by the Lenders for such Borrowing Cap Period.

       “Borrowing Request” means a written request by the Borrower for a New Money Loan in
accordance with Section 2.03, which shall be substantially in the form of Exhibit B.

       “Breakage Event” shall have the meaning assigned to such term in Section 2.16.

       “Budget Event” shall mean any of the following:

        (a)   the actual amount of aggregate cumulative operating disbursements and expenses
(excluding professional fees and expenses) during any Budget Testing Period shall exceed the
projected cumulative operating disbursements (on a cumulative basis) in the Approved Budget
for such Budget Testing Period by more than 10%; or

        (b)    the aggregate amount of actual receipts during any Budget Testing Period shall be
less than 80% of the aggregate cumulative receipts in the Approved Budget for such Budget
Testing Period (the variances described in (a) and (b), the “Permitted Variance”).



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     “Budget Testing Date” means Thursday of each calendar week, commencing on
November 8, 2018.

       “Budget Testing Period” means, with respect to the initial Budget Testing Date, the
period beginning on the Petition Date and ending on a Saturday immediately preceding the initial
Budget Testing Date and for each Budget Test Date thereafter, the one-week period ending on
the Saturday immediately preceding such Budget Test Date.

        “Business Day” shall mean any day other than a Saturday, Sunday or day on which
banks in New York City are authorized or required by law to close; provided that, when used in
connection with a Eurodollar Loan, the term “Business Day” shall also exclude any day on
which banks are not open for dealings in Dollar deposits in the London interbank market.

         “Capital Lease Obligations” of any Person means the obligations of such Person to pay
rent or other amounts under any lease of (or other arrangement conveying the right to use) real or
personal property, or a combination thereof, which obligations are required to be classified and
accounted for as capital leases or lease obligations on a balance sheet of such Person under
GAAP, and the amount of such obligations shall be the capitalized amount thereof determined in
accordance with GAAP.

        “Capital Stock” means shares of capital stock, partnership interests, membership interests
in a limited liability company, beneficial interests in a trust or other equity ownership interests in
a Person, and any warrants, options or other rights entitling the holder thereof to purchase or
acquire any such equity interest.

        “Carry Forward Amount” means, with respect to any given line item in the Approved
Budget for any given week (a) with respect to disbursements and expenses (other than
professional fees), the amount (if any) by which the budgeted operating disbursements and
expenses as stated in the Approved Budget for the immediately preceding week exceeded the
actual operating disbursements and expenses for such immediately preceding week and (b) with
respect to receipts, the amount (if any) by which the actual cash receipts for the immediately
preceding week exceed the budgeted cash receipts as stated in the Approved Budget for such
immediately preceding week.

       “Carve-Out” shall have the meaning assigned to such term in the Interim Order.

       “Cash Collateral” means all cash and Cash Equivalents in the Cash Collateral Account.

        “Cash Collateral Account” means, in respect of the Credit Parties, one or more deposit
accounts (including, for avoidance of doubt, any lockboxes or similar accounts, any related
securities accounts and any accounts holding Cash Equivalents), and with respect to which the
Secured Parties shall have a perfected Lien as security for the payment and performance of the
Obligations by virtue of, and having the priority set forth in, the DIP Orders.

        “Cash Equivalents” means: (a) marketable direct obligations issued by, or
unconditionally guaranteed by, the United States government or issued by any agency thereof
and backed by the full faith and credit of the United States, in each case maturing within one
year from the date of acquisition; (b) certificates of deposit, time deposits, or overnight bank


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deposits having maturities of six months or less from the date of acquisition issued by any
Lender or by any commercial bank organized under the laws of the United States of America or
any state thereof having combined capital and surplus of not less than $500,000,000;
(c) commercial paper of an issuer rated at least A-2 by S&P or P-2 by Moody’s, or carrying an
equivalent rating by a “nationally recognized statistical rating organization” (within the meaning
of proposed Rule 3b-10 promulgated by the SEC under the Exchange Act), if both of the two
named rating agencies cease publishing ratings of commercial paper issuers generally, and
maturing within six months from the date of acquisition; (d) repurchase obligations of any
Lender or of any commercial bank satisfying the requirements of clause (b) of this definition,
having a term of not more than 30 days with respect to securities issued or fully guaranteed or
insured by the United States government; (e) securities with maturities of one year or less from
the date of acquisition issued or fully guaranteed by any state, commonwealth or territory of the
United States, by any political subdivision or taxing authority of any such state, commonwealth
or territory, the securities of which state, commonwealth, territory, political subdivision or taxing
authority (as the case may be) are rated at least A by S&P or A by Moody’s; (f) securities with
maturities of six months or less from the date of acquisition backed by standby letters of credit
issued by any Lender or any commercial bank satisfying the requirements of clause (b) of this
definition; and (g) shares of money market mutual or similar funds which invest exclusively in
assets satisfying the requirements of clauses (a) through (f) of this definition.

       “Casualty Event” means any loss, casualty or other insured damage to, or any
nationalization, taking under power of eminent domain or by condemnation or similar
proceeding of, any Property of the Credit Parties.

         “Change in Law” means the occurrence after the date of this Agreement or, with respect
to the Administrative Agent or any Lender, such later date on which the Administrative Agent or
such Lender becomes a party to this Agreement of (a) the adoption of any law, rule, regulation or
treaty, (b) any change in any law, rule, regulation or treaty or in the interpretation or application
thereof by any Governmental Authority or (c) compliance by any Lender (or, for purposes of
Section 2.14(b), by any lending office of such Lender or by such Lender’s holding company, if
any) with any request, guideline or directive (whether or not having the force of law) of any
Governmental Authority made or issued after the date of this Agreement; provided that,
notwithstanding anything herein to the contrary, (x) the Dodd-Frank Wall Street Reform and
Consumer Protection Act and all requests, rules, guidelines or directives thereunder or issued in
connection therewith and (y) all requests, rules, guidelines or directives promulgated by the Bank
for International Settlements, the Basel Committee on Banking Supervision (or any successor or
similar authority) or the United States or foreign regulatory authorities, in each case pursuant to
Basel III, shall be deemed to be a “Change in Law” regardless of the date enacted, adopted or
issued.

       “Change of Control” means

        (a)    any “person” or “group” (as such terms are used in sections 13(d) and 14(d) of the
Securities Exchange Act of 1934, as amended (the “Exchange Act”)), other than Ares or any
Related Party thereof, is or becomes the beneficial owner (as defined in Rules 13d-3 and 13d-5
under the Exchange Act, except that such person or group shall be deemed to have “beneficial
ownership” of all shares that such person or group has the right to acquire, whether such right is


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exercisable immediately or only after the passage of time), directly or indirectly, of more
than 35% of the total voting power of the outstanding Capital Stock normally entitled to vote in
the election of directors (“Voting Stock”) of the Borrower (or its successor by merger,
consolidation or purchase of all or substantially all of its assets); or

        (b)     a disposition by the Borrower or any Subsidiary pursuant to which the Borrower
or any Subsidiary sells, leases, licenses, transfers, assigns or otherwise Disposes, in one or a
series of related transactions, all or substantially all of the properties or assets of Borrower and
its Subsidiaries as determined by reference to the Borrower’s and its Subsidiaries’ financial
statements on the last day of the most recently ended fiscal quarter, determined on a consolidated
basis in accordance with GAAP.

       “Chapter 11 Cases” shall have the meaning assigned to such term in the recitals hereto.

       “Charges” has the meaning assigned to such term in Section 11.15.

       “Code” means the Internal Revenue Code of 1986, as amended from time to time.

       “Collateral” means all right, title and interest held by any Credit Party in any Property,
including the Property described in Section 10.01, but excluding any such Property specifically
excluded under this Agreement or the applicable DIP Order.

       “Committee” means an official creditors’ committee of creditors holding unsecured
claims appointed by the Bankruptcy Court in respect of the Cases pursuant to Section 1102(a) of
the Bankruptcy Code.

       “Commitment” means a New Money Commitment or a Refinanced Commitment.

       “Connection Income Taxes” means Other Connection Taxes that are imposed on or
measured by net income (however denominated) or that are franchise Taxes or branch profits
Taxes.

       “Consolidated Subsidiaries” means, for any Person, any Subsidiary or other entity the
accounts of which would be consolidated with those of such Person in its consolidated financial
statements in accordance with GAAP.

        “Control” means the possession, directly or indirectly, of the power to direct or cause the
direction of the management or policies of a Person, whether through the ability to exercise
voting power, by contract or otherwise. “Controlling” and “Controlled” have meanings
correlative thereto.

       “Counterpart Agreement” means a Counterpart Agreement substantially in the form of
Exhibit C delivered by a Guarantor pursuant to Section 5.14.

       “Credit Date” means the date of a Borrowing.

       “Credit Exposure” means, with respect to any Lender at any time, the outstanding
principal amount of such Lender’s Loans at such time.


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       “Credit Parties” means, collectively, the Borrower and each Guarantor, and each
individually, a “Credit Party”.

      “Default” means any event or condition which constitutes an Event of Default or which
upon notice, lapse of time or both would, unless cured or waived, become an Event of Default.

        “Default Rate” shall mean, with respect to the Loans or other Obligations which accrue
interest at the Default Rate hereunder, a rate per annum equal to the sum of three percent
(3%) plus the interest rate otherwise applicable thereto.

       “DIP Facility” has the mean set forth in the recitals hereto.

       “DIP Orders” means the Interim Order and the Final DIP Order, as applicable.

        “Discharge of Obligations” means (a) the indefeasible payment in full in cash of all
Obligations (other than contingent indemnity obligations for which no claim for payment has
been made (which indemnity obligations continue to survive as expressly provided in this
Agreement or in any other Loan Document)), (b) termination or expiration of the Aggregate
Commitments and (c) termination of this Agreement other than indemnity and reimbursement
obligations which expressly survive the termination hereof.

       “Disclosed Matters” means the actions, suits and proceedings and the environmental
matters disclosed in Schedule 3.06.

        “Disposition” or “Dispose” means the sale, transfer, license, lease, exchange or other
disposition (including any Sale and Leaseback Transaction) of any property by any Person,
including any sale, assignment, transfer or other disposal, with or without recourse, of any notes
or accounts receivable or any rights and claims associated therewith.

        “Disqualified Stock” means any Capital Stock which, by its terms (or by the terms of any
security into which it is convertible or for which it is exchangeable), or upon the happening of
any event, matures or is mandatorily redeemable for any consideration other than other Capital
Stock (which would not constitute Disqualified Stock), pursuant to a sinking fund obligation or
otherwise, or is redeemable for any consideration other than other Capital Stock (which would
not constitute Disqualified Stock) at the sole option of the holder thereof, in whole or in part, on
or prior to the date that is 91 days after the Maturity Date.

       “Dollars” or “$” refers to lawful money of the United States of America.

       “DrillCo Agreement” means that certain Development Agreement dated as of
October 14, 2016 by and between the Borrower and DrillCo Investor, as amended as permitted
under this Agreement.

       “DrillCo Contract Area” means the following locations in Kingfisher County, Oklahoma:
Township 18 North – Range 6 West, Township 18 North – Range 7 West and Township 18
North – Range 8 West.




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      “DrillCo Investor” means STACK Exploration LLC, a Delaware limited liability
company.

       “DrillCo Joint Well” means a “Joint Well Program Interest,” as that term is defined in the
DrillCo Agreement, that is located in the DrillCo Contract Area.

       “DrillCo Operating Agreement” means a “DrillCo Operating Agreement” as that term is
defined in the DrillCo Agreement.

        “DrillCo PDP Reserves” means the Proved Developed Producing Reserves of any Credit
Party attributable to any well located in the DrillCo Contract Area.

        “DrillCo Required Disposition” means an assignment to the DrillCo Investor of an
interest in a DrillCo Joint Well in accordance with the DrillCo Agreement pursuant to a DrillCo
Wellbore Assignment.

        “DrillCo Wellbore Assignment” means a “Wellbore Assignment” as that term is defined
in the DrillCo Agreement.

       “Effective Date” means the date the conditions set forth in Section 4.01 are satisfied (or
waived by the Majority Lenders) which date is November [2]1, 2018.

       “Electronic Signature” means an electronic sound, symbol, or process attached to, or
associated with, a contract or other record and adopted by a person with the intent to sign,
authenticate or accept such contract or record.

       “Eligible Assignee” means any Person that qualifies as an assignee pursuant to
Section 11.04(b)(i); provided that, notwithstanding the foregoing, “Eligible Assignee” shall not
include the Borrower or any of the Borrower’s Affiliates or Subsidiaries.

       “Environmental Laws” means all laws (including common law), rules, regulations, codes,
ordinances, orders, determinations, decrees, judgments, injunctions, notices or binding
agreements issued, promulgated or entered into by any Governmental Authority, relating in any
way to the environment, preservation or reclamation of natural resources, pollution, the
management, release or threatened release of any Hazardous Material or to health and safety
matters.

         “Environmental Liability” means any liability, contingent or otherwise (including any
liability for damages, costs of environmental remediation, fines, penalties or indemnities), of any
Credit Party directly or indirectly resulting from or based upon (a) violation of or liability under
any Environmental Law, (b) the generation, use, handling, transportation, storage, treatment or
disposal (or arrangement for the disposal) of any Hazardous Materials, (c) exposure to any
Hazardous Materials, (d) the release or threatened release of any Hazardous Materials into the
environment or (e) any contract, agreement or other consensual arrangement pursuant to which
liability is assumed or imposed with respect to any of the foregoing.


1
    NTD: To be updated as needed.


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       “ERISA” means the Employee Retirement Income Security Act of 1974, as amended
from time to time.

        “ERISA Affiliate” means any trade or business (whether or not incorporated) that,
together with any Credit Party, is treated as a single employer under Section 414(b) or (c) of the
Code or, solely for purposes of Section 302 of ERISA and Section 412 of the Code, is treated as
a single employer under Section 414 of the Code.

        “ERISA Event” means (a) any “reportable event”, as defined in Section 4043 of ERISA
or the regulations issued thereunder with respect to a Plan (other than an event for which
the 30-day notice period is waived); (b) the failure of any Plan to satisfy the minimum funding
standard applicable to that Plan for a plan year under Section 412 of the Code or Section 302 of
ERISA; (c) the filing pursuant to Section 412(d) of the Code or Section 303(d) of ERISA of an
application for a waiver of the minimum funding standard with respect to any Plan; (d) the
incurrence by any Credit Party or any of its ERISA Affiliates of any liability under Title IV of
ERISA with respect to the termination of any Plan; (e) the receipt by any Credit Party or any
ERISA Affiliate from the PBGC or a plan administrator of any notice relating to an intention to
terminate any Plan or Plans or to appoint a trustee to administer any Plan; (f) the incurrence by
any Credit Party or any of its ERISA Affiliates of any liability with respect to the withdrawal or
partial withdrawal from any Plan or Multiemployer Plan; or (g) the receipt by any Credit Party or
any ERISA Affiliate of any notice, or the receipt by any Multiemployer Plan from any Credit
Party or any ERISA Affiliate of any notice, concerning the imposition of Withdrawal Liability or
a determination that a Multiemployer Plan is, or is expected to be, insolvent or in reorganization,
within the meaning of Title IV of ERISA.

        “Eurodollar Loan” or “Eurodollar Borrowing” shall mean a Loan or a Borrowing
consisting of Loans bearing interest at a rate determined by reference to the Adjusted LIBO Rate.

       “Event of Default” has the meaning assigned to such term in Article VIII.

       “Excluded Make-Whole Prepayments” shall mean any prepayment in connection with an
Asset Sale or Casualty Event pursuant to Section 2.07.

        “Excluded Taxes” means any of the following Taxes imposed on or with respect to a
Recipient or required to be withheld or deducted from a payment to a Recipient, (a) Taxes
imposed on or measured by net income (however denominated), franchise Taxes, and branch
profits Taxes, in each case, (i) imposed as a result of such Recipient being organized under the
laws of, or having its principal office or, in the case of any Lender, its applicable lending office
located in, the jurisdiction imposing such Tax (or any political subdivision thereof) or (ii) that are
Other Connection Taxes, (b) in the case of a Lender, U.S. Federal withholding Taxes imposed on
amounts payable to or for the account of such Lender with respect to an applicable interest in a
Loan or Commitment pursuant to a law in effect on the date on which (i) such Lender acquires
such interest in the Loan or Commitment or (ii) such Lender changes its lending office, except in
each case to the extent that, pursuant to Section 2.17, amounts with respect to such Taxes were
payable either to such Lender’s assignor immediately before such Lender acquired the applicable
interest in a Loan or Commitment or to such Lender immediately before it changed its lending




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office, (c) Taxes attributable to such Recipient’s failure to comply with Section 2.17(f) and
(g) and (d) any U.S. Federal withholding Taxes imposed under FATCA.

       “Excluded Collateral” shall have the meaning assigned to such term in Section 10.01(a).

       “Excluded Contracts” shall have the meaning assigned to such term in Section 10.01(a).

       “Excluded Trademark Applications” shall have the meaning assigned to such term in
Section 10.01(a).

       “Fair Market Value” means, with respect to any asset or liability, the fair market value of
such asset or liability as determined by the Borrower in good faith in accordance with generally
accepted finance practices.

       “FASB” means Financial Accounting Standards Board.

        “FATCA” means Sections 1471 through 1474 of the Code, as of the date of this
Agreement (or any amended or successor version that is substantively comparable and not
materially more onerous to comply with), any current or future regulations or official
interpretations thereof, any agreements entered into pursuant to Section 1471(b)(1) of the Code
and any fiscal or regulatory legislation, rules or practices adopted pursuant to any
intergovernmental agreement, treaty or convention among Governmental Authorities entered into
in connection with the implementation of the foregoing.

        “Federal Funds Effective Rate” means, for any day, the weighted average (rounded
upwards, if necessary, to the next 1/100 of 1%) of the rates on overnight Federal funds
transactions with members of the Federal Reserve System arranged by Federal funds brokers, as
published on the next succeeding Business Day by the Federal Reserve Bank of New York, or, if
such rate is not so published for any day that is a Business Day, the average (rounded upwards, if
necessary, to the next 1/100 of 1%) of the quotations for such day for such transactions received
by the Administrative Agent from three Federal funds brokers of recognized standing selected by
it.

        “Fee Letter” means that certain Fee Letter by and between the Borrower and the
Administrative Agent dated as of the Effective Date, as may be amended, restated, supplemented
or otherwise modified from time to time.

       “Final DIP Order” means the Final Order entered by the Bankruptcy Court in form and
substance satisfactory to the Credit Parties in their reasonable discretion and the Majority
Lenders (and with respect to any provisions that affect the rights or duties of the Administrative
Agent, the Administrative Agent) in their sole discretion authorizing the Credit Parties to (a)
obtain post-petition secured financing pursuant to this Agreement, (b) use Cash Collateral during
the pendency of the Chapter 11 Cases and (c) granting certain related relief, as the same may be
amended, modified or supplemented from time to time with the prior written consent of the
Majority Lenders in their sole discretion.

       “Final DIP Order Entry Date” means the date on which the Final DIP Order shall have
been entered on the docket of the Bankruptcy Court.


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        “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court or
other court of competent jurisdiction with respect to the relevant subject matter that has not been
reversed, stayed, modified, or amended, and as to which the time to appeal or seek certiorari has
expired and no appeal or petition for certiorari has been timely taken, or as to which any appeal
that has been taken or any petition for certiorari that has been or may be filed has been resolved
by the highest court to which the order or judgment could be appealed or from which certiorari
could be sought or the new trial, reargument, or rehearing shall have been denied, resulted in no
modification of such order, or has otherwise been dismissed with prejudice.

        “Financial Officer” means the chief financial officer of any Credit Party. Any document
delivered hereunder that is signed by a Financial Officer of a Credit Party shall be conclusively
presumed to have been authorized by all necessary corporate, partnership and/or other action on
the part of such Credit Party and such Financial Officer shall be conclusively presumed to have
acted on behalf of such Credit Party.

       “Foreign Lender” means a Lender that is not a U.S. Person.

        “GAAP” means generally accepted accounting principles in the United States of America
as in effect from time to time subject to the terms and conditions set forth in Section 2.01.

        “Gas Imbalance” means (a) a sale or utilization by the Borrower or any of its Subsidiaries
of volumes of Natural Gas in excess of its gross working interest, (b) receipt of volumes of
natural gas into a gathering system and redelivery by the Borrower or any of its Subsidiaries of a
larger or smaller volume of Natural Gas under the terms of the applicable transportation
agreement, or (c) delivery to a gathering system of a volume of Natural Gas produced by the
Borrower or any of its Subsidiaries that is larger or smaller than the volume of Natural Gas such
gathering system redelivers for the account of the Borrower or any of its Subsidiaries, as
applicable.

        “Governmental Authority” means the government of the United States of America, any
other nation or any political subdivision thereof, whether state or local, and any agency,
authority, instrumentality, regulatory body, court, central bank or other entity properly exercising
executive, legislative, judicial, taxing, regulatory or administrative powers or functions of or
pertaining to government.

         “Guarantee” of or by any Person (in this definition, the “guarantor”) means any
obligation, contingent or otherwise, of the guarantor guaranteeing or having the economic effect
of guaranteeing any Indebtedness or other obligation of any other Person (the “primary obligor”)
in any manner, whether directly or indirectly, and including any obligation of the guarantor,
direct or indirect, (a) to purchase or pay (or advance or supply funds for the purchase or payment
of) such Indebtedness or other obligation or to purchase (or to advance or supply funds for the
purchase of) any security for the payment thereof, (b) to purchase or lease property, securities or
services for the purpose of assuring the owner of such Indebtedness or other obligation of the
payment thereof, (c) to maintain working capital, equity capital or any other financial statement
condition or liquidity of the primary obligor so as to enable the primary obligor to pay such
Indebtedness or other obligation or (d) as an account party in respect of any letter of credit or
letter of guaranty issued to support such Indebtedness or obligation; provided, that the term


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Guarantee shall not include endorsements for collection or deposit in the ordinary course of
business.

       “Guaranteed Liabilities” has the meaning assigned to such term in Section 7.01.

        “Guarantor” means the Borrower (with respect to the Obligations of the other Credit
Parties) and each Subsidiary that is a party hereto or hereafter executes and delivers to the
Administrative Agent and the Lenders a Counterpart Agreement pursuant to Section 5.14 or
otherwise.

        “Hazardous Materials” means all explosive or radioactive materials, substances or wastes
and all hazardous or toxic materials, substances or wastes or other chemicals or pollutants,
including petroleum or petroleum distillates, asbestos or asbestos containing materials,
polychlorinated biphenyls, radon gas, infectious or medical wastes and all other materials,
substances or wastes of any nature regulated pursuant to, or for which liability or standards of
conduct may be imposed under, any Environmental Law.

       “Hedge Carve-Out” shall have the meaning assigned to such term in the Interim Order.

         “Hedge Modification” means the amendment, modification, cancellation, monetization,
sale, transfer, assignment, early termination or other disposition of any Swap Agreement.

        “Hydrocarbon Interests” all presently existing or after-acquired rights, titles and interests
in and to oil and gas leases, oil, gas and mineral leases, other Hydrocarbon leases, mineral
interests, mineral servitudes, overriding royalty interests, royalty interests, net profits interests,
production payment interests and other similar interests. Unless otherwise qualified, all
references to a Hydrocarbon Interest or Hydrocarbon Interests in this Agreement shall refer to a
Hydrocarbon Interest or Hydrocarbon Interests of the Borrower or the Guarantors.

       “Hydrocarbons” means, collectively, oil, gas, casinghead gas, drip gasoline, Natural Gas,
condensate, distillate and all other liquid or gaseous hydrocarbons and related minerals and all
products therefrom, in each case whether in a natural or a processed state.

         “Indebtedness” of any Person means, without duplication, (a) all obligations of such
Person for borrowed money, (b) all obligations of such Person evidenced by bonds, debentures,
notes or similar instruments, (c) all obligations of such Person under conditional sale or other
title retention agreements relating to property acquired by such Person, (d) all obligations of such
Person in respect of the deferred purchase price of property or services (excluding, other than for
purposes of Section 6.02, those incurred in the ordinary course of business which are not greater
than 60 days past the due date or which are being contested in good faith by appropriate action
and for which adequate reserves have been maintained in accordance with GAAP), (e) all
Indebtedness of others secured by (or for which the holder of such Indebtedness has an existing
right, contingent or otherwise, to be secured by) any Lien on property owned or acquired by such
Person, whether or not the Indebtedness secured thereby has been assumed by such Person, but
limited to the lesser of (i) the amount of such Indebtedness and (ii) the fair market value of the
property securing such Indebtedness, (f) all Guarantees by such Person of Indebtedness of others
to the extent of the lesser of the amount of such Indebtedness and the maximum stated amount of
such Guarantee, (g) all Capital Lease Obligations of such Person, (h) all obligations, contingent


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or otherwise, of such Person as an account party in respect of letters of credit and letters of
guaranty, (i) all obligations, contingent or otherwise, of such Person in respect of bankers’
acceptances, (j) attributable Indebtedness in respect of Sale and Leaseback Transactions and
(k) all obligations of such Person relating to any Production Payment. The Indebtedness of any
Person shall include the Indebtedness of any other entity (including any partnership in which
such Person is a general partner) to the extent such Person is liable therefor as a result of such
Person’s ownership interest in or other relationship with such entity, except to the extent the
terms of such Indebtedness provide that such Person is not liable therefor.

        “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or with
respect to any payment made by or on account of any obligation of any Credit Party under any
Loan Document and (b) to the extent not otherwise described in (a) hereof, Other Taxes.

       “Indemnitee” has the meaning assigned to such term in Section 11.03.

       “Ineligible Institution” has the meaning assigned to it in Section 11.04(b).

       “Information” has the meaning assigned to such term in Section 11.12.

       “Initial Budget” means the 13-Week Budget prepared by the Borrower and furnished to
the Lenders on the Effective Date in the form of Exhibit D.

       “Interest Election Request” shall mean a request by the Borrower in accordance with the
terms of Section 2.13 and substantially in the form of Exhibit E or such other form as shall be
approved by the Administrative Agent.

        “Interest Payment Date” shall mean (a) with respect to any ABR Loan, the last Business
Day of each calendar month and any date upon which a payment or prepayment thereof is made
and (b) with respect to any Eurodollar Borrowing, the last day of the Interest Period applicable to
such Borrowing, and any date upon which a payment or prepayment thereof is made.

         “Interest Period” shall mean, with respect to any Eurodollar Borrowing, the period
commencing on the date of such Borrowing and ending on the numerically corresponding day
that is (x) one week thereafter or (y) one month thereafter, in any case at the Borrower’s election
pursuant to Section 2.03 or 2.13, as applicable; provided that (a) if any Interest Period would end
on a day other than a Business Day, such Interest Period shall be extended to the next succeeding
Business Day unless such next succeeding Business Day would fall in the next calendar month,
in which case such Interest Period shall end on the next preceding Business Day, (b) any Interest
Period that begins on the last Business Day of a calendar month (or on a day for which there is
no numerically corresponding day in the calendar month at the end of such Interest Period) shall,
subject to clause (c), end on the last Business Day of the calendar month at the end of such
Interest Period and (c) no Interest Period for any Borrowing shall extend beyond the applicable
Maturity Date. Interest shall accrue from and including the first day of an Interest Period to but
excluding the last day of such Interest Period. For purposes hereof, the date of the Borrowing
initially shall be the date on which the Borrowing is made and thereafter shall be the effective
date of the most recent conversion or continuation of the Borrowing.




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        “Interim Order” means the interim order in the form of Exhibit F entered by the
Bankruptcy Court (a) authorizing, on an interim basis, the Credit Parties to (i) obtain post-
petition secured financing pursuant to this Agreement and (ii) use Cash Collateral during the
pendency of the Chapter 11 Cases, and (b) granting certain related relief, as the same may be
amended, modified or supplemented from time to time with the prior written consent of the
Majority Lenders (and with respect to any provisions that affect the rights or duties of the
Administrative Agent, the Administrative Agent) in their sole discretion.

       “Interim Order Entry Date” means the date on which the Interim Order shall have been
entered on the docket of the Bankruptcy Court.

         “Investment” means all direct or indirect investments by such Person in other Persons
(including, without limitation, Affiliates) in the forms of loans (including Guarantees or other
obligations), advances or capital contributions (excluding commission, travel and similar
advances to officers and employees made in the ordinary course of business), purchases or other
acquisitions for consideration of Indebtedness, Capital Stock or other securities (excluding any
interest in an oil or Natural Gas leasehold to the extent constituting a security under applicable
law), together with all items that are or would be classified as investments on a balance sheet
prepared in accordance with GAAP.

       “IRS” means the United States Internal Revenue Service.

       “Lenders” means the Persons listed on Schedule 2.01 and any other Person that shall
have become a party hereto pursuant to an Assignment and Assumption, other than any such
Person that ceases to be a party hereto pursuant to an Assignment and Assumption.

         “LIBO Rate” shall mean, with respect to any Eurodollar Borrowing for any Interest
Period therefor, the rate per annum determined by the Administrative Agent by reference to the
ICE Benchmark Administration London Interbank Offered Rate for deposits in Dollars with a
term equivalent to such Interest Period (as set forth on the applicable Bloomberg screen page or
by or such other commercially available source providing such quotations as may be designated
by the Administrative Agent from time to time) at approximately 11:00 a.m., London, England
time, on the second full Business Day preceding the first day of such Interest Period; provided
that to the extent that an interest rate is not ascertainable pursuant to the foregoing provisions of
this definition, the LIBO Rate shall be the interest rate per annum determined by the
Administrative Agent to be the average of the rates per annum at which the Administrative
Agent is offered deposits in Dollars by major banks in the London interbank market in London,
England at approximately 11:00 a.m., London, England time, two (2) Business Days prior to the
first day of such Interest Period.

        “Lien” means, with respect to any asset, (a) any mortgage, deed of trust, lien, pledge,
hypothecation, encumbrance, charge or security interest in, on or of such asset, (b) the interest of
a vendor or a lessor under any conditional sale agreement, capital lease or title retention
agreement (or any financing lease having substantially the same economic effect as any of the
foregoing) relating to such asset and (c) in the case of securities, any purchase option, call or
similar right of a third party with respect to such securities.




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       “Loan Documents” means this Agreement, any promissory notes executed in connection
herewith, the Security Documents, the Fee Letter and any other agreements executed by any
Credit Party in connection with this Agreement and designated as a Loan Document therein.

       “Loans” means, collectively, the New Money Loans and the Refinanced Loans.

        “Majority Lenders” means, at any time, Lenders having more than 50% of the sum of the
total outstanding Loans and unused Aggregate Commitments.

       “Make-Whole Amount” shall be a cash amount equal to the excess of (a) the present
value at such repayment, prepayment or acceleration date or the date the Obligations otherwise
become due and payable in full of (i) the sum of (A) the principal amount repaid, prepaid or
accelerated plus (B) a cash amount equal to the product of the principal amount of the Loans
prepaid times 8.500% plus (ii) the interest accruing on such principal amount (assuming for such
purpose that PIK Interest is paid in cash) from the date of such repayment, prepayment or
acceleration through September 1, 2019 (excluding accrued but unpaid interest to the date of
such repayment, prepayment or acceleration), such present value to be computed using a
discount rate equal to the Treasury Rate plus 50 basis points discounted to the repayment,
prepayment or acceleration date on a semi-annual basis (assuming a 360-day year consisting of
twelve 30-day months), over (b) the principal amount of the Loans repaid, prepaid or
accelerated.

        “Market Disruption Loans” shall mean Loans the rate of interest applicable to which is
based upon the Market Disruption Rate, and the Applicable Margin with respect thereto shall be
the same as the Applicable Margin applicable to Eurodollar Loans; provided that, other than with
respect to the rate of interest and Applicable Margin applicable thereto, Market Disruption Loans
shall for all purposes hereunder and under the other Loan Documents be treated as ABR Loans
(and Borrowings bearing interest at the Market Disruption Rate shall for all purposes hereunder
and under the other Loan Documents be treated as ABR Borrowings).

        “Market Disruption Rate” shall mean, for any day, a fluctuating rate per annum (rounded
upwards, if necessary, to the nearest 1/100th of 1.00%) equal to, the Alternate Base Rate for such
day (without giving effect to clause (c) of the definition of Alternative Base Rate). Any change
in the Market Disruption Rate shall be effective as of the opening of business on the effective
day of any change in the relevant component of the Market Disruption Rate. Notwithstanding the
foregoing, if the “Market Disruption Rate” as determined in accordance with the immediately
preceding sentences is less than the percentage specified in clause (b) of the definition of
“Adjusted LIBO Rate,” then for all purposes of this Agreement and the other Loan Documents,
the “Market Disruption Rate” shall be deemed equal to such percentage for such Interest Period.

        “Material Adverse Effect” means a material adverse effect on (a) the business, assets,
operations, financial condition or results of operations of the Borrower and its Subsidiaries taken
as a whole, (b) the ability of any Credit Party to perform any of its obligations under this
Agreement or the other Loan Documents or (c) the validity or enforceability of any Loan
Document against any Credit Party which is a party thereto or the rights of or benefits available
to the Lenders under this Agreement or the other Loan Documents; provided that, Material




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Adverse Effect shall expressly exclude the effect of filing the Chapter 11 Cases and any action
required to be taken under the Loan Documents, the Interim Order or the Final DIP Order.

        “Material Indebtedness” means Indebtedness (other than the Loans) and obligations in
respect of one or more Swap Agreements of the Borrower or any one or more of the Subsidiaries
in an aggregate principal amount exceeding $5,000,000. For purposes of determining Material
Indebtedness, the “principal amount” of the obligations of the Borrower or any Subsidiary in
respect of any Swap Agreement at any time shall be the Swap Termination Value.

        “Maturity Date” means the earliest of (a) February 15, 2019, (b) 30 days after the Petition
Date if the Final DIP Order Entry Date shall not have occurred by such date, (c) the earlier of the
effective date and the date of the substantial consummation (as defined in section 1101(2) of the
Bankruptcy Code), in each case, of the Acceptable Plan that has been confirmed by a Final Order
and (d) the date of termination of the Lenders’ commitments and the acceleration of any
outstanding extensions of credit, in each case, under this Agreement.

       “Maximum Liability” has the meaning assigned to such term in Section 7.10.

       “Maximum Rate” has the meaning assigned to such term in Section 11.15.

      “Milestones” has the meaning assigned to “In-Court Milestones” in the Restructuring
Support Agreement.

        “Minimum Liquidity Floor” means an unrestricted “book” cash liquidity of the Borrower
and its Subsidiaries of $5,000,000, which the Credit Parties shall be permitted to maintain at all
times during the pendency of the Chapter 11 Cases.

       “Moody’s” means Moody’s Investors Service, Inc.

       “Multiemployer Plan” means a multiemployer plan as defined in Section 4001(a)(3) of
ERISA to which any Credit Party or any ERISA Affiliate contributed or has any obligations
(current or contingent).

        “Natural Gas” means all natural gas, distillate or sulphur, natural gas liquids and all
products recovered in the processing of natural gas (other than condensate) including, without
limitation, natural gasoline, coalbed methane gas, casinghead gas, iso-butane, normal butane,
propane and ethane (including such methane allowable in commercial ethane).

       “Net Cash Proceeds” means, (a) with respect to any Disposition or series of related
Dispositions of any assets (including any Oil and Gas Property and Capital Stock of any
Subsidiary) by the Borrower or any Subsidiary, the excess, if any, of (i) the sum of cash and
Cash Equivalents received in connection with such Disposition or Dispositions, but only as and
when so received, over (ii) the sum of (A) the principal amount of any Indebtedness that is
secured by such asset or assets and that is required to be repaid in connection with such
Disposition or Dispositions (other than the Loans) and (B) the reasonable and documented
out-of-pocket expenses (including Taxes) incurred by the Borrower or such Subsidiary in
connection with such Disposition or Dispositions and (b) with respect to any Hedge Modification
by the Borrower or any Subsidiary, the excess, if any, of (i) the sum of cash and Cash


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Equivalents received in connection with such Hedge Modification (after giving effect to any
netting arrangements), over (ii) the out-of-pocket expenses (including Taxes) incurred by the
Borrower or such Subsidiary in connection with such Hedge Modification.

      “New Money Commitment” means, collectively, the New Money Interim Commitment,
the New Money Final Commitment and the New Money Reserve Commitment.

        “New Money Final Commitment” means as to each Lender, its obligation to make New
Money Final Loans to Borrower hereunder, expressed as an amount representing the maximum
principal amount of New Money Final Loans to be made by such Lender under this Agreement,
as such commitment may be reduced or increased from time to time pursuant to assignments by
or to such Lender pursuant to an Assignment and Assumption or reduced from time to time
pursuant to the last sentence of Section 2.02(a). The amount of each Lender’s New Money Final
Commitment is set forth on Schedule 2.01 under the caption “New Money Final Loans” or,
otherwise, in the Assignment and Assumption pursuant to which such Lender shall have assumed
its New Money Final Commitment, as the case may be. The aggregate amount of the New
Money Final Commitments at any time is an amount up to $100,000,000, minus the sum of the
aggregate principal amount of New Money Loans previously drawn by the Borrower under this
Agreement.

       “New Money Final Loans” has the meaning assigned to such term in Section 2.02(a).

        “New Money Interim Commitment” means as to each Lender, its obligation to make New
Money Interim Loans to Borrower hereunder, expressed as an amount representing the
maximum principal amount of New Money Interim Loans to be made by such Lender under this
Agreement, as such commitment may be reduced or increased from time to time pursuant to
assignments by or to such Lender pursuant to an Assignment and Assumption or reduced from
time to time pursuant to the last sentence of Section 2.02(a). The amount of each Lender’s New
Money Interim Commitment is set forth on Schedule 2.01 under the caption “New Money
Interim Loans” or, otherwise, in the Assignment and Assumption pursuant to which such Lender
shall have assumed its New Money Interim Commitment, as the case may be. The aggregate
amount of the New Money Interim Commitments as of the Effective Date is $15,000,000.

       “New Money Interim Loans” has the meaning assigned to such term in Section 2.02(a).

      “New Money Loans” means, collectively, the New Money Interim Loans, the New
Money Final Loans and the New Money Reserve Loans.

        “New Money Reserve Commitment” means as to each Lender, its obligation to make a
New Money Reserve Loan to Borrower hereunder, expressed as an amount representing the
maximum principal amount of New Money Reserve Loans to be made by such Lender under this
Agreement, as such commitment may be reduced or increased from time to time pursuant to
assignments by or to such Lender pursuant to an Assignment and Assumption or reduced from
time to time pursuant to the last sentence of Section 2.02(a). The amount of each Lender’s New
Money Reserve Commitment is set forth on Schedule 2.01 under the caption “New Money
Reserve Loans” or, otherwise, in the Assignment and Assumption pursuant to which such Lender
shall have assumed its New Money Reserve Commitment, as the case may be. The aggregate



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amount of the New Money Reserve Commitments at any time is an amount up to $100,000,000,
minus the sum of the aggregate principal amount of New Money Loans previously drawn by the
Borrower under this Agreement.

       “New Money Reserve Loans” has the meaning assigned to such term in Section 2.02(a).

        “Non-Core Assets” means the Oil and Gas Properties of the Borrower or any Subsidiary
within (i) the WEHLU field in Oklahoma and (ii) the undeveloped acreage to the East of
WEHLU located in 15N 4W and 14N 4W in Oklahoma County, Oklahoma.

       “Non-DrillCo Assets” means any Property located in the DrillCo Contract Area and
owned or acquired by the Borrower or any Subsidiary thereof but not necessary or desirable for
the Borrower to produce, operate, maintain, and plug and abandon the DrillCo Joint Wells
described in the Development Plans (as defined in the DrillCo Agreement).

        “Non-Primed Excepted Liens” means (a) valid, perfected and unavoidable Permitted
Encumbrances in favor of third parties in existence immediately prior to the Petition Date or (b)
valid and unavoidable Permitted Encumbrances in favor of third parties in existence immediately
prior to the Petition Date for amounts outstanding as of the Petition Date that are perfected after
the Petition Date as permitted by Section 546(b) of the Bankruptcy Code, but in each case under
the foregoing clauses (a) and (b), only to the extent such valid, perfected and unavoidable liens
are senior by operation of law in priority to the Prepetition Liens.

       “NYMEX” means the New York Mercantile Exchange.

        “Obligations” means all obligations, liabilities and indebtedness (monetary (including
post-petition interest, whether or not allowed) or otherwise) of each Credit Party from time to
time owed to the Administrative Agent or any Lender under any Loan Document, including any
make-whole amounts (including the Make-Whole Amount), any repayment or prepayment
premiums and any accrued and unpaid interest, in each case howsoever created, arising or
evidenced, whether direct or indirect, absolute or contingent, now or hereafter existing, or due or
to become due. For the avoidance of doubt, it is understood and agreed that any Make-Whole
Amount shall be presumed to be the liquidated damages sustained by each Lender as a result of
the early termination of the Loans and the Credit Parties agree that such amounts shall constitute
Obligations under this Agreement.

         “Off-Balance Sheet Liability” of a Person means (i) any repurchase obligation or liability
of such Person with respect to accounts or notes receivable sold by such Person, (ii) any liability
under any Sale and Leaseback Transaction which is not a Capital Lease Obligation, (iii) any
liability under any so-called “synthetic lease” transaction entered into by such Person, or (iv) any
obligation arising with respect to any other transaction which is the functional equivalent of or
takes the place of borrowing but which does not constitute a liability on the balance sheets of
such Person, but excluding from the foregoing clauses, operating leases and usual and customary
oil, gas and mineral leases.

       “Oil and Gas Properties” means Hydrocarbon Interests; the properties now or hereafter
pooled or unitized with Hydrocarbon Interests; all presently existing or future unitization,
pooling agreements and declarations of pooled units and the units created thereby (including all


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units created under orders, regulations and rules of any Governmental Authority having
jurisdiction) which may affect all or any portion of the Hydrocarbon Interests; all operating
agreements, contracts and other agreements which relate to any of the Hydrocarbon Interests or
the production, sale, purchase, exchange or processing of Hydrocarbons from or attributable to
such Hydrocarbon Interests; all Hydrocarbons in and under and which may be produced and
saved or attributable to the Hydrocarbon Interests, the lands covered thereby and all oil in tanks
and all rents, issues, profits, proceeds, products, revenues and other incomes from or attributable
to the Hydrocarbon Interests; all tenements, hereditaments, appurtenances and properties in
anywise appertaining, belonging, affixed or incidental to the Hydrocarbon Interests, properties,
rights, titles, interests and estates described or referred to above, including any and all Property,
real or personal, now owned or hereafter acquired and situated upon, used, held for use or useful
in connection with the operating, working or development of any of such Hydrocarbon Interests
or Property (excluding drilling rigs, automotive equipment or other personal property which may
be on such premises for the purpose of drilling a well or for other similar temporary uses) and
including any and all oil wells, gas wells, injection wells or other wells, buildings, structures,
fuel separators, liquid extraction plants, plant compressors, pumps, pumping units, field
gathering systems, tanks and tank batteries, fixtures, valves, fittings, machinery and parts,
engines, boilers, meters, apparatus, equipment, appliances, tools, implements, cables, wires,
towers, casing, tubing and rods, surface leases, rights-of-way, easements and servitudes together
with all additions, substitutions, replacements, accessions and attachments to any and all of the
foregoing. Unless otherwise qualified, all references to an Oil and Gas Property or to Oil and
Gas Properties in this Agreement shall refer to an Oil and Gas Property or Oil and Gas Properties
of Borrower or its Subsidiaries.

        “Operating Rights Preservation Activities” means efforts to preserve lease operating
rights in response to actions taken or proposed to be taken by third parties.

        “Organizational Documents” means (a) with respect to any corporation, its certificate or
articles of incorporation, organization or formation, as amended, and its by-laws, as amended,
(b) with respect to any limited partnership, its certificate of limited partnership or formation, as
amended, and its partnership agreement, as amended, (c) with respect to any general partnership,
its partnership agreement, as amended, and (d) with respect to any limited liability company, its
certificate of formation or articles of organization, as amended, and its limited liability company
agreement or operating agreement, as amended.

        “Other Connection Taxes” means, with respect to any Recipient, Taxes imposed as a
result of a present or former connection between such Recipient and the jurisdiction imposing
such Tax (other than connections arising from such Recipient having executed, delivered,
become a party to, performed its obligations under, received payments under, received or
perfected a security interest under, engaged in any other transaction pursuant to or enforced any
Loan Document, or sold or assigned an interest in any Loan or Loan Document).

        “Other Taxes” means all present or future stamp, court or documentary, intangible,
recording, filing or similar Taxes that arise from any payment made under, from the execution,
delivery, performance, enforcement or registration of, from the receipt or perfection of a security
interest under, or otherwise with respect to, any Loan Document, except any such Taxes that are
Other Connection Taxes imposed with respect to an assignment.


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       “Participant” has the meaning assigned to such term in Section 11.04(c).

       “Participant Register” has the meaning assigned to such term in Section 11.04(c).

       “Payment Currency” has the meaning assigned to such term in Section 7.07.

     “PBGC” means the Pension Benefit Guaranty Corporation referred to and defined in
ERISA and any successor entity performing similar functions.

       “Permitted Encumbrances” means:

        (a)    Liens imposed by law for Taxes, assessments or other governmental charges or
levies which are not yet delinquent or which (i) are being contested in good faith by appropriate
proceedings diligently conducted and (ii) the Borrower or such Subsidiary, as applicable, has set
aside on its books adequate reserves with respect thereto in accordance with GAAP;

        (b)     carriers’, warehousemen’s, mechanics’, materialmen’s, repairmen’s and other like
Liens imposed by law, and contractual Liens granted to operators and non-operators under oil
and gas operating agreements, in each case, arising in the ordinary course of business or incident
to the exploration, development, operation and maintenance of Oil and Gas Property and
securing obligations that are not overdue by more than 60 days or which (i) are being contested
in good faith by appropriate proceedings and (ii) the Borrower or such Subsidiary, as applicable,
has set aside on its books adequate reserves with respect thereto in accordance with GAAP;

        (c)     contractual Liens which arise in the ordinary course of business under oil and gas
leases, division orders, contracts for the sale, transportation or exchange of oil and Natural Gas,
unitization and pooling declarations and agreements, area of mutual interest agreements,
marketing agreements, processing agreements, development agreements, gas balancing
agreements, injection, repressuring and recycling agreements, salt water or other disposal
agreements and seismic or other geophysical permits or agreements, which Liens are limited to
the Oil and Gas Property and related property that is the subject of such agreement, arising out of
or pertaining to the operation or the production or sale of Hydrocarbons produced from the Oil
and Gas Property, provided that any such Lien referred to in this clause does not materially
impair the use of the property covered by such Lien for the purposes for which such property is
held by the Borrower or any Subsidiary or materially impair the value of such property subject
thereto;

      (d)     subject to the DIP Orders, pledges and deposits in connection with workers’
compensation, unemployment insurance and other social security laws or regulations;

       (e)      Liens on cash and securities and deposits to secure the performance of bids, trade
contracts, leases, statutory obligations (excluding Liens arising under ERISA), surety and appeal
bonds, performance bonds and other obligations of a like nature, in each case, which are in the
ordinary course of business and which are in respect of obligations that are not delinquent or
which are being contested in good faith by appropriate action and for which adequate reserves
have been maintained in accordance with GAAP;




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        (f)     Liens arising solely by virtue of any statutory or common law provision relating
to banker’s liens, rights of set-off or similar rights and remedies, or under general depositary
agreements, and burdening only deposit accounts or other funds maintained with a creditor
depository institution, provided that no such deposit account is a dedicated Cash Collateral
Account or is subject to restrictions against access by the depositor in excess of those set forth by
regulations promulgated by the Board and no such deposit account is intended by Borrower or
any of its Subsidiaries to provide collateral to the depository institution;

        (g)    easements, zoning restrictions, rights-of-way, servitudes, permits, surface leases,
and similar encumbrances on real property in each case imposed by law or arising in the ordinary
course of business that do not secure any monetary obligations and that, in the aggregate, do not
materially detract from the value of the affected property or materially impair the use of the
affected property or interfere with the ordinary conduct of business of the Borrower or any
Subsidiary;

        (h)    royalties, overriding royalties, reversionary interests and similar burdens granted
by the Borrower or any Subsidiary with respect to the Oil and Gas Property owned by the
Borrower or such Subsidiary, as the case may be, if the net cumulative effect of such burdens
does not operate to deprive the Borrower or any Subsidiary of any material right in respect of its
assets or properties (except for rights customarily granted with respect to such interests);

        (i)    Liens arising from Uniform Commercial Code financing statement filings
regarding operating leases entered into by the Borrower or any Subsidiary in the ordinary course
of business covering the property under the lease;

       (j)     unperfected Liens reserved in leases (other than oil and gas leases) or arising by
operation of law for rent or compliance with the lease in the case of leasehold estates; and

       (k)     defects in or irregularities of title (other than defects or irregularities of title to Oil
and Gas Property), if such defects or irregularities do not deprive the Borrower or any Subsidiary
of any material right in respect of its assets or properties;

provided that the term “Permitted Encumbrances” shall not include any Lien securing
Indebtedness.

        “Permitted Variance” has the meaning set forth in the defined term “Budget Event.”

       “Person” means any natural person, corporation, limited liability company, trust, joint
venture, association, company, partnership, Governmental Authority or other entity.

        “Petition Date” has the meaning set forth in the recitals hereto.

        “Petroleum Industry Standards” means Definitions for Oil and Gas Reserves promulgated
by the Society of Petroleum Engineers (or any generally recognized successor) as in effect at the
time in question.

        “PIK Interest” has the meaning assigned to such term in Section 2.10(c).



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        “Plan” means any employee pension benefit plan (other than a Multiemployer Plan)
subject to the provisions of Title IV of ERISA or Section 412 of the Code or Section 302 of
ERISA, and in respect of which any Credit Party or any ERISA Affiliate is (or, if such plan were
terminated, would under Section 4069 of ERISA be deemed to be) an “employer” as defined in
Section 3(5) of ERISA.

       “Platform” shall have the meaning assigned to such term in Section 11.01(d).

       “Pledged Collateral” shall have the meaning assigned to such term in Section 10.09.

        “Prepetition Intercreditor Agreement” means that certain Intercreditor Agreement dated
as of March 13, 2017, by and among the Prepetition Term Agent and the Prepetition Second Lien
Trustee, as amended, restated, amended and restated, supplemented or otherwise modified prior
to the date hereof.

        “Prepetition Loan Documents” means the Prepetition Term Loan Documents, the
Prepetition Second Lien Documents and the Prepetition Intercreditor Agreement and any other
agreement, instrument, report and other document executed and delivered pursuant hereto or
thereto or otherwise evidencing or securing any Prepetition Obligation.

        “Prepetition Obligations” means all Prepetition Term Loan Obligations and all
Prepetition Second Lien Obligations, in each case, incurred prior to the Petition Date.

        “Prepetition Second Lien Additional Securities Purchase Agreement” means that certain
Securities Purchase Agreement dated as of March 20, 2017, by and among the Borrower and
each of the purchasers party thereto, pursuant to which the Borrower has issued and sold an
additional $75,000,000 in aggregate principal amount of its Prepetition Second Lien Notes.

        “Prepetition Second Lien Documents” means “Indenture Documents” as defined in the
Prepetition Second Lien Indenture.

       “Prepetition Second Lien Holders” means holders of the Prepetition Second Lien Notes.

        “Prepetition Second Lien Indenture” means that certain indenture, effective as of March
3, 2017, governing the Prepetition Second Lien Notes, between the Prepetition Second Lien
Trustee and the Borrower, as issuer, as amended, supplemented or otherwise modified prior to
the date hereof.

        “Prepetition Second Lien Notes” means, collectively, those certain senior second lien
secured convertible notes due 2022, issued by the Borrower pursuant to the (a) Prepetition
Second Lien Securities Purchase Agreement and (b) Prepetition Second Lien Additional
Securities Purchase Agreement.

        “Prepetition Second Lien Obligations” means the sum of (a) “Obligations” as defined in
the Prepetition Second Lien Indenture and (b) the amount of damages resulting from the breach
of the “no-call” protection set forth in the Prepetition Second Lien Indenture (including in
section 4.04 thereof) in an amount equal to $23,369,951.46.



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       “Prepetition Second Lien Securities Purchase Agreement” means that certain Securities
Purchase Agreement dated as of February 16, 2017, by and among the Borrower and each of the
purchasers party thereto, pursuant to which the Borrower has issued and sold its Prepetition
Convertible Notes.

        “Prepetition Second Lien Trustee” means Wilmington Trust, National Association, as
trustee under the Prepetition Second Lien Indenture.

        “Prepetition Secured Parties” means, collectively, the Prepetition Term Loan Agent, the
Prepetition Term Loan Lenders, the other Secured Parties (as defined in the Prepetition Term
Loan Agreement), the Prepetition Second Lien Trustee and the Prepetition Second Lien Holders.

       “Prepetition Term Loan Agent” means (a) Wilmington Trust, National Association, in its
capacity as administrative agent and/or collateral agent under any of the Prepetition Term Loan
Documents, or (b) any successor administrative agent thereunder.

        “Prepetition Term Loan Agreement” means that certain Third Amended and Restated
Credit Agreement, dated as of March 3, 2017, by and among the Borrower, the Guarantors party
thereto, the Prepetition Term Loan Agent and the Prepetition Term Loan Lenders, as amended,
restated, amended and restated, supplemented or otherwise modified prior to the date hereof.

        “Prepetition Term Loan Documents” means the “Loan Documents” as defined in the
Prepetition Term Loan Agreement.

      “Prepetition Term Loan Lenders” means the lenders party to the Prepetition Term Loan
Agreement, from time to time, under and as defined in the Prepetition Term Loan Agreement.

       “Prepetition Term Loan Obligations” means “Obligations,” including, for the avoidance
of doubt, the “Make-Whole Amount,” each as defined in the Prepetition Term Loan Agreement.

        “Production Payment” means the grant or transfer by the Borrower or any of its
Subsidiaries to any Person of a royalty, overriding royalty, net profits interest, production
payment, partnership or other interest in Oil and Gas Property, reserves or the right to receive all
or a portion of the production or the proceeds from the sale of production attributable to such
properties, in which the holder of such interests is entitled to receive a specified volume or value
of production and in which the holder of such interest has recourse solely to such production or
proceeds of production, subject to the obligation of the grantor or transferor to operate and
maintain, or cause the subject interests to be operated and maintained, in a reasonably prudent
manner or other customary standard or subject to the obligation of the grantor or transferor to
indemnify for environmental, title or other matters customary in the oil and gas business.

        “Property” means any right or interest in or to property of any kind whatsoever, whether
real, personal or mixed and whether tangible or intangible. Unless otherwise qualified, all
references to Property in this Agreement shall refer to a Property or Properties of the Borrower
or its Subsidiaries.




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       “Proved Developed Producing Reserves” shall mean oil and gas reserves that, in
accordance with Petroleum Industry Standards, are classified as both “Proved Reserves” and
“Developed Producing Reserves.”

       “Proved Reserves” shall mean oil and gas reserves that, in accordance with Petroleum
Industry Standards, are classified as both “Proved Reserves” and one of the following: (a)
“Developed Producing Reserves”, (b) “Developed Non-Producing Reserves” or (c)
“Undeveloped Reserves”.

       “Public Lender” shall have the meaning assigned to such term in Section 11.01(d).

       “Public-Sider” means a Lender or any representative of such Lender that does not want to
receive material non-public information within the meaning of the federal and state securities
laws.

         “PV10” means, in respect of the Proved Reserves of any Credit Parties’ Oil and Gas
Property set forth in the most recently delivered Reserve Report, the aggregate net present value
(discounted at 10% per annum) of such Oil and Gas Properties calculated before income taxes,
but after reduction for royalties, lease operating expenses, severance and ad valorem taxes,
capital expenditures and abandonment costs and with no escalation of capital expenditures or
abandonment costs (a) calculated in accordance with SEC guidelines but using Strip Price for
crude oil and natural gas liquids (WTI Cushing) and natural gas (Henry Hub), (b) calculated by
(i) in the case of a Reserve Report prepared as of December 31 of any year, an Approved
Petroleum Engineer and (ii) in the case of each other Reserve Report or as otherwise required
under this Agreement, at the Borrower’s option, a petroleum engineer employed by the Borrower
or an Approved Petroleum Engineer, in each case, in such person’s reasonable judgment after
having reviewed the information from the most recently delivered Reserve Report, (c) as set
forth in the Reserve Report most recently delivered under Section 5.01(g), (d) as adjusted to give
effect to Swap Agreements permitted by this Agreement as in effect on the date of such
determination and (e) as adjusted to give pro forma effect to all Dispositions or Acquisitions
completed since the date of the Reserve Report.

       “Recipient” means (a) the Administrative Agent, (b) the Majority Lenders and (b) any
other Lender, as applicable.

        “Refinanced Commitment” means as to each Lender, its obligation to make a Refinanced
Loan to Borrower hereunder, expressed as an amount representing the maximum principal
amount of Refinanced Loans to be made by such Lender under this Agreement, as such
commitment may be reduced or increased from time to time pursuant to assignments by or to
such Lender pursuant to an Assignment and Assumption (but only to the extent that, together
with any such Assignment and Assumption, the assignor and assignee execute and deliver to the
Prepetition Term Loan Agent an Assignment and Assumption (as defined in Prepetition Term
Loan Agreement) in the same amount in respect of Prepetition Loan Obligations). The amount
of each Lender’s Refinanced Commitment is set forth on Schedule 2.01 under the caption
“Refinanced Loans” or, otherwise, in the Assignment and Assumption pursuant to which such
Lender shall have assumed its Refinanced Commitment, as the case may be. The aggregate
amount of the Refinanced Commitments as of the Effective Date is equal to $286,242,682.88,


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which amount (a) shall refinance certain Prepetition Term Loan Obligations approved pursuant
to the Final DIP Order and (b) shall be deemed funded by the Lenders on the Final DIP Order
Entry Date.

       “Refinanced Loans” are the Loans made pursuant to Section 2.02(b).

       “Register” has the meaning assigned to such term in Section 11.04(b).

       “Related Parties” means, with respect to any specified Person, such Person’s Affiliates
and the respective directors, officers, managers, members, partners, employees, agents and
advisors of such Person and such Person’s Affiliates.

       “Removal Effective Date” has the meaning assigned to such term in Section 9.07(b).

         “Requirements of Law” means, as to any Person, any order, law, treaty, rule or regulation
or determination of an arbitrator or a court or other Governmental Authority, in each case
applicable to or binding upon such Person or any of its property or to which such Person or any
of its property is subject.

        “Reserve Report” means an unsuperseded engineering analysis of the Credit Parties’ Oil
and Gas Property, in form and substance reasonably acceptable to the Majority Lenders, which
shall include (i) pricing assumptions based upon the Strip Price and (ii) projections of revenues
attributable to all undrilled locations on the Credit Parties’ Oil and Gas Property based on a
development plan for a period no greater than 10 years from the date of such Reserve Report
reasonably acceptable to the Majority Lenders; provided that, for the avoidance of doubt, such
projections need not be based on historical capital expenditures in such locations nor take into
account potential financings of projected capital expenditures.

         “Reserve Report Certificate” means, with respect to any Reserve Report, a certificate
from a Responsible Officer certifying that in all material respects: (a) such Reserve Report is
based on information reasonably available to the Borrower; (b) the Borrower or its Subsidiaries
owns good and defensible title to the Oil and Gas Property evaluated in such Reserve Report
(except any such Oil and Gas Property that has been Disposed of since the date of such Reserve
Report as permitted by this Agreement) and such properties are free and clear of all Liens except
for Liens permitted by Section 6.03; (c) except as set forth on an exhibit to the Reserve Report
Certificate, on a net basis there are no gas imbalances, take-or-pay or other prepayments with
respect to its Oil and Gas Property evaluated in such Reserve Report which would require the
Borrower or any Subsidiary to deliver Hydrocarbons either generally or produced from Oil and
Gas Property at some future time without then or thereafter receiving full payment therefor other
than those which do not result in any Credit Party or any Subsidiary having net aggregate
liability in excess of $500,000; (d) except as set forth on an exhibit to the Reserve Report
Certificate, none of the Borrower’s or its Subsidiaries’ Oil and Gas Property have been Disposed
of since the last delivery of the corresponding Reserve Report, which exhibit shall describe in
reasonable detail such Dispositions; (e) the Borrower is in compliance with Section 5.10(a); and
(f) except as set forth on an exhibit to the Reserve Report Certificate, all such properties are
owned by the Borrower or a Guarantor.

       “Resignation Effective Date” has the meaning assigned to such term in Section 9.07(a).


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        “Responsible Officer” means the chief executive officer or chief financial officer of a
Credit Party. Any document delivered hereunder that is signed by a Responsible Officer of a
Credit Party shall be conclusively presumed to have been authorized by all necessary corporate,
partnership and/or other action on the part of such Credit Party and such Responsible Officer
shall be conclusively presumed to have acted on behalf of such Credit Party.

       “Restricted Payment” means:

        (a)    any dividend or other distribution or other payment (whether in cash, securities or
other property) with respect to any Capital Stock in the Borrower or any Subsidiary, to any
Person (in each case, solely in such Person’s capacity as holder of such Capital Stock or, in the
case of any payment, to the direct or indirect holders of the Borrower’s or any of its Subsidiaries’
Capital Stock), including any dividend or distribution payable or payment made in connection
with any merger, amalgamation or consolidation;

       (b)     any purchase, redemption, defeasance or other acquisition or retirement for value
of any Capital Stock of the Borrower (including in connection with any merger, amalgamation or
consolidation); and

        (c)     any principal payment on, or redemption, purchase, repurchase, defeasance or
other acquisition or retirement for value, in each case, prior to any scheduled repayment, sinking
fund payment or scheduled maturity, of any Indebtedness secured by Liens junior in priority to
the Liens securing the Obligations hereunder or unsecured Indebtedness, of the Borrower or any
Subsidiary (excluding any intercompany Indebtedness between or among Borrower and any
Guarantor), except a payment of interest or principal at the stated maturity date thereof.

       “Restructuring” means the restructuring of the Borrower and its Subsidiaries to be
implemented through the Chapter 11 Cases and confirmation of the Acceptable Plan under
chapter 11 of the Bankruptcy Code.

        “Restructuring Support Agreement” means that certain Restructuring Support Agreement
dated as of October 26, 2018 (as amended, supplemented or otherwise modified from time to
time), by and among the Credit Parties and the other parties party thereto.

       “S&P” means Standard & Poor’s.

       “Sale and Leaseback Transaction” means any sale or other transfer of any property by
any Person with the intent to lease such property as lessee.

        “Sanctioned Country” means, at any time, a country or territory which is the subject or
target of any Sanctions (at the time of this Agreement, Cuba, Crimea, Iran, North Korea and
Syria).

         “Sanctioned Person” means, at any time, (a) any Person listed in any Sanctions-related
list of designated Persons maintained by the Office of Foreign Assets Control of the
U.S. Department of the Treasury or (b) (i) an agency of the government of a Sanctioned Country,
(ii) an organization controlled by a Sanctioned Country, (iii) any Person domiciled, operating,
organized or resident in a Sanctioned Country or (iv) any Person controlled by any such Person.


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       “Sanctions” means economic or financial sanctions or trade embargoes imposed,
administered or enforced from time to time by the U.S. government, including but not limited to
those administered by the Office of Foreign Assets Control of the U.S. Department of the
Treasury or the U.S. Department of State, the United Nations Security Council, the United
Kingdom, the European Union and other relevant sanctions authority with jurisdiction over the
Credit Parties, each as amended, supplemented or substituted from time to time.

       “SEC” means the Securities and Exchange Commission of the United States of America.

       “Secured Party” means each of the Administrative Agent and each Lender.

       “Security Agreement” means the terms set forth in Article X.

        “Security Documents” means, collectively, this Agreement, the DIP Orders, the Security
Agreement and all deeds of trust, security agreements, pledge agreements, guaranty agreements
(including Article VII of this Agreement but otherwise excluding this Agreement), collateral
assignments and all other collateral documents, now or hereafter executed and delivered by any
Credit Party or any other Person as security for the payment or performance of the Obligations,
all such documents to be in form and substance satisfactory to the Administrative Agent and the
Majority Lenders in their sole discretion.

        “Statutory Reserves” shall mean, for any day during any Interest Period for any
Eurodollar Borrowing, the average maximum rate at which reserves (including any marginal,
supplemental or emergency reserves) are required to be maintained, during such Interest Period
under regulations issued from time to time (including “Regulation D,” issued by the Board of
Governors of the Federal Reserve Bank of the United States (the “Reserve Regulations”) by
member banks of the United States Federal Reserve System in New York City with deposits
exceeding one billion Dollars against Eurocurrency funding liabilities (currently referred to as
“Eurocurrency liabilities” (as such term is used in Regulation D)). Eurodollar Borrowings shall
be deemed to constitute Eurodollar liabilities and to be subject to such reserve requirements
without benefit of or credit for proration, exceptions or offsets which may be available from time
to time to any Lender under the Reserve Regulations.

        “Strip Price” shall mean, as of any date of determination, the forward month prices as of
such date, for the most comparable hydrocarbon commodity applicable to such future production
month for a five-year period (or such shorter period if forward month prices are not quoted for a
reasonably comparable hydrocarbon commodity for the full five-year period), with such prices
escalated at 2% each year thereafter based on the last quoted forward month price of such period,
as such prices are (i) quoted on the NYMEX as of the determination date and (ii) adjusted by
appropriate management adjustments for additions to reserves and depletion or sale of reserves
since the date of such Reserve Report, adjusted for any basis differential as of the date of
determination.

        “Subject Lease” means the Oil and Gas Property set forth on Schedule 1.01(c) or at any
time thereafter held or acquired by any Credit Party, in each case, that is subject to a right of a
third party existing on the date hereof under an area of mutual interest agreement, joint venture
agreement, participation agreement or other similar agreement customary in the oil and gas



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industry to acquire an interest in such lease from such Credit Party; provided, in each case, that
such right has not been exercised and the time for exercise has not expired.

        “Subsidiary” means, with respect to any Person (the “parent”) at any date, any other
Person the accounts of which would be consolidated with those of the parent in the parent’s
consolidated financial statements if such financial statements were prepared in accordance with
GAAP as of such date, as well as any other Person (a) of which Capital Stock representing more
than 50% of the equity or more than 50% of the ordinary voting power or, in the case of a
partnership, more than 50% of the general partnership interests are, as of such date, owned,
controlled or held, or (b) that is, as of such date, otherwise Controlled, by the parent or one or
more subsidiaries of the parent or by the parent and one or more subsidiaries of the parent.
Unless the context otherwise clearly requires, references herein to a “Subsidiary” refer to a
Subsidiary of the Borrower.

         “Swap Agreement” means any agreement or arrangement, or any combination thereof,
(i) consisting of interest rate or currency swaps, caps or collar agreements, foreign exchange
agreements, commodity contracts or similar arrangements entered into by such Person providing
for protection against fluctuations in interest rates, currency exchange rates or the exchange of
nominal interest obligations, either generally or under specific contingencies or (ii) relating to oil
and gas or other hydrocarbon prices or basis costs or differentials or other similar financial
factors.

        “Swap Termination Value” means, in respect of any one or more Swap Agreements, after
taking into account the effect of any legally enforceable netting agreement relating to such Swap
Agreements, (a) for any date on or after the date such Swap Agreements have been closed out
and termination value(s) determined in accordance therewith, such termination value(s) and
(b) for any date prior to the date referenced in clause (a), the amount(s) determined as the
mark-to-market value(s) for such Swap Agreements, as determined by the counterparties to such
Swap Agreements.

       “Taxes” means all present or future taxes, levies, imposts, duties, deductions,
withholdings (including backup withholding), assessments, fees or other charges imposed by any
Governmental Authority, including any interest, additions to tax or penalties applicable thereto.

       “Texas Finance Code” shall have the meaning assigned to such term in Section 11.15.

        “Transactions” means (a) the execution, delivery and performance by the Credit Parties
of this Agreement and the other Loan Documents, (b) the Borrowing of Loans, and (c) the use of
the proceeds thereof.

       “Treasury Rate” means the yield to maturity at a time of computation of United States
Treasury securities with a constant maturity (as compiled and published in the most recent
Federal Reserve Statistical Release H.15 (519) which has become publicly available at least two
(2) Business Days prior to the prepayment date (or, if such Statistical Release is no longer
published, any publicly available source of similar market data)) most nearly equal to the period
from the applicable prepayment date to September 1, 2019, provided that if the period from the
applicable prepayment date to September 1, 2019 is not equal to the constant maturity of a



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United States Treasury security for which a weekly average yield is given, the Treasury Rate
shall be obtained by linear interpolation (calculated to the nearest 1/12th of a year) from the
weekly average yields of United States Treasury securities for which such yields are given
having maturities as close as possible to September 1, 2019, except that if the period from the
applicable prepayment date to September 1, 2019 is less than one year, the weekly average yield
on actually traded United States Treasury securities adjusted to a constant maturity of one year
shall be used.

       “Type” when used in respect of any Loan or Borrowing, shall refer to the Rate by
reference to which interest on such Loan or on the Loans comprising such Borrowing is
determined. For purposes hereof, the term “Rate” shall mean the Adjusted LIBO Rate and the
Alternate Base Rate.

        “U.S. Government Securities” means direct obligations of, or obligations the principal of
and interest on which are unconditionally guaranteed by, the United States of America (or by any
agency or instrumentality thereof to the extent such obligations are entitled to the full faith and
credit of the United States of America), in each case maturing within one year from the date of
acquisition thereof.

        “U.S. Person” means a “United States person” within the meaning of Section 7701(a)(30)
of the Code.

       “U.S. Tax Compliance Certificate” has the meaning assigned to such term in
Section 2.12(f)(ii)(B)(3).

         “Wellbore Lien” means, with respect to any DrillCo PDP Reserves of a Credit Party
attributable to a particular well, a Lien (including a real property mortgage on and a locally, and,
if applicable, centrally, filed financing statement covering fixtures and as-extracted collateral) on
(i) the interest of the relevant Credit Party in and to such well, the associated wellbore and the
associated fixtures and as-extracted collateral, and (ii) the interest of such Credit Party in and to
the Leases or other Oil and Gas Properties attributable to such DrillCo PDP Reserves, but only
insofar as such Leases or other Oil and Gas Properties are necessary to produce, operate,
maintain, and plug and abandon such well.

        “Withdrawal Liability” means liability to a Multiemployer Plan as a result of a complete
or partial withdrawal from such Multiemployer Plan, as such terms are defined in Part I of
Subtitle E of Title IV of ERISA.

       “Withholding Agent” means any Credit Party and the Administrative Agent.

        Section 1.02 Terms Generally. The definitions of terms herein shall apply equally to
the singular and plural forms of the terms defined. Whenever the context may require, any
pronoun shall include the corresponding masculine, feminine and neuter forms. The words
“include”, “includes” and “including” shall be deemed to be followed by the phrase “without
limitation”. The word “will” shall be construed to have the same meaning and effect as the word
“shall”. Unless the context requires otherwise (a) any definition of or reference to any
agreement, instrument or other document herein shall be construed as referring to such
agreement, instrument or other document as from time to time amended, supplemented or


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otherwise modified (subject to any restrictions on such amendments, supplements or
modifications set forth herein), (b) any reference herein to any Person shall be construed to
include such Person’s successors and assigns, (c) the words “herein”, “hereof” and “hereunder”,
and words of similar import, shall be construed to refer to this Agreement in its entirety and not
to any particular provision hereof, (d) all references herein to Articles, Sections, Exhibits and
Schedules shall be construed to refer to Articles and Sections of, and Exhibits and Schedules to,
this Agreement and (e) the words “asset” and “property” shall be construed to have the same
meaning and effect and to refer to any and all tangible and intangible assets and properties,
including cash, securities, accounts and contract rights.

        Section 1.03 Classification of Loans and Borrowings. For purposes of this
Agreement, Loans may be classified and referred to by Type (e.g., a “Eurodollar Loan”) or as
either New Money Loans or Refinanced Loans.

                                          ARTICLE II.

                                         THE CREDITS

        Section 2.01 Accounting Terms; GAAP. Except as otherwise expressly provided
herein, all terms of an accounting or financial nature shall be construed in accordance with
GAAP, as in effect from time to time; provided that, if the Borrower notifies the Administrative
Agent in writing that the Borrower requests an amendment to any provision hereof to eliminate
the effect of any change occurring after the date hereof in GAAP or in the application thereof on
the operation of such provision (or if the Administrative Agent notifies the Borrower that the
Majority Lenders request an amendment to any provision hereof for such purpose), regardless of
whether any such notice is given before or after such change in GAAP or in the application
thereof, then such provision shall be interpreted on the basis of GAAP as in effect and applied
immediately before such change shall have become effective until such notice shall have been
withdrawn or such provision amended in accordance herewith. Notwithstanding any other
provision contained herein, all terms of an accounting or financial nature used herein shall be
construed, and all computations of amounts and ratios referred to herein shall be made, without
giving effect to any election under Financial Accounting Standards Board Accounting Standards
Codification 825 (or any other Financial Accounting Standard having a similar result or effect) to
value any Indebtedness or other liabilities of the Borrower or any Subsidiary at “fair value”, as
defined therein.

       Section 2.02 Loans and Commitments.

        (a)     Subject to the terms and conditions set forth herein and the DIP Orders, and
relying upon the representations and warranties set forth herein, each Lender agrees, severally
and not jointly, to make, New Money Loans to the Borrower from time to time on any Business
Day as follows:

               (i)     New Money Interim Loans. Subject to satisfaction of the conditions set
       forth in Sections 4.01 and 4.02, each Lender with a New Money Interim Commitment
       agrees, severally and not jointly, to make loans to the Borrower in Dollars on any
       Business Day following the Interim Order Entry Date in an aggregate amount not to


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       exceed its New Money Interim Commitment at such time; provided that the aggregate
       amount of each such Borrowing shall not be less than $2,500,000 for the initial
       Borrowing and not less than $500,000 for each subsequent Borrowing (or, if less, the
       aggregate amount of the remaining New Money Interim Commitments), and, in any
       event, in an aggregate amount for each such Borrowing not to exceed (x) the aggregate
       New Money Interim Commitments at such time or (y) the Borrowing Cap at such time
       (each such loan, a “New Money Interim Loan”). The amount of each Lender’s New
       Money Interim Loan as part of any such Borrowing shall equal its pro rata share of such
       Borrowing.

               (ii)   New Money Final Loan. Subject to satisfaction of the conditions set forth
       in Sections 4.01 and 4.02, each Lender with a New Money Final Commitment agrees,
       severally and not jointly, to make loans in Dollars to the Borrower on any Business Day
       following the Final DIP Order Entry Date in an aggregate amount not to exceed its New
       Money Final Commitment at such time; provided that the aggregate amount of each such
       Borrowing shall not be less than $500,000 (or, if less, the aggregate amount of the
       remaining New Money Final Commitments), and, in any event, not to exceed (x) the
       aggregate New Money Final Commitments at such time or (y) the Borrowing Cap at such
       time (each such Loan, a “New Money Final Loan”). The amount of each Lender’s New
       Money Final Loan as part of any such Borrowing shall equal its pro rata share of such
       Borrowing.

               (iii) New Money Reserve Loan. Subject to satisfaction of the conditions set
       forth in Sections 4.01 and 4.02 and the Borrower having demonstrated to the reasonable
       satisfaction of the Majority Lenders acting in good faith, the bona fide need of the
       Borrower for such additional liquidity to effectuate the Operating Rights Preservation
       Activities, each Lender with a New Money Reserve Commitment agrees, severally and
       not jointly, to make loans in Dollars to the Borrower on any Business Day following the
       Final DIP Order Entry Date in an aggregate amount not to exceed its New Money
       Reserve Commitment at such time; provided that the aggregate amount of each such
       Borrowing shall not be less than $500,000 (or, if less, the aggregate amount of the
       remaining New Money Reserve Commitments), and, in any event, not to exceed (x) the
       aggregate New Money Reserve Commitments at such time or (y) the Borrowing Cap at
       such time (each such loan, a “New Money Reserve Loan”). The amount of each
       Lender’s New Money Reserve Loan as part of any such Borrowing shall equal its pro
       rata share of such Borrowing.

Proceeds of the New Money Loans shall be used and distributed by the Borrower solely as
permitted herein. Once borrowed or repaid, the New Money Loans may not be reborrowed, and
any New Money Commitment, once terminated or reduced, may not be reinstated. The Parties
hereto acknowledge and agree that the Administrative Agent shall not (a) be obligated to
ascertain, monitor or inquire as to whether any Borrowing is in compliance with the Borrowing
Cap and, unless the Administrative Agent receives written notice from the Majority Lenders
prior to the funding of any requested Borrowing indicating that the Borrowing Cap as set forth in
the Borrowing Request for such Borrowing is inaccurate, the Administrative Agent may
conclusively assume that the Borrowing Cap set forth in the Borrowing Request is accurate for
such Borrowing or (b) have any liability with respect to or arising out of any Borrowing


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requested exceeding the Borrowing Cap. The aggregate amount of the New Money
Commitments (which on the Effective Date is $100,000,000) shall be reduced by the amount of
each Borrowing of New Money Loans made hereunder immediately upon the funding thereof
(and in no event shall the aggregate amount of New Money Loans borrowed hereunder during
the term of this Agreement exceed $100,000,000), and the amount of each Lender’s applicable
New Money Commitment shall be automatically and permanently reduced by the amount of the
related New Money Loan funded by such Lender pursuant to Section 2.02(a) immediately upon
the funding thereof.

         (b)   Subject to the terms and conditions set forth herein and in the DIP Orders, and
relying upon the representations and warranties set forth herein, each Lender with a Refinanced
Commitment shall be deemed, on the Final DIP Order Entry Date, to have made a loan to the
Borrower (each such loan, a “Refinanced Loan”) in an aggregate amount equal to such Lender’s
Refinanced Commitment. The Administrative Agent, the Lenders and the Credit Parties each
acknowledges and agrees that the Refinanced Loans shall be deemed funded on the Final DIP
Order Entry Date and the Refinanced Commitment of each Lender shall terminate immediately
and automatically after the deemed making of the Refinanced Loan. The Refinanced Loans shall
initially be made as Eurodollar Loans with an Interest Period of one month.

       Section 2.03 Request for Borrowings; Funding of Borrowings.

        (a)    In order to request a Borrowing (other than a Borrowing of Refinanced Loans),
the Borrower shall deliver in writing to the Administrative Agent and the Lenders (or shall
provide telephonic notice promptly confirmed in writing by a duly completed Borrowing
Request) not later than 12:00 p.m. New York city time, three (3) Business Days prior to the
proposed Borrowing. Such Borrowing Request shall be irrevocable and shall be delivered by
telecopy or email to the Administrative Agent and shall be signed by the Borrower. Each such
written Borrowing Request shall specify the following information:

             (i)     whether the Borrowing then being requested is to be a Eurodollar
       Borrowing or an ABR Borrowing;

              (ii)    the aggregate amount of such Borrowing;

               (iii) the wiring information of the account of the Borrower to which funds are
       to be disbursed;

              (iv)    the date of such Borrowing, which shall be a Business Day;

            (v)    whether the Borrowing will be a Borrowing of New Money Interim Loans,
       New Money Final Loans or New Money Reserve Loans; and

               (vi)   if such Borrowing is to be a Eurodollar Borrowing, the Interest Period
       with respect thereto.

       Notwithstanding any other provision of this Agreement, the Borrower shall not request,
and the Lenders shall not be required to fund, a Borrowing of New Money Loans more
frequently than once per calendar week.


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         Without in any way limiting the obligation of the Borrower to confirm in writing any
notice it may give hereunder by telephone, the Administrative Agent may act prior to receipt of
written confirmation without liability upon the basis of such telephonic notice believed by the
Administrative Agent in good faith to be from a Responsible Officer of the Borrower.

        (b)     If no election as to the Type of Borrowing is specified in any such notice, then the
requested Borrowing shall be an ABR Borrowing. If no Interest Period with respect to any
Eurodollar Borrowing is specified in any such notice, then the Borrower shall be deemed to have
selected an Interest Period of one month’s duration. Promptly following receipt of a Borrowing
Request in accordance with this Section, the Administrative Agent shall advise each Lender of
the details thereof and of the amount of such Lender’s pro rata share of the requested
Borrowing.

        (c)     Notwithstanding any other provision of this Agreement, the Borrower shall not be
entitled to request, or elect to convert or continue, any Borrowing if the Interest Period requested
or elected with respect thereto would end after the maturity date of such Borrowing.

        (d)     The failure of any Lender to make the Loan to be made by it as part of any
Borrowing shall not relieve any other Lender of its obligation, if any, hereunder to make its Loan
on the date of such Borrowing, but no Lender shall be responsible for the failure of any other
Lender to make the Loan to be made by such other Lender on the date of any Borrowing.

       (e)      Each submission by the Borrower to the Administrative Agent of a Borrowing
Request shall be deemed to constitute a representation and warranty by the Borrower that the
conditions set forth in Article IV have been satisfied or waived as of the date of the Borrowing.

       (f)     Each Lender shall make its pro rata share of each Borrowing of New Money
Loans by wire transfer of immediately available funds by 12:00 p.m., New York City time, to an
account of the Administrative Agent designated for such purpose by notice to the Lenders. The
Administrative Agent will make such Loans available to the Borrower by promptly disbursing
the amounts so received, in like funds, to a deposit account of the Borrower designated by the
Borrower in the applicable Borrowing Request.

         (g)     Unless the Administrative Agent shall have received written notice from a Lender
prior to the proposed time its New Money Loan is required to be made by such Lender in
accordance with paragraph (f) of this Section that such Lender will not make available to the
Administrative Agent such Lender’s New Money Loan, the Administrative Agent may assume
that such Lender has made its New Money Loan available on such date in accordance with
paragraph (a) of this Section and may, in reliance upon such assumption, make available to the
Borrower a corresponding amount. In such event, if a Lender has not in fact made its New
Money Loan available to the Administrative Agent, then such Lender and the Borrower severally
agree to pay to the Administrative Agent forthwith on demand such corresponding amount with
interest thereon, for each day from and including the date such amount is made available to the
Borrower to but excluding the date of payment to the Administrative Agent, at (i) in the case of
such Lender, the greater of the Federal Funds Effective Rate and a rate reasonably determined by
the Administrative Agent in accordance with banking industry rules on interbank compensation
or (ii) in the case of the Borrower, the interest rate applicable to the New Money Loans. If such


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Lender pays such amount to the Administrative Agent, then the principal portion of such
payment shall constitute such Lender’s New Money Loan.

        (h)     Notwithstanding any other provision of this Agreement, there shall be no more
than fifteen (15) Interest Periods outstanding at any time.

       Section 2.04 [Reserved].

       Section 2.05 Repayment of Loans; Evidence of Debt.

       (a)     The Borrower hereby unconditionally promises to pay to the Administrative
Agent for the account of each Lender the then unpaid principal amount of the Loans of such
Lender, and all interest due thereon, and otherwise satisfy all other Obligations, in each case, on
the Maturity Date.

       (b)    Each Lender shall maintain in accordance with its usual practice an account or
accounts evidencing the indebtedness of the Borrower to such Lender resulting from the Loan
made by such Lender, including the amounts of principal and interest payable and paid to such
Lender from time to time hereunder.

       (c)     The Administrative Agent shall maintain accounts in which it shall record (i) the
amount of each Loan made hereunder, the Type thereof and, if applicable, the Interest Period
applicable thereto, (ii) the amount of any principal or interest due and payable or to become due
and payable from the Borrower to each Lender hereunder and (iii) the amount of any sum
received by the Administrative Agent hereunder for the account of the Lenders and each
Lender’s Applicable Percentage thereof.

         (d)     The entries made in the accounts maintained pursuant to paragraph (b) or (c) of
this Section shall be prima facie evidence of the existence and amounts of the obligations
recorded therein; provided that the failure of any Lender or the Administrative Agent to maintain
such accounts or any error therein shall not in any manner affect the obligation of the Borrower
to repay the Loans in accordance with the terms of this Agreement; and provided further that to
the extent there is any conflict between the accounts maintained pursuant to paragraph (b) or
(c) of this Section and the Register maintained pursuant to Section 11.04(b), the Register shall
control.

        (e)    Any Lender may request that the Loans made by it be evidenced by a promissory
note. In such event, the Borrower shall prepare, execute and deliver to such Lender a promissory
note payable to such Lender or its registered assigns in the form attached hereto as Exhibit G.
Thereafter, the Loans evidenced by such promissory note and interest thereon shall at all times
(including after assignment pursuant to Section 11.04) be represented by a promissory note in
such form.

       Section 2.06 Optional Prepayment of Loans.

       (a)     The Borrower shall have the right at any time and from time to time to prepay the
Loans, in whole or in part, in an aggregate minimum amount equal to (i) if being paid in whole,
the Obligations and (ii) if being paid in part, $1,000,000 and integral multiples of $500,000 in


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excess of that amount. With respect to each prepayment of Loans required by this Section 2.06,
such prepayments shall be applied on a pro rata basis to the then outstanding Loans irrespective
of whether such outstanding Loans are ABR Loans or Eurodollar Loans.

        (b)     The Borrower shall notify the Administrative Agent and the Lenders in writing of
any prepayment hereunder not later than 12:00 p.m., New York City time, three (3) Business
Days before the date of prepayment. Each such notice shall be irrevocable and shall specify the
prepayment date and the principal amount of the Loans to be prepaid and the Make-Whole
Amount due in respect of such prepayment. All prepayments under this Section 2.06 shall be
subject to Section 2.09 and Section 2.16 but otherwise without premium or penalty. Promptly
following receipt of any such notice, the Administrative Agent shall advise the Lenders of the
contents thereof. Each partial prepayment shall be applied ratably to the Loans.

      (c)     Each prepayment pursuant to this Section 2.06 shall be accompanied by a cash
amount equal to the accrued but unpaid interest through the date of such prepayment.

       Section 2.07 Mandatory Prepayment of Loans.

        (a)    If any Credit Party shall consummate any Asset Sale above $25,000 individually
or in the aggregate, incur any Indebtedness (other than Indebtedness permitted under
Section 6.02) or realize proceeds from any Casualty Event above $25,000 individually or in the
aggregate, then, in each case, not later than two (2) Business Days after receipt of the Net Cash
Proceeds therefrom, the Borrower shall apply 100% of such Net Cash Proceeds to the repayment
of Loans and the payment of accrued and unpaid interest thereon. The provisions of this
Section 2.07(a) do not constitute a consent to any Disposition or the incurrence of any
Indebtedness by any Credit Party.

       (b)     Each payment of Net Cash Proceeds pursuant to this Section 2.07 shall be applied
on a pro rata basis to the then outstanding Loans being prepaid irrespective of whether such
outstanding Loans are ABR Loans or Eurodollar Loans and shall, with respect to New Money
Loans, be accompanied by all accrued but unpaid interest thereon.

        (c)     The Borrower shall notify the Administrative Agent and the Lenders in writing of
any prepayment hereunder not later than 12:00 p.m., New York City time, three (3) Business
Days before the date of prepayment. Each such notice shall be irrevocable and shall specify the
prepayment date and the principal amount of the Loans to be prepaid and the Make-Whole
Amount due in respect of such prepayment. All prepayments under this Section 2.07 shall be
subject to Section 2.09 and Section 2.16 but otherwise without premium or penalty. Promptly
following receipt of any such notice, the Administrative Agent shall advise the Lenders of the
contents thereof.

       Section 2.08    [Reserved].

       Section 2.09 Payment of Make-Whole Amount.

       (a)    Whether voluntary or mandatory, and with respect to each repayment or
prepayment of Loans under Section 2.06 or 2.07 or any acceleration of the Loans and other
Obligations pursuant to Article VIII, the Borrower shall pay to the Administrative Agent, for the


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ratable benefit of the Lenders, with respect to the amount of the Loans repaid, prepaid or
accelerated, in each case, concurrently with such repayment or prepayment, the Make-Whole
Amount (as calculated by the Majority Lenders in consultation with the Borrower).
Notwithstanding the foregoing, no Make-Whole Amount shall be payable (i) with respect to any
Excluded Make-Whole Prepayments, which shall not include, for the avoidance of doubt, any
prepayments in connection with a sale pursuant to section 363 of the Bankruptcy Code or (ii) if
the Loans are repaid and otherwise satisfied pursuant to an Acceptable Plan.

        (b)      Any Make-Whole Amount payable pursuant to this Section 2.09 shall be
presumed to be the liquidated damages sustained by each Lender as the result of the early
prepayment and/or acceleration of its Loans and the Borrower agrees that it is reasonable under
the circumstances in view of the impracticability and extreme difficulty of ascertaining actual
damages and by mutual agreement of the parties as to a reasonable calculation of each Lender’s
lost profits as a result thereof.

       (c)   Notwithstanding any provision herein or in any Loan Document to the contrary,
any payment of the Make-Whole Amount hereunder with respect to the Refinanced Loans shall
be made without duplication of any make-whole amounts due and payable under the Prepetition
Term Loan Documents or with respect to the Prepetition Term Loan Obligations.

       Section 2.10 Interest on Loans.

        (a)     The Loans comprising each ABR Borrowing shall bear interest (computed on the
basis of the actual number of days elapsed over a year of 360 days (or, in the case of ABR Loans
and that bear interest by reference to the Base Rate, 365 or 366 days, as applicable) and
calculated from and including the date of such Borrowing to but excluding the date of repayment
thereof) at a rate per annum equal to the Alternate Base Rate plus the Applicable Margin in
effect from time to time.

        (b)     The Loans comprising each Eurodollar Borrowing shall bear interest (computed
on the basis of the actual number of days elapsed over a year of 360 days) at a rate per annum
equal to the Adjusted LIBO Rate for the Interest Period in effect for such Borrowing plus the
Applicable Margin in effect from time to time.

        (c)     Interest on each Loan shall be payable in arrears on each Interest Payment Date
applicable to such Loan and on the Maturity Date, and, in the event of any repayment or
prepayment of any Loan, interest on the amount so repaid or prepaid shall be payable in cash on
the date of such repayment or prepayment. Interest accruing on the New Money Loans shall be
payable in cash on each Interest Payment Date and interest accruing on the Refinanced Loans
shall be payable on each Interest Payment Date by capitalizing and adding such amount to the
outstanding principal balance of the Loans on such Interest Payment Date in lieu of paying such
amount in cash (such interest that is capitalized and added to the principal amount of a
Refinanced Loan being referred to herein as “PIK Interest”). Upon being capitalized and added
to the then aggregate outstanding principal balance of the Refinanced Loans, PIK Interest shall
be treated as principal of the Refinanced Loans for all purposes of this Agreement and the other
Loan Documents.




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       (d)     Notwithstanding the foregoing, upon the occurrence and during the continuance
of an Event of Default, the principal amount of all Loans and, to the extent permitted by
applicable law, other Obligations outstanding shall thereafter bear interest, after as well as before
judgment, at the Default Rate.

        (e)    If any payment hereunder becomes due and payable on a day other than a
Business Day, such payment shall be extended to the next succeeding Business Day. In the case
of any extension of any payment of principal pursuant to the preceding sentence, interest thereon
shall be payable at the rate applicable during such extension period.

       Section 2.11 Alternate Rate of Interest.

         (a)     If prior to the commencement of any Interest Period for a Eurodollar Borrowing:
(x) the Administrative Agent determines (which determination shall be final and conclusive
absent manifest error) that adequate and reasonable means do not exist for ascertaining the
Adjusted LIBO Rate for such Interest Period; or (y) the Administrative Agent determines (which
determination shall be final and conclusive absent manifest error) or is advised in writing by the
Majority Lenders that the Adjusted LIBO Rate for such Interest Period will not adequately and
fairly reflect the cost to such Lenders of making or maintaining their Loans included in such
Borrowing for such Interest Period; then the Administrative Agent shall give written notice
thereof to Borrower and the Lenders as promptly as practicable thereafter and, until the
Administrative Agent notifies Borrower and the Lenders that the circumstances giving rise to
such notice no longer exist, (i) any Eurodollar Borrowing requested to be made on the first day
of such Interest Period shall be made as a Market Disruption Loan, (ii) any Borrowings that were
to have been converted on the first day of such Interest Period to a Eurodollar Borrowing shall be
continued as a Market Disruption Loan and (iii) any outstanding Eurodollar Borrowing shall be
converted, on the last day of the then-current Interest Period, to a Market Disruption Loan.

        (b)     If at any time the Administrative Agent determines (which determination shall be
conclusive absent manifest error) that (i) the circumstances set forth in clause (a)(x) above have
arisen and such circumstances are unlikely to be temporary or (ii) the circumstances set forth in
clause (a)(x) have not arisen but the administrator of the ICE Benchmark Administration London
Interbank Offered Rate or a Governmental Authority having jurisdiction over the Administrative
Agent has made a public statement identifying a specific date after which the ICE Benchmark
Administration London Interbank Offered Rate shall no longer be used for determining interest
rates for loans, then the Borrower and the Administrative Agent (acting at the direction of the
Majority Lenders) shall endeavor to establish an alternate rate of interest to the LIBO Rate that
(x) gives due consideration to the then-prevailing market convention for determining a rate of
interest for syndicated loans in the United States at such time and (y) is a rate for which the
Administrative Agent has indicated in writing to the Lenders (which includes email) that it is
able to calculate and administer and the Borrower and the Administrative Agent, with the
consent of Majority Lenders, may enter into an amendment to this Agreement to reflect such
alternate rate of interest and such other related changes to this Agreement as may be applicable
(but for the avoidance of doubt, such related changes shall not include a reduction of the
Applicable Margin) (and the Lenders hereby (A) authorize and direct the Administrative Agent
to execute and deliver any such amendment in respect of which the Majority Lenders have
indicated in writing to the Administrative Agent (which may be via email) that such amendment


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(and the alternate interest rate specified therein) is satisfactory to the Majority Lenders and (B)
acknowledge and agree that the Administrative Agent shall be entitled to all of the exculpations
and indemnifications provided for in this Agreement in favor of the Administrative Agent in
executing and delivering any such amendment). Notwithstanding anything to the contrary in
Section 11.02, such amendment shall become effective without any further action or consent of
any other party to this Agreement. Until an alternate rate of interest is determined in accordance
with this clause (b) (but, in the case of the circumstances described in clause (ii) of the first
sentence of this Section 2.11(b), only to the extent the ICE Benchmark Administration London
Interbank Offered Rate for such Interest Period is not available or published at such time on a
current basis), (x) any requested Eurodollar Loans shall be made as ABR Loans, (y) any ABR
Loans that were to have been converted to Eurodollar Loans shall be continued as ABR Loans
and (z) any outstanding Eurodollar Loans shall be converted, on the last day of the then current
Interest Period applicable thereto, into ABR Loans, in each case determined without giving
effect to clause (c) of the Alternative Base Rate.

       Section 2.12 Fees.

         (a)    Upfront Fee. The Borrower shall pay to each Lender a non-refundable upfront
fee in cash in an amount equal to 1.75% of its aggregate New Money Commitments on the
Effective Date; provided that, such upfront fee may be structured as original issue discount as
agreed between the Borrower and the applicable Lender(s). Such fee shall be fully earned, due
and payable on the Effective Date and shall not be refundable for any reason whatsoever. To the
extent the upfront fee is structured as original issue discount, each applicable Lender shall on the
first date of Borrowing of New Money Loans fund the amount of its New Money Loan on such
date (net of such original issue discount) requested by the Borrower in exchange for the
Borrower’s obligations to repay in full the face amount of the New Money Loans plus interest
accrued thereon in accordance with the terms hereof.

        (b)    Commitment Yield Enhancement. The Borrower shall pay to each Lender a non-
refundable yield enhancement in cash in an amount equal to 1.75% of its aggregate New Money
Commitment on the Effective Date. Such fee shall be fully earned, due and payable on the
Effective Date and shall not be refundable for any reason whatsoever.

         (c)    Administrative Agent Fees. The Borrower shall pay to the Administrative Agent,
for its own account, the fees and expenses set forth in the Fee Letter in the amounts and at the
times set forth therein. Such fees shall be fully earned when due and shall not be refundable for
any reason whatsoever.

        Section 2.13 Conversion and Continuation of Borrowings. The Borrower shall have
the right at any time upon delivery of an Interest Election Request to the Administrative Agent
(a) not later than 11:00 a.m., New York City time, one Business Day prior to conversion, to
convert any Eurodollar Borrowing into an ABR Borrowing, (b) not later than 11:00 a.m., New
York City time, three (3) Business Days prior to conversion or continuation, to convert any ABR
Borrowing into a Eurodollar Borrowing or to continue any Eurodollar Borrowing as a Eurodollar
Borrowing for an additional Interest Period and (c) not later than 11:00 a.m., New York City
time, three (3) Business Days prior to conversion, to convert the Interest Period with respect to



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any Eurodollar Borrowing to another permissible Interest Period, subject in each case to the
following:

              (i)     each conversion or continuation shall be made pro rata among the
       Lenders in accordance with the respective principal amounts of the Loans comprising the
       converted or continued Borrowing;

              (ii)   no less than all the outstanding principal amount of any Borrowing shall
       be converted or continued;

              (iii) accrued interest on any Eurodollar Loan (or portion thereof) being
       converted shall be paid by the Borrower at the time of conversion;

               (iv)    if any Eurodollar Borrowing is converted at a time other than the end of
       the Interest Period applicable thereto, the Borrower shall pay, upon demand, any amounts
       due to the Lenders pursuant to Section 2.16;

             (v)    any portion of the Borrowing maturing or required to be repaid in less than
       one week may not be converted into or continued as a Eurodollar Borrowing;

             (vi)     any portion of a Eurodollar Borrowing that cannot be continued as a
       Eurodollar Borrowing by reason of the immediately preceding clause (v) shall be
       automatically converted at the end of the Interest Period in effect for such Borrowing into
       an ABR Borrowing; and

              (vii) after the occurrence and during the continuance of a Default or Event of
       Default, no outstanding Loan may be converted into, or continued as, a Eurodollar Loan.

        Each such Interest Election Request shall be irrevocable and shall specify (a) the identity
and amount of the Borrowing that the Borrower requests be converted or continued, (b) whether
such Borrowing is to be converted to or continued as a Eurodollar Borrowing or an ABR
Borrowing, (c) if such notice requests a conversion, the date of such conversion (which shall be a
Business Day) and (d) if such Borrowing is to be converted to or continued as a Eurodollar
Borrowing, the Interest Period with respect thereto. If no Interest Period is specified in any such
notice with respect to any conversion to or continuation as a Eurodollar Borrowing, the Borrower
shall be deemed to have selected an Interest Period of one month’s duration. The Administrative
Agent shall promptly advise the Lenders of any notice given pursuant to this Section 2.13. If the
Borrower shall not have given notice in accordance with this Section 2.13 to continue any
Borrowing into a subsequent Interest Period, such Borrowing shall, at the end of the Interest
Period applicable thereto (unless repaid pursuant to the terms hereof), automatically be converted
into an ABR Borrowing.

       Section 2.14 Increased Costs.

       (a)     If any Change in Law shall:

             (i)    impose, modify or deem applicable any reserve, special deposit,
       compulsory loan, insurance charge or similar requirement against assets of, deposits with


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       or for the account of or credit extended by any Lender (except any such reserve
       requirement which is reflected in the Adjusted LIBO Rate);

               (ii)    subject any Recipient to any Taxes (other than (i) Indemnified Taxes,
       (ii) Taxes described in clauses (b) through (d) of the definition of Excluded Taxes and
       (iii) Connection Income Taxes) on its loans, loan principal, letters of credit,
       commitments, or other obligations, or its deposits, reserves, other liabilities or capital
       attributable thereto; or

              (iii) impose on any Lender or the London interbank market any other
       condition, cost or expense (other than Taxes) affecting this Agreement or Loans made by
       such Lender

       and the result of any of the foregoing shall be to increase the cost to such Recipient of
       making, converting to, continuing or maintaining any Loan or maintaining its obligations
       to make any such Loan or to reduce the amount of any sum received or receivable by
       such Recipient hereunder (whether of principal, interest or any other amount), then the
       Borrower will pay to such Recipient such additional amount or amounts as will
       compensate such Recipient for such additional costs incurred or reduction suffered.

        (b)     If any Lender determines that any Change in Law regarding capital or liquidity
requirements has or would have the effect of reducing the rate of return on such Lender’s capital
or on the capital of such Lender’s holding company, if any, as a consequence of this Agreement
or the Loans made by such Lender to a level below that which such Lender or such Lender’s
holding company could have achieved but for such Change in Law (taking into consideration
such Lender’s policies and the policies of such Lender’s holding company with respect to capital
adequacy and liquidity), then from time to time the Borrower will pay to such Lender, as the case
may be, such additional amount or amounts as will compensate such Lender such Lender’s
holding company for any such reduction suffered.

        (c)     A certificate of a Recipient setting forth the amount or amounts necessary to
compensate such Recipient or its holding company, as the case may be, as specified in
paragraph (a) or (b) of this Section shall be delivered to the Borrower (with a copy to the
Administrative Agent) and shall be conclusive absent manifest error. The Borrower shall pay
such Recipient the amount shown as due on any such certificate within ten (10) Business Days
after receipt thereof.

         (d)    Failure or delay on the part of any Recipient to demand compensation pursuant to
this Section shall not constitute a waiver of such Recipient’s right to demand such compensation;
provided that the Borrower shall not be required to compensate a Recipient pursuant to this
Section for any increased costs or reductions incurred more than 270 days prior to the date that
such Recipient notifies the Borrower of the Change in Law giving rise to such increased costs or
reductions and of such Recipient’s intention to claim compensation therefor; provided further
that, if the Change in Law giving rise to such increased costs or reductions is retroactive, then
the 270-day period referred to above shall be extended to include the period of retroactive effect
thereof.




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       Section 2.15 Change in Legality.

         (a)    Notwithstanding any other provision of this Agreement, if any Change in Law
shall make it unlawful for any Lender to make or maintain any Eurodollar Loan or to give effect
to its obligations as contemplated hereby with respect to any Eurodollar Loan, then, by written
notice to the Borrower and to the Administrative Agent:

              (i)     such Lender may declare that Eurodollar Loans will not thereafter (for the
       duration of such unlawfulness) be made by such Lender hereunder (or be continued for
       additional Interest Periods) and ABR Loans will not thereafter (for such duration) be
       converted into Eurodollar Loans, whereupon any request for a Eurodollar Borrowing (or
       to convert an ABR Borrowing to a Eurodollar Borrowing or to continue a Eurodollar
       Borrowing for an additional Interest Period) shall, as to such Lender only, be deemed a
       request for an ABR Loan (or a request to continue an ABR Loan as such or to convert a
       Eurodollar Loan into an ABR Loan, as the case may be), unless such declaration shall be
       subsequently withdrawn; and

               (ii)   such Lender may require that all outstanding Eurodollar Loans made by it
       be converted to ABR Loans, in which event all such Eurodollar Loans shall be
       automatically converted to ABR Loans as of the effective date of such notice as provided
       in paragraph (b) below.

In the event any Lender shall exercise its rights under paragraph (i) or (ii) above, all payments
and prepayments of principal that would otherwise have been applied to repay the Eurodollar
Loans that would have been made by such Lender or the converted Eurodollar Loans of such
Lender shall instead be applied to repay the ABR Loans made by such Lender in lieu of, or
resulting from the conversion of, such Eurodollar Loans.

        (b)     For purposes of this Section 2.15, a notice to the Borrower by any Lender shall be
effective as to each Eurodollar Loan made by such Lender, (i) if lawful, on the last day of the
Interest Period then applicable to such Eurodollar Loan and (ii) in all other cases, on the date of
receipt by the Borrower.

         Section 2.16 Breakage. The Borrower shall indemnify each Lender against any loss or
expense that such Lender may sustain or incur as a consequence of (a) any event, other than a
default by such Lender in the performance of its obligations hereunder, which results in (i) such
Lender receiving, or being deemed to receive, any amount on account of the principal of any
Eurodollar Loan prior to the end of the Interest Period in effect therefor, (ii) the conversion of
any Eurodollar Loan to an ABR Loan, or the conversion of the Interest Period with respect to
any Eurodollar Loan, in each case other than on the last day of the Interest Period in effect
therefor or (iii) any Eurodollar Loan to be made by such Lender (including any Eurodollar Loan
to be made pursuant to a conversion or continuation under Section 2.13) not being made after
notice of such Loan shall have been given by the Borrower hereunder (any of the events referred
to in this clause (a) being called a “Breakage Event”) or (b) any default in the making of any
payment or prepayment required to be made hereunder. In the case of any Breakage Event, such
loss shall include an amount equal to the excess, as reasonably determined by such Lender, of (i)
its cost of obtaining funds for the Eurodollar Loan that is the subject of such Breakage Event for


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the period from the date of such Breakage Event to the last day of the Interest Period in effect (or
that would have been in effect) for such Loan over (ii) the amount of interest likely to be realized
by such Lender in redeploying the funds released or not utilized by reason of such Breakage
Event for such period. A certificate of any Lender (with a copy to the Administrative Agent)
setting forth any amount or amounts which such Lender is entitled to receive pursuant to this
Section 2.16 shall be delivered to the Borrower and shall be conclusive absent manifest error.

       Section 2.17 Taxes.

        (a)    Payments Free of Taxes. Any and all payments by or on account of any
obligation of any Credit Party under any Loan Document shall be made without deduction or
withholding for any Taxes, except as required by applicable law. If any applicable law (as
determined in the good faith discretion of an applicable Withholding Agent) requires the
deduction or withholding of any Tax from any such payment by a Withholding Agent, then the
applicable Withholding Agent shall be entitled to make such deduction or withholding and shall
timely pay the full amount deducted or withheld to the relevant Governmental Authority in
accordance with applicable law and, if such Tax is an Indemnified Tax, then the sum payable by
the applicable Credit Party shall be increased as necessary so that after such deduction or
withholding has been made (including such deductions and withholdings of Indemnified Taxes
applicable to additional sums payable under this Section 2.17) the applicable Recipient receives
an amount equal to the sum it would have received had no such deduction or withholding been
made.

        (b)    Payment of Other Taxes by the Borrower. The Credit Parties shall timely pay to
the relevant Governmental Authority in accordance with applicable law, or at the option of the
Administrative Agent timely reimburse it for the payment of, any Other Taxes.

        (c)     Evidence of Payments. As soon as practicable after any payment of Taxes by any
Credit Party to a Governmental Authority pursuant to this Section 2.17, such Credit Party shall
deliver to the Administrative Agent the original or a certified copy of a receipt issued by such
Governmental Authority evidencing such payment, a copy of the return reporting such payment
or other evidence of such payment reasonably satisfactory to the Administrative Agent.

        (d)     Indemnification by the Borrower. The Credit Parties shall jointly and severally
indemnify each Recipient, within ten (10) Business Days after demand therefor, for the full
amount of any Indemnified Taxes (including Indemnified Taxes imposed or asserted on or
attributable to amounts payable under this Section) payable or paid by such Recipient or required
to be withheld or deducted from a payment to such Recipient and any reasonable expenses
arising therefrom or with respect thereto, whether or not such Indemnified Taxes were correctly
or legally imposed or asserted by the relevant Governmental Authority. A certificate as to the
amount of such payment or liability delivered to the Borrower by a Lender (with a copy to the
Administrative Agent), or by the Administrative Agent on its own behalf or on behalf of a
Lender, shall be conclusive absent manifest error.

      (e)     Indemnification by the Lenders. Each Lender shall severally indemnify the
Administrative Agent, within ten (10) Business Days after demand therefor, for (i) any
Indemnified Taxes attributable to such Lender (but only to the extent that any Credit Party has


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not already indemnified the Administrative Agent for such Indemnified Taxes and without
limiting the obligation of the Credit Parties to do so), (ii) any Taxes attributable to such Lender’s
failure to comply with the provisions of Section 11.04(c) relating to the maintenance of a
Participant Register and (iii) any Excluded Taxes attributable to such Lender, in each case, that
are payable or paid by the Administrative Agent in connection with any Loan Document, and
any reasonable expenses arising therefrom or with respect thereto, whether or not such Taxes
were correctly or legally imposed or asserted by the relevant Governmental Authority. A
certificate as to the amount of such payment or liability delivered to any Lender by the
Administrative Agent shall be conclusive absent manifest error. Each Lender hereby authorizes
the Administrative Agent to set off and apply any and all amounts at any time owing to such
Lender under any Loan Document or otherwise payable by the Administrative Agent to the
Lender from any other source against any amount due to the Administrative Agent under this
paragraph (e).

       (f)     Status of Lenders.

               (i)    Any Lender that is entitled to an exemption from or reduction of
       withholding Tax with respect to payments made under any Loan Document shall deliver
       to the Borrower and the Administrative Agent, at the time or times reasonably requested
       by the Borrower or the Administrative Agent, such properly completed and executed
       documentation reasonably requested by the Borrower or the Administrative Agent as will
       permit such payments to be made without withholding or at a reduced rate of
       withholding. In addition, any Lender, if reasonably requested by the Borrower or the
       Administrative Agent, shall deliver such other documentation prescribed by applicable
       law or reasonably requested by the Borrower or the Administrative Agent as will enable
       the Borrower or the Administrative Agent to determine whether or not such Lender is
       subject to backup withholding or information reporting requirements. Notwithstanding
       anything to the contrary in the preceding two sentences, the completion, execution and
       submission of such documentation (other than such documentation set forth in
       Section 2.17(f)(ii)(A), (ii)(B) and (ii)(D) below) shall not be required if in the Lender’s
       reasonable judgment such completion, execution or submission would subject such
       Lender to any material unreimbursed cost or expense or would materially prejudice the
       legal or commercial position of such Lender.

               (ii)    Without limiting the generality of the foregoing,

                      (A)    any Lender that is a U.S. Person shall deliver to the Borrower and
               the Administrative Agent on or prior to the date on which such Lender becomes a
               Lender under this Agreement (and from time to time thereafter upon the
               reasonable request of the Borrower or the Administrative Agent), executed copies
               of IRS Form W-9 certifying that such Lender is exempt from U.S. Federal backup
               withholding Tax;

                       (B)      any Foreign Lender shall, to the extent it is legally entitled to do
               so, deliver to the Borrower and the Administrative Agent (in such number of
               copies as shall be requested by the recipient) on or prior to the date on which such
               Foreign Lender becomes a Lender under this Agreement (and from time to time


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       thereafter upon the reasonable request of the Borrower or the Administrative
       Agent), whichever of the following is applicable:

                      (1)    in the case of a Foreign Lender claiming the benefits of an
              income tax treaty to which the United States is a party (x) with respect to
              payments of interest under any Loan Document, executed copies of IRS
              Form W-8BEN or IRS Form W-8BEN-E (or applicable successor form)
              establishing an exemption from, or reduction of, U.S. Federal withholding
              Tax pursuant to the “interest” article of such tax treaty and (y) with respect
              to any other applicable payments under any Loan Document, executed
              copies of IRS Form W-8BEN or IRS Form W-8BEN-E (or applicable
              successor form) establishing an exemption from, or reduction of,
              U.S. Federal withholding Tax pursuant to the “business profits” or “other
              income” article of such tax treaty;

                      (2)     executed copies of IRS Form W-8ECI;

                      (3)     in the case of a Foreign Lender claiming the benefits of the
              exemption for portfolio interest under Section 881(c) of the Code, (x) a
              certificate substantially in the form of Exhibit H-1 to the effect that such
              Foreign Lender is not a “bank” within the meaning of
              Section 881(c)(3)(A) of the Code, a “10 percent shareholder” of the
              Borrower within the meaning of Section 871(h)(3)(B) of the Code, or a
              “controlled foreign corporation” described in Section 881(c)(3)(C) of the
              Code (a “U.S. Tax Compliance Certificate”) and (y) executed copies of
              IRS Form W-8BEN or IRS Form W-8BEN-E (or applicable successor
              form); or

                      (4)     to the extent a Foreign Lender is not the beneficial owner,
              executed copies of IRS Form W-8IMY, accompanied by IRS
              Form W-8ECI, IRS Form W-8BEN or IRS Form W-8BEN-E (or
              applicable successor form), a U.S. Tax Compliance Certificate
              substantially in the form of Exhibit H-2 or Exhibit H-3, IRS Form W-9,
              and/or other certification documents from each beneficial owner, as
              applicable; provided that if the Foreign Lender is a partnership and one or
              more direct or indirect partners of such Foreign Lender are claiming the
              portfolio interest exemption, such Foreign Lender may provide a U.S. Tax
              Compliance Certificate substantially in the form of Exhibit H-4 on behalf
              of each such direct and indirect partner;

               (C)      any Foreign Lender shall, to the extent it is legally entitled to do
       so, deliver to the Borrower and the Administrative Agent (in such number of
       copies as shall be requested by the recipient) on or prior to the date on which such
       Foreign Lender becomes a Lender under this Agreement (and from time to time
       thereafter upon the reasonable request of the Borrower or the Administrative
       Agent), executed originals of any other form prescribed by applicable law as a
       basis for claiming exemption from or a reduction in U.S. Federal withholding


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               Tax, duly completed, together with such supplementary documentation as may be
               prescribed by applicable law to permit the Borrower or the Administrative Agent
               to determine the withholding or deduction required to be made; and

                       (D)     if a payment made to a Recipient under any Loan Document would
               be subject to U.S. Federal withholding Tax imposed by FATCA if such Recipient
               were to fail to comply with the applicable reporting requirements of FATCA
               (including those contained in Section 1471(b) or 1472(b) of the Code, as
               applicable), such Recipient shall deliver to the Borrower and the Administrative
               Agent at the time or times prescribed by law and at such time or times reasonably
               requested by the Borrower or the Administrative Agent such documentation
               prescribed by applicable law (including as prescribed by Section 1471(b)(3)(C)(i)
               of the Code) and such additional documentation reasonably requested by the
               Borrower or the Administrative Agent as may be necessary for the Borrower and
               the Administrative Agent to comply with their obligations under FATCA and to
               determine that such Recipient has complied with such Recipient’s obligations
               under FATCA or to determine the amount to deduct and withhold from such
               payment. Solely for purposes of this clause (D), “FATCA” shall include any
               amendments made to FATCA after the date of this Agreement.

      Each Lender agrees that if any form or certification it previously delivered expires or
becomes obsolete or inaccurate in any respect, it shall update such form or certification or
promptly notify the Borrower and the Administrative Agent in writing of its legal inability to do
so.

        (g)     Status of Administrative Agent. On or before the date on which Wilmington
Trust, National Association (and any successor or replacement Administrative Agent) becomes
the Administrative Agent hereunder, it shall deliver to the Borrower two executed copies of
either (i) IRS Form W-9, or (ii) IRS Form W-8ECI (with respect to any payments to be received
on its own behalf) and IRS Form W-8IMY (for all other payments), establishing that the
Borrower can make payments to the Administrative Agent without deduction or withholding of
any Taxes imposed by the United States, including Taxes imposed under FATCA.

        (h)     Treatment of Certain Refunds. If any party determines, in its sole discretion
exercised in good faith, that it has received a refund of any Taxes as to which it has been
indemnified pursuant to this Section 2.17 (including by the payment of additional amounts
pursuant to this Section 2.17), it shall pay to the indemnifying party an amount equal to such
refund (but only to the extent of indemnity payments made under this Section 2.17 with respect
to the Taxes giving rise to such refund), net of all out-of-pocket expenses (including Taxes) of
such indemnified party and without interest (other than any interest paid by the relevant
Governmental Authority with respect to such refund). Such indemnifying party, upon the
request of such indemnified party, shall repay to such indemnified party the amount paid over
pursuant to this paragraph (h) (plus any penalties, interest or other charges imposed by the
relevant Governmental Authority) in the event that such indemnified party is required to repay
such refund to such Governmental Authority. Notwithstanding anything to the contrary in this
paragraph (h), in no event will the indemnified party be required to pay any amount to an
indemnifying party pursuant to this paragraph (h) the payment of which would place the


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indemnified party in a less favorable net after-Tax position than the indemnified party would
have been in if the Tax subject to indemnification and giving rise to such refund had not been
deducted, withheld or otherwise imposed and the indemnification payments or additional
amounts with respect to such Tax had never been paid. This paragraph shall not be construed to
require any indemnified party to make available its Tax returns (or any other information relating
to its Taxes that it deems confidential) to the indemnifying party or any other Person.

        (i)    FATCA. For purposes of determining withholding Taxes imposed under
FATCA, from and after the effective date of this Agreement, the Borrower and the
Administrative Agent shall treat (and the Lenders hereby authorize the Administrative Agent to
treat) each Loan as not qualifying as a “grandfathered obligation” within the meaning of
Treasury Regulation Section 1.1471-2(b)(2)(i).

       (j)      Survival. Each party’s obligations under this Section 2.17 shall survive the
resignation or replacement of the Administrative Agent or any assignment of rights by, or the
replacement of, a Lender, the termination of the Commitments and the repayment, satisfaction or
discharge of all obligations under any Loan Document.

       Section 2.18 Payments Generally; Pro Rata Treatment; Sharing of Set-offs.

        (a)    The Borrower shall make each payment required to be made by it hereunder
(whether of principal, interest, fees, or of amounts payable under Section 2.14, Section 2.16 or
Section 2.17, or otherwise) prior to 2:00 p.m. New York City Time on the date when due, in
Dollars and (other than in the case of PIK Interest) in immediately available funds, without set-
off or counterclaim. Any amounts received after such time on any date may, in the discretion of
the Administrative Agent, be deemed to have been received on the next succeeding Business
Day for purposes of calculating interest thereon. All such payments shall be made to the
Administrative Agent at such account as may be specified by the Administrative Agent, except
that payments pursuant to Section 2.14, Section 2.16, Section 2.17 or Section 11.03 shall be
made directly to the Persons entitled thereto. The Administrative Agent shall distribute any such
payments received by it for the account of any other Person to the appropriate recipient promptly
following receipt thereof. If any payment hereunder shall be due on a day that is not a Business
Day, the date for payment shall be extended to the next succeeding Business Day, and, in the
case of any payment accruing interest, interest thereon shall be payable for the period of such
extension. All payments hereunder shall be made in Dollars.

         (b)    If at any time insufficient funds are received by and available to the
Administrative Agent to pay fully all amounts of principal, interest, premiums and fees then due
hereunder, such funds shall be applied (i) first, towards payment of fees then due hereunder,
ratably among the parties entitled thereto in accordance with the amounts of fees then due to
such parties, (ii) second, towards payment of interest and premiums then due hereunder, ratably
among the parties entitled thereto in accordance with the amounts of interest and premiums then
due to such parties and (iii) third, towards payment of principal then due hereunder, ratably
among the parties entitled thereto in accordance with the amounts of principal then due to such
parties.




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        (c)     If any Lender shall, by exercising any right of set-off or counterclaim or
otherwise, obtain payment in respect of any principal of or interest on any of its Loans resulting
in such Lender receiving payment of a greater proportion of the aggregate amount of its Loans
and accrued interest thereon than the proportion received by any other Lender, then the Lender
receiving such greater proportion shall purchase (for cash at face value) participations in the
Loans of other Lenders to the extent necessary so that the benefit of all such payments shall be
shared by the Lenders ratably in accordance with the aggregate amount of principal of and
accrued interest on their respective Loans; provided that (i) if any such participations are
purchased and all or any portion of the payment giving rise thereto is recovered, such
participations shall be rescinded and the purchase price restored to the extent of such recovery,
without interest, and (ii) the provisions of this paragraph shall not be construed to apply to any
payment made by the Borrower pursuant to and in accordance with the express terms of this
Agreement or any payment obtained by a Lender as consideration for the assignment of or sale
of a participation in any of its Loans to any assignee or participant, other than to the Borrower or
any Subsidiary or Affiliate thereof (as to which the provisions of this paragraph shall apply).
The Borrower consents to the foregoing and agrees, to the extent it may effectively do so under
applicable law, that any Lender acquiring a participation pursuant to the foregoing arrangements
may exercise against the Borrower rights of set-off and counterclaim with respect to such
participation as fully as if such Lender were a direct creditor of the Borrower in the amount of
such participation.

        (d)     Unless the Administrative Agent shall have received written notice from the
Borrower prior to the date on which any payment is due to the Administrative Agent for the
account of the Lenders hereunder that the Borrower will not make such payment, the
Administrative Agent may assume that the Borrower has made such payment on such date in
accordance herewith and may, in reliance upon such assumption, distribute to the Lenders the
amount due. In such event, if the Borrower has not in fact made such payment, then each of the
Lenders severally agrees to repay to the Administrative Agent forthwith on demand the amount
so distributed to such Lender with interest thereon, for each day from and including the date such
amount is distributed to it to but excluding the date of payment to the Administrative Agent, at
the Federal Funds Effective Rate.

         (e)     If any Lender shall fail to make any payment required to be made by it pursuant to
Section 2.17(e) or Section 11.03(c), then the Administrative Agent may, in its discretion
(notwithstanding any contrary provision hereof), (i) apply any amounts thereafter received by the
Administrative Agent for the account of such Lender for the benefit of the Administrative Agent
to satisfy such Lender’s obligations to it under such Sections until all such unsatisfied obligations
are fully paid, and/or (ii) hold any such amounts in a segregated account as Cash Collateral for,
and application to, any future funding obligations of such Lender under any such Section, in the
case of each of clauses (i) and (ii) above, in any order as determined by the Administrative Agent
in its discretion.




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                                          ARTICLE III.

                         REPRESENTATIONS AND WARRANTIES

        Each Credit Party represents and warrants to the Administrative Agent and the Lenders
that on the Effective Date and each Credit Date:

        Section 3.01 Organization; Powers. Each Credit Party (a) is duly organized, validly
existing and in good standing under the laws of the jurisdiction of its organization, (b) subject to
the entry and terms of the DIP Orders and any other orders of the Bankruptcy Court, as
applicable, has all requisite power and authority to carry on its business as now conducted and,
except where the failure to do so, individually or in the aggregate, could not reasonably be
expected to result in a Material Adverse Effect, is qualified to do business in, and is in good
standing in, every jurisdiction where such qualification is required.

        Section 3.02 Authorization; Enforceability. Subject to entry and the terms of the DIP
Orders, the Transactions are within each Credit Party’s corporate, limited liability company or
partnership powers and have been duly authorized by all necessary corporate, limited liability
company or partnership and, if required, actions by equity holders. Subject to entry and the
terms of the DIP Orders, this Agreement has been duly executed and delivered by each Credit
Party and constitutes a legal, valid and binding obligation of each Credit Party, enforceable in
accordance with its terms, subject to applicable bankruptcy, insolvency, reorganization,
moratorium or other laws affecting creditors’ rights generally and subject to general principles of
equity, regardless of whether considered in a proceeding in equity or at law.

        Section 3.03 Governmental Approvals; No Conflicts. Subject to the entry and terms
of the DIP Orders, the Transactions (a) other than the DIP Orders, do not require any consent or
approval of, registration or filing with, or any other action by, any Governmental Authority,
except such as have been obtained or made and are in full force and effect or have been made or
to be made in connection with the filing of any Security Documents, financing statements, or
other registrations or filings to secure the Obligations, (b) will not violate any Requirement of
Law applicable to any Credit Party or any Subsidiary, (c) will not violate or result in a default
under any post-petition indenture, agreement or other instrument evidencing Indebtedness, or
give rise to a right thereunder to require any payment to be made by any Credit Party or any
Subsidiary, and (d) will not result in the creation or imposition of any Lien on any asset of any
Credit Party or any Subsidiary not otherwise permitted under Section 6.03.

       Section 3.04 Financial Condition; No Material Adverse Change.

        (a)     The Borrower has heretofore furnished to the Administrative Agent and the
Lenders (i) the audited consolidated balance sheet and related statements of income, stockholders
equity and cash flows of the Borrower and its Consolidated Subsidiaries as of and for the fiscal
year ended December 31, 2017, reported on by BDO USA, LLP, independent public accountants
and (ii) the unaudited consolidated balance sheet and related statements of income, stockholders
equity and cash flows of the Borrower and its Consolidated Subsidiaries as of and for the fiscal
quarter ended June 30, 2018. Such financial statements, together with any notes and
management discussions related to such financials appearing in the Borrower’s Form 10-K filed


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with the SEC on March 15, 2018 and the Borrower’s Form 10-Q filed with the SEC on August 9,
2018 present fairly, in all material respects, the financial position and results of operations and
cash flows of the Borrower and its Consolidated Subsidiaries as of such dates and for such
periods in accordance with GAAP and, except as set forth on Schedule 3.04, show all Material
Indebtedness and other liabilities, direct or contingent, of the Borrower and its Consolidated
Subsidiaries as of the date thereof, including material commitments and Indebtedness.

       (b)    Since the Petition Date, no event or circumstance, either individually or in the
aggregate, which has had or could reasonably be expected to have a Material Adverse Effect has
occurred.

       Section 3.05 Properties.

         (a)    Except as otherwise provided in Section 3.05(c) with respect to Oil and Gas
Property, the Borrower and each Subsidiary has good title to, or valid leasehold interests in, all
its real and personal property material to its business, except for (i) minor defects in title that do
not, in the aggregate, interfere with its ability to conduct its business as currently conducted and
(ii) Liens permitted under Section 6.03.

        (b)     The Borrower and each Subsidiary owns, or is licensed to use, all trademarks,
tradenames, copyrights, patents and other intellectual property material to its business, and the
use thereof by the Borrower and such Subsidiaries, as the case may be, does not infringe upon
the rights of any other Person, except for any such infringements that, individually or in the
aggregate, could not reasonably be expected to result in a Material Adverse Effect.

        (c)     Each Credit Party has good and defensible title to all Proved Reserves included in
the Oil and Gas Property described in the most recent Reserve Report provided to the
Administrative Agent and the Lenders (other than such Proved Reserves that have been
subsequently disposed of and disclosed on Schedule 3.19), free and clear of all Liens except
Liens permitted under Section 6.03. All such proved Oil and Gas Property are valid, subsisting,
and in full force and effect in all material respects, and all rentals, royalties, and other amounts
due and payable in respect thereof have been duly paid except for such rentals, royalties and
other amounts that are amounts being contested in good faith by appropriate proceedings and for
which the Borrower or the applicable Subsidiary has set aside on its books adequate reserves.
Without regard to any consent or non-consent provisions of any joint operating agreement
covering any Credit Party’s proved Oil and Gas Property, such Credit Party’s share of (a) the
costs for the proved Oil and Gas Property described in the Reserve Report (other than for such
proved Oil and Gas Property that have been subsequently disposed of and disclosed on
Schedule 3.19) is not materially greater than the decimal fraction set forth in the Reserve Report,
before and after payout, as the case may be, and described therein by the respective designations
“working interests,” “WI,” “gross working interest,” “GWI,” or similar terms (except in such
cases where there is a corresponding increase in the net revenue interest), and (b) production
from, allocated to, or attributed to such proved Oil and Gas Property is not materially less than
the decimal fraction set forth in the Reserve Report, before and after payout, as the case may be,
and described therein by the designations “net revenue interest,” “NRI,” or similar terms. The
wells drilled in respect of proved producing Oil and Gas Property described in the Reserve
Report (other than wells drilled in respect of such proved producing Oil and Gas Property that


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have been subsequently disposed of and disclosed on Schedule 3.19) (1) are capable of, and are
presently, either producing Hydrocarbons in commercially profitable quantities or in the process
of being worked over or enhanced, and the Credit Party that owns such proved producing Oil and
Gas Property is currently receiving payments for its share of production, with no funds in respect
of any thereof being presently held in suspense, other than any such funds being held in suspense
pending delivery of appropriate division orders, (2) have been drilled, bottomed, completed, and
operated in material compliance with all applicable laws, and (3) are not subject to any material
penalty in production by reason of such well having produced in excess of its allowable
production.

        (d)     No Credit Party has knowledge that a default exists under any of the terms or
provisions, express or implied, of any of the leases and term mineral interests in the Oil and Gas
Properties evaluated in the most recently delivered Reserve Report (other than any thereof
Disposed of in a Disposition permitted by this Agreement) or under any agreement to which the
same are subject that would materially and adversely affect the rights of the Credit Parties with
respect to the Oil and Gas Properties to which such lease, interest, or agreement relates.

       (e)     Except as otherwise permitted hereunder, there are no obligations under any Oil
and Gas Property or contract or agreement which require the drilling of additional wells or
operations to earn or to continue to hold any of the Oil and Gas Properties in force and effect,
except leases in the primary term and those under customary continuous operations provisions
that may be found in one or more of the Borrower’s or any Subsidiaries oil and gas and/or oil,
gas and mineral leases.

        (f)      To the extent required hereunder, all material necessary regulatory filings have
been properly made in connection with the drilling, completion and operation of the wells on or
attributable to the Oil and Gas Properties and all other operations related thereto.

       (g)     To the extent required hereunder, all production and sales of Hydrocarbons
produced or sold from the Oil and Gas Properties have been made materially in accordance with
any applicable allowables (plus permitted tolerances) imposed by any Governmental Authorities.

      (h)    No Credit Party has collected any proceeds from the sale of Hydrocarbons
produced from the Oil and Gas Properties which are subject to any material refund obligation.

       Section 3.06 Litigation and Environmental Matters.

        (a)     Except for the Chapter 11 Cases, there are no actions, suits or proceedings by or
before any arbitrator or Governmental Authority pending against or, to the knowledge of any
Credit Party, threatened against or affecting the Borrower or any Subsidiary, (i) as to which there
is a reasonable possibility of an adverse determination and that, if adversely determined, could
reasonably be expected, individually or in the aggregate, to result in a Material Adverse Effect
after taking into account insurance proceeds or other recoveries from third parties actually
received (other than the Disclosed Matters) or (ii) that involve this Agreement or the
Transactions.

        (b)     Except for the Disclosed Matters and except with respect to any other matters
that, individually or in the aggregate, could not reasonably be expected to result in a Material


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Adverse Effect after taking into account insurance proceeds or other recoveries from third parties
actually received, neither the Borrower nor any Subsidiary, to the Borrower’s knowledge, (i) has
failed to comply with any Environmental Law or to obtain, maintain or comply with any permit,
license or other approval required under any Environmental Law, (ii) has become subject to any
Environmental Liability, (iii) has received written notice of any claim with respect to any
Environmental Liability or (iv) knows of any basis for any claim with respect to any
Environmental Liability.

         Section 3.07 Compliance with Laws and Agreements. (a) Unless stayed by the
Chapter 11 Cases, the Borrower and each Subsidiary is in compliance with all Requirements of
Law applicable to it or its property, (b) the Borrower and each Subsidiary is in compliance with
its respective Organizational Documents and (c) the Borrower and each Subsidiary is in
compliance with all post-petition indentures, agreements and other instruments binding upon it
or its property, except, in the case of clauses (a) or (c), where the failure to do so, individually or
in the aggregate, could not reasonably be expected to result in a Material Adverse Effect. No
Default has occurred and is continuing.

        Section 3.08 Investment Company Status. Neither the Borrower nor any Subsidiary
is an “investment company” as defined in, or subject to regulation under, the Investment
Company Act of 1940.

         Section 3.09 Taxes. The Borrower and each Subsidiary has timely filed or caused to be
filed all material Tax returns and material reports required to have been filed and has paid or
caused to be paid all material Taxes required to have been paid by it, except Taxes (a) that are
being contested in good faith by appropriate proceedings and for which the Borrower or such
Subsidiary, as applicable, has set aside on its books adequate reserves or (b) to the extent
otherwise excused or prohibited by the Bankruptcy Code and for which payment has not
otherwise been required by the Bankruptcy Court.

        Section 3.10 ERISA. No ERISA Event has occurred or is reasonably expected to occur
that, when taken together with all other such ERISA Events for which liability is reasonably
expected to occur, could reasonably be expected to result in a Material Adverse Effect. The
present value of all accumulated benefit obligations under each Plan (based on the assumptions
used for purposes of FASB Statement 87) did not, as of the date of the most recent financial
statements reflecting such amounts, exceed the fair market value of the assets of such Plan by an
amount that could reasonably be expected to result in Material Adverse Effect, and the present
value of all accumulated benefit obligations of all underfunded Plans (based on the assumptions
used for purposes of FASB Statement 87) did not, as of the date of the most recent financial
statements reflecting such amounts, exceed the fair market value of the assets of all such
underfunded Plans by an amount that could reasonably be expected to result in Material Adverse
Effect.

       Section 3.11 Disclosure. The Borrower has disclosed to the Administrative Agent and
the Lenders all agreements, instruments and corporate or other restrictions to which it or any
Subsidiary is subject, and all other matters known to it, that, individually or in the aggregate,
could reasonably be expected to result in a Material Adverse Effect. None of the reports,
financial statements, certificates or other information furnished by or on behalf of the Borrower


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or any Subsidiary to the Administrative Agent or any Lender in connection with the negotiation
of this Agreement or delivered hereunder (as modified or supplemented by other information so
furnished) when taken as a whole contains any material misstatement of fact or omits to state any
material fact necessary to make the statements therein, in the light of the circumstances under
which they were made, not misleading as of the date made or deemed made; provided that, with
respect to projected financial information, the Borrower represents only that such information
was prepared in good faith based on assumptions believed to be reasonable at the time and, if
such projected financial information was delivered prior to the Effective Date, as of the Effective
Date.

        Section 3.12 Labor Matters. There are no strikes, lockouts or slowdowns against the
Borrower or any of its Subsidiaries pending or, to the knowledge of the Borrower, threatened
that could reasonably be expected to have a Material Adverse Effect. The hours worked by and
payments made to employees of the Borrower and of its Subsidiaries have not been in violation
of the Fair Labor Standards Act or any other Law dealing with such matters in any material
respect.

      Section 3.13 Capitalization. Schedule 3.13 lists as of the Effective Date, for the
Borrower and each Subsidiary, its full legal name and its jurisdiction of organization.

       Section 3.14 Margin Stock. Neither the Borrower nor any Subsidiary is engaged
principally, or as one of its important activities, in the business of extending credit for the
purpose of purchasing or carrying margin stock (within the meaning of Regulation U issued by
the Board), and no part of the proceeds of the Loans will be used to purchase or carry any margin
stock or to extend credit to others for the purpose of purchasing or carrying margin stock.

        Section 3.15 Bank Accounts. Schedule 3.15 lists all accounts maintained by or for the
benefit of any Credit Party with any bank or financial institution.

       Section 3.16 [Reserved].

       Section 3.17 [Reserved].

        Section 3.18 Gas Imbalances. Except as set forth on Schedule 3.18, on a net basis
there are no Gas Imbalances, take or pay or other prepayments with respect to any Oil and Gas
Properties which would require any Credit Party to deliver Hydrocarbons produced from such
Oil and Gas Properties at some future time without then or thereafter receiving full payment
therefor other than that which do not result in any Credit Party or any Subsidiary having net
aggregate liability in excess of $500,000.

        Section 3.19 Reserve Reports. To the best of the Borrower’s knowledge, (i) the
assumptions stated or used in the preparation of each Reserve Report are reasonable (it being
understood by Administrative Agent and the Lenders that assumptions as to future results are
subject to uncertainty and that no assurance can be given that any particular projections will be
realized to the extent beyond any Credit Party’s control), (ii) all information furnished by any
Credit Party to the Petroleum Engineers for use in the preparation of each Reserve Report was
accurate in all material respects at the time furnished or was subsequently corrected, (iii) except
as set forth on Schedule 3.19, there has been no decrease in the amount of the estimated Proved


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Reserves shown in any Reserve Report since the date thereof, except for changes which have
occurred as a result of production in the ordinary course of business, and (iv) at the time
furnished, no Reserve Report omitted any statement or information necessary to cause the same
not to be misleading to Administrative Agent and the Lenders in any material respect.

        Section 3.20 Sale of Production. No Oil and Gas Property is subject to any Advance
Payment Contract or any contract whereby payments are made to any Credit Party other than by
checks, drafts, wire transfer advices or other similar writings, instruments or communications for
the immediate payment of money. Except for production sales contracts, processing agreements,
transportation agreements and other agreements relating to the marketing of production in
connection with the Oil and Gas Properties to which such contract or agreement relates: (i) no
Oil and Gas Property is subject to any contractual or other arrangement for the sale, processing
or transportation of production (or otherwise related to the marketing of production) which
cannot be canceled on one year’s (or fewer) notice, other than as consented to by the Majority
Lenders, and (ii) all contractual or other arrangements for the sale, processing or transportation
of production (or otherwise related to the marketing of production) are bona fide arm’s length
transactions made on the best terms available with third parties not affiliated with any Credit
Party. Each Credit Party is presently receiving a price for all production from (or attributable to)
each Oil and Gas Property covered by a production sales contract or marketing contract that is
computed in accordance with the terms of such contract, and no Credit Party is having deliveries
of production from such Oil and Gas Property curtailed substantially below such Property’s
delivery capacity.

        Section 3.21 Anti-Corruption Laws and Sanctions. The Borrower has implemented
and maintains in effect policies and procedures designed to ensure compliance by the Borrower,
its Subsidiaries and their respective directors, officers, employees and agents with
Anti-Corruption Laws and applicable Sanctions, and the Borrower, its Subsidiaries and their
respective officers and employees and, to the knowledge of the Borrower its directors and agents,
insofar as the same are acting on behalf of the Borrower or its Subsidiaries, (i) are in compliance
with Anti-Corruption Laws and applicable Sanctions in all material respects and (ii) have not and
will not do business, enter into transactions or store with, purchase or receive money from,
transport from, to or with, sell goods or give money to, a Sanctioned Person. None of (a) the
Borrower, any Subsidiary or any of their respective directors, officers or employees, or (b) to the
knowledge of the Borrower, any agent of the Borrower or any Subsidiary that will act in any
capacity in connection with or benefit from the credit facility established hereby, is a Sanctioned
Person. The making of the Loans, use of proceeds thereof or other transaction contemplated by
the Credit Agreement will not violate Anti-Corruption Laws or applicable Sanctions.

       Section 3.22 No Foreign Operations. The Borrower and its Subsidiaries do not
operate their business outside the geographical boundaries of the United States.

      Section 3.23 Budget. The Approved Budget was prepared in good faith based on
assumptions believed by the Credit Parties to be reasonable at the time made.

       Section 3.24 Purpose of Loans. The proceeds of the New Money Loans will be used
in accordance with the terms of the Approved Budget (including any Carry Forward Amount and
any Permitted Variance), including, without limitation (i) to pay amounts due to Lenders and the


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Administrative Agent hereunder and professional fees and expenses (including legal, financial
advisor, appraisal and valuation-related fees and expenses) incurred by Lenders and the
Administrative Agent, including those incurred in connection with the preparation, negotiation,
documentation and court approval of the transactions contemplated hereby, (ii) to provide
working capital, and for other general corporate purposes of the Credit Parties, and to pay
administration costs of the Chapter 11 Cases and claims or amounts approved by the Bankruptcy
Court and (iii) to pay the Adequate Protection Payments.

        Section 3.25 Collateral Documents. The provisions of the DIP Orders, as applicable,
and the Security Documents are effective to create in favor of the Administrative Agent for the
benefit of the Secured Parties a legal, valid and enforceable security interest on all right, title and
interest of the respective Credit Parties in the Collateral (with such priority as provided for in the
DIP Orders). Except for filings contemplated hereby and by the DIP Orders, as applicable, no
filing or other action will be necessary to perfect the Liens on any Collateral.

        Section 3.26 Prepetition Obligations. Except for the Prepetition Obligations and as
disclosed on Schedule 6.02, the Credit Parties do not have any other Material Indebtedness for
borrowed money outstanding on the date hereof.

       Section 3.27 Priority. Subject to the Carve-Out, the Hedge Carve-Out and the Non-
Primed Excepted Liens (only to the extent set forth in the DIP Orders), the Obligations are
secured by a first-priority perfected Lien on the all of the Collateral.

                                           ARTICLE IV.

                               CONDITIONS TO BORROWINGS

       Section 4.01 Conditions to New Money Interim Loans. The obligation of each
Lender to make the New Money Interim Loan shall be subject to the satisfaction (or waiver by
the Majority Lenders) of the following conditions:

        (a)    Loan Documents. The Administrative Agent and the Lenders shall have received
executed counterparts of this Agreement and the other Loan Documents executed by each party
hereto and thereto, each of which shall be in form and substance satisfactory to the Majority
Lenders in their sole discretion.

        (b)      Organizational Documents. The Administrative Agent and the Lenders shall
have received (i) customary certificates of resolutions or other action, incumbency certificates of
Responsible Officers of each Credit Party evidencing the identity, authority and capacity of each
Responsible Officer thereof authorized to act as a Responsible Officer in connection with this
Agreement and the other Loan Documents to which such Credit Party is a party and (ii)
certificates (including Organization Documents and good standing certificates) relating to the
organization, existence and good standing of each Credit Party in its jurisdiction of organization,
in each case, as certified by the Secretary or an Assistant Secretary of such Credit Party.

       (c)      Collateral. The Administrative Agent, for the benefit of the Secured Parties, shall
have been granted a perfected lien on the Collateral by the DIP Orders on the terms and
conditions set forth herein and in the other Loan Documents.


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       (d)     Initial Budget. The Majority Lenders shall have received the Initial Budget in
form and substance satisfactory to the Majority Lenders in their sole discretion and such other
information (financial or otherwise) as the Majority Lenders may reasonably request.

        (e)     Fees and Expenses. The Administrative Agent and the Lenders shall have
received all fees and expenses due and payable to the Secured Parties on or prior to the Effective
Date, including, to the extent invoiced, reimbursement or payment of all reasonable and
documented expenses (including reasonable and documented fees, charges and disbursements of
counsel and other advisors) required to be reimbursed or paid by any Credit Party hereunder or
under any other Loan Document. The Administrative Agent shall have received a fully executed
copy of the Fee Letter.

        (f)    Required Documentation. At least three (3) Business Days prior to the Effective
Date, the Administrative Agent and the Lenders shall have received all documentation and other
information with respect to the Credit Parties, requested in writing by the Administrative Agent
or a Lender and required by bank regulatory authorities under applicable “know-your-customer”
and anti-money laundering rules and regulations, including the USA PATRIOT Act including,
for the avoidance of doubt, a certification regarding beneficial ownership as required by 31
C.F.R. § 1010.230.

       (g)     Bankruptcy Related Conditions.

              (i)     The Chapter 11 Cases shall have been commenced in the Bankruptcy
       Court and all of the “first day orders” and all related pleadings to be entered at the time of
       commencement of the Chapter 11 Cases or shortly thereafter shall have been reviewed by
       the Majority Lenders and be in form and substance reasonably acceptable to the Majority
       Lenders (and with respect to any provisions that affect the rights or duties of the
       Administrative Agent, the Administrative Agent);

                (ii)    the Interim Order shall have been entered by the Bankruptcy Court within
       five (5) days after the Petition Date and the Administrative Agent shall have received a
       true and complete copy of such order, and such order shall be in full force and effect and
       shall not (in whole or in part) have been reversed, modified, amended, stayed, vacated,
       appealed or subject to a stay pending appeal or otherwise subject to any challenge or a
       motion to amend, modify or vacate or for reconsideration absent the prior written consent
       of the Majority Lenders (and with respect to any provisions that affect the rights or duties
       of the Administrative Agent, the Administrative Agent) (which consent may be withheld
       in their sole discretion); and

              (iii) All orders entered by the Bankruptcy Court, including orders pertaining to
       cash management and adequate protection (collectively, the “Non-DIP Orders”) and all
       other motions and documents filed or to be filed with, and submitted to, the Bankruptcy
       Court in connection therewith, shall be in form and substance reasonably satisfactory to
       the Majority Lenders (and with respect to any provisions that affect the rights or duties of
       the Administrative Agent, the Administrative Agent).




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       Section 4.02 Conditions to All Loans. The obligation of each Lender to make any
Loans shall be subject to the satisfaction (or waiver by the Majority Lenders) of the following
conditions:

        (a)      Representations and Warranties. The representations and warranties of each
Credit Party contained in this Agreement and in each other Loan Document shall be true and
correct in all material respects (unless otherwise qualified by materiality in which case such
representations and warranties shall be true and correct in all respects) on and as of such date of
Borrowing, as applicable, as though made on and as of such date, except to the extent that any
such representation or warranty expressly relates to an earlier date (in which case such
representation or warranty shall be true and correct in all material respects (unless otherwise
qualified by materiality in which case such representations and warranties shall be true and
correct in all respects) on and as of such earlier date).

       (b)     No Default. At the time of and immediately after giving effect to such Borrowing,
no Default or Event of Default shall have occurred and be continuing.

      (c)     Borrowing Request. The Administrative Agent shall have received a Borrowing
Request in accordance with Section 2.03.

        (d)    No Material Adverse Effect. Except as disclosed to the Lenders in writing, since
the Petition Date, there shall have been no event, circumstance or change, either individually or
in the aggregate, that has had or could reasonably be expected to have a Material Adverse Effect.

        (e)     DIP Orders. With respect to New Money Final Loans and New Money Reserve
Loans, the Final DIP Order shall have been entered by the Bankruptcy Court no later than 30
days after the Petition Date, and the Administrative Agent shall have received a true and correct
copy of the Final DIP Order. Each DIP Order, as the case may be, shall be in full force and
effect and shall not (in whole or in part) have been reversed, modified, amended, stayed, vacated,
appealed or subject to a stay pending appeal or otherwise subject to any challenge or a motion to
amend, modify or vacate or for reconsideration absent the prior written consent of the Majority
Lenders (and with respect to any provisions that affect the rights or duties of the Administrative
Agent, the Administrative Agent) (which consent may be withheld in their sole discretion).

       (f)      Compliance with Orders. The Credit Parties shall be in compliance with the DIP
Orders in all respects and the Non-DIP Orders in all material respects.

       (g)     Budget. The Administrative Agent and the Lenders shall have received all
periodic updates required under the Approved Budget and the Credit Parties shall be in
compliance with the Approved Budget (including any Carry Forward Amount and any Permitted
Variance).

       (h)     No Trustee, Examiner or Receiver. No trustee, examiner or receiver shall have
been appointed or designated with respect to the Borrower or its Subsidiaries or their respective
businesses, properties or assets, and no motion shall be pending seeking any such relief or
seeking any other relief in the Bankruptcy Court to exercise control over any Collateral.




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        (i)     Approvals. Each Credit Party shall have obtained all approvals required from any
Governmental Authority and all consents of other Persons, in each case that are necessary or, in
the reasonable discretion of the Majority Lenders, advisable in connection with the Transactions
and each of the foregoing shall be in full force and effect and in form and substance reasonably
satisfactory to the Majority Lenders. All applicable waiting periods shall have expired without
any action being taken or threatened by any competent authority which would restrain, prevent
or otherwise impose adverse conditions on the transactions contemplated by the Loan
Documents or the financing thereof and no action, request for stay, petition for review or
rehearing, reconsideration, or appeal with respect to any of the foregoing shall be pending, and
the time for any applicable agency to take action to set aside its consent on its own motion shall
have expired.

        (j)     No Other Proceedings. Other than the Chapter 11 Cases (and, except as
otherwise provided herein, any objections, claims, actions, suits, investigations, litigation, or
proceedings that may be commenced or pursued therein), there shall exist no claim, action, suit,
investigation, litigation or proceeding, pending or threatened in any court or before any arbitrator
or governmental instrumentality which relates to the DIP Facility or the transactions
contemplated hereby (including, without limitation, any challenge by a creditor of the Credit
Parties in any jurisdiction with respect to the validity or priority of the Liens securing the
Collateral), except for claims, actions, suits, investigations, litigation or proceedings otherwise
stayed by 11 U.S.C. 362.

       (k)   Each of the conditions in Section 4.01 shall have been satisfied (or waived by the
Majority Lenders).

        The Majority Lenders shall notify the Administrative Agent of the Effective Date and
such notice shall be conclusive and binding. Without limiting the generality of the provisions of
Article IX, for purposes of determining compliance with the conditions specified in this Article
IV, each Lender that has signed this Agreement shall be deemed to have consented to, approved
or accepted or to be satisfied with, each document or other matter required thereunder to be
consented to or approved by or acceptable or satisfactory to a Lender unless the Administrative
Agent shall have received written notice from such Lender prior to the proposed Effective Date
specifying its objection thereto.

                                          ARTICLE V.

                                AFFIRMATIVE COVENANTS

      Until the Discharge of Obligations, the Credit Parties covenant and agree with the
Administrative Agent and the Lenders that:

        Section 5.01 Financial Statements; Other Information; Budget. The Borrower will
furnish to the Administrative Agent for distribution to each Lender:

       (a)     within 90 days after the end of each fiscal year of the Borrower, the audited
consolidated balance sheet and related statements of operations, stockholders’ equity and cash
flows of the Borrower and its Consolidated Subsidiaries as of the end of and for such year,



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setting forth in each case in comparative form the figures for the previous fiscal year, all reported
on by BDO USA, LLP or other independent public accountants reasonably acceptable to the
Majority Lenders, to the effect that such consolidated financial statements present fairly in all
material respects the financial condition and results of operations of the Borrower and its
Consolidated Subsidiaries on a consolidated basis in accordance with GAAP consistently
applied;

        (b)     within 60 days after the end of each fiscal quarter of the Borrower, the
consolidated balance sheet and related statements of operations, stockholders’ equity and cash
flows of the Borrower and its Consolidated Subsidiaries as of the end of and for such fiscal
quarter and the then elapsed portion of the fiscal year, setting forth in each case in comparative
form the figures for the corresponding period or periods of (or, in the case of the balance sheet,
as of the end of) the previous fiscal year, all certified by one of its Financial Officers as
presenting fairly in all material respects the financial condition and results of operations of the
Borrower and its Consolidated Subsidiaries on a consolidated basis in accordance with GAAP
consistently applied, subject to normal year-end audit adjustments and the absence of footnotes;

       (c)     [reserved];

       (d)     [reserved];

       (e)     [reserved];

         (f)    within 45 days following June 30th of each year and within 90 days following
December 31st of each year, the Borrower shall furnish or make available to the Administrative
Agent and each Lender (i) a Reserve Report in form and substance satisfactory to the Majority
Lenders in their reasonable discretion and prepared as of the immediately preceding June 30th or
December 31st, as applicable, which Reserve Report, in the case of each December 31 report
shall be prepared or audited by an Approved Petroleum Engineer and in the case of each other
Reserve Report shall be prepared by one or more petroleum engineers employed by the Borrower
or, at the Borrower’s election, by an Approved Petroleum Engineer; said Reserve Report to
utilize economic and pricing parameters consistent with those set forth in the definition of
Reserve Report, together with a Reserve Report Certificate;

        (g)     together with each Reserve Report required to be delivered under Section 5.01(f),
a report, in reasonable detail, setting forth (i) the Swap Agreements then in effect, the notional
volumes of and prices for, on a monthly basis and in the aggregate, the Hydrocarbons for each
such Swap Agreement and the term of each such Swap Agreement, (ii) the notional volumes of
Hydrocarbons for each such Swap Agreement and (iii) a list of the customers comprising 80% of
the Hydrocarbons (by value) being purchased from the Borrower or any Subsidiary in the six
month period prior to the “as of” date of the most recently delivered Reserve Report or Reserve
Report, as applicable;

        (h)      together with each Reserve Report delivered under Section 5.01(f) for the period
ending June 30th and December 31st of each year, (i) any updated production history of the
Proved Reserves of the Credit Parties as of such date, (ii) the lease operating expenses
attributable to the Oil and Gas Properties of the Credit Parties for the prior 12-month period



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ending on the effective date of the applicable Reserve Report, and (iii) any other information as
to the operations of Borrower and its Subsidiaries as reasonably requested by Administrative
Agent;

        (i)     from time to time such information or projections with respect to the business or
Properties, or the condition or operations, financial or otherwise, of, or compliance with the
terms of this Agreement by, the Credit Parties and their respective Subsidiaries as the
Administrative Agent or the Majority Lenders may reasonably request, including, for the
avoidance of doubt, any unsuperseded analysis of (i) the Borrower’s and its Subsidiaries’ Proved
Reserves and (ii) the valuation of the Oil and Gas Properties, in each case, in either Credit
Party’s possession or control, such information to be provided in each case, as promptly as
practicable, and in any event, within ten (10) Business Days following each such request;

        (j)     as soon as available and in any event (i) on the fourth Business Day of each week
covered in the Approved Budget, commencing with Thursday of the second full week after the
Petition Date, a proposed 13-Week Budget, and, upon approval thereof by the Majority Lenders,
such 13-Week Budget shall become the Approved Budget; provided that if such proposed 13-
Week Budget is not satisfactory to the Majority Lenders in their sole discretion and not approved
by the Majority Lenders, the Approved Budget that is then in effect shall remain in place;

        (k)     on each Budget Testing Date (prior to 5:00 p.m. pacific time), (i) a variance report
by email and certified by the chief financial officer of the Borrower, in form and substance
acceptable to the Majority Lenders in their sole discretion, setting forth (x) each of the actual
cash receipts and disbursements for the immediately preceding calendar week on a cumulative
basis and the aggregate liquidity as of the end of such calendar week and (y) the variance in
dollar amounts of the actual cash receipts and disbursements (including debt service but
excluding fees and expenses of the Lenders and any professional fees) for each weekly period
from those reflected for the corresponding period in the Approved Budget and including
explanations for all material variances (including whether such variance is permanent in nature
or timing related), (ii) an analysis, certified by the chief financial officer of the Borrower,
demonstrating that, subject to and after giving effect to the application of any Carry Forward
Amount, a Budget Event shall not have occurred for such week (if applicable) and (iii) a “flash”
cash report detailing all cash and Cash Equivalents of each of the Credit Parties (broken out by
entity) as of the close of business on the last Business Day of the prior week; and

        (l)     with reasonable prior notice and an opportunity to comment by the Lenders and
their counsel, copies of all pleadings, motions, applications, judicial information, financial
information and any other documents to be filed by or on behalf of the Credit Parties with the
Bankruptcy Court and any such information or documents given to the US Trustee or to any
Committee relating to the operations, business, assets, properties or financial condition of the
Credit Parties.

        Documents required to be delivered pursuant to Section 5.01(a) or (b) (to the extent any
such documents are included in materials otherwise filed with the SEC) may be delivered
electronically and if so delivered, shall be deemed to have been delivered on the date (1) on
which the Borrower posts such documents, or provides a link thereto, on the Borrower’s website
on the Internet at www.gastar.com, or (2) on which such documents are posted on the


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Borrower’s behalf on an Internet or intranet website, if any, to which each Lender and the
Administrative Agent have access (whether a commercial, third-party website or whether
sponsored by the Administrative Agent); provided that: (i) upon request, the Borrower shall
deliver paper copies of such documents to the Administrative Agent or any Lender until a written
request to cease delivering paper copies is given by the Administrative Agent or such Lender and
(ii) the Borrower shall notify the Administrative Agent (by electronic mail) and, upon request,
each Lender (by electronic mail) of the posting of any such documents and, upon request,
provide to the Administrative Agent by electronic mail electronic versions (i.e., soft copies) of
such documents. The Administrative Agent shall have no obligation to request the delivery or to
maintain copies of the documents referred to above, and in any event shall have no responsibility
to monitor compliance by the Borrower with any such request for delivery, and each Lender shall
be solely responsible for requesting delivery to it or maintaining its copies of such documents.

      Section 5.02 Notices of Material Events. The Borrower will furnish to the
Administrative Agent and each Lender prompt written notice of the following:

        (a)    as soon as possible, but in any event within two (2) Business Days of obtaining
knowledge thereof, (i) the occurrence of any Default, (ii) the occurrence of any “default” or
“event of default” under any Material Indebtedness or (iii) the occurrence of any default under
the DrillCo Operating Agreement;

        (b)      as soon as possible, but in any event within two (2) Business Days after obtaining
knowledge of the filing or commencement of any action, suit or proceeding (other than the
Chapter 11 Cases) by or before any arbitrator or Governmental Authority against or affecting any
Credit Party or any Affiliate thereof that, if adversely determined, could reasonably be expected
to result, individually or in the aggregate, in a Material Adverse Effect;

       (c)     as soon as possible, but in any event within two (2) Business Days after the
occurrence of any ERISA Event that, alone or together with any other ERISA Events that have
occurred, could reasonably be expected to result in a Material Adverse Effect;

        (d)    as soon as possible, but in any event within two (2) Business Days after obtaining
knowledge of any release by any Credit Party, or any other Person of any Hazardous Material
into the environment, which could reasonably be expected to have a Material Adverse Effect;

        (e)    as soon as possible, but in any event within two (2) Business Days after any
notice alleging any violation of any Environmental Law by any Credit Party or any other
Environmental Liability, which could reasonably be expected to have a Material Adverse Effect;

       (f)     as soon as possible, but in any event within two (2) Business Days after the
occurrence of any breach or default under, or repudiation or termination of, any post-petition
Material Sales Contract, which could reasonably be expected to have a Material Adverse Effect;

        (g)    as soon as possible, but in any event within two (2) Business Days after becoming
aware of any other development that results in, or could reasonably be expected to result in, a
Material Adverse Effect, including, without limitation, in connection with the Chapter 11 Cases
(including, without limitation, progress of any proposed or confirmed plan of reorganization);



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        (h)    within three (3) days after the date on which any Credit Party provides written
notice to the DrillCo Investor that an Initial Reversion Date (as defined in the DrillCo
Agreement) or Final Reversion Date (as defined in the DrillCo Agreement) has occurred, the
Borrower shall provide a copy of such notice to the Administrative Agent and the Lenders.
Within three (3) Business Days of any Credit Party receiving a Wellbore Assignment from the
DrillCo Investor covering an Initial Reversionary Share (as defined in the DrillCo Agreement) or
a Final Reversionary Share (as defined in the DrillCo Agreement), the Borrower shall notify the
Administrative Agent of the same;

      (i)    any material amendments, restatements, supplements or other modifications to
documents governing Material Indebtedness; and

      (j)     the commencement of any insolvency or similar proceedings (other than the
Chapter 11 Cases) relating to any Credit Party in any jurisdiction.

        To the extent applicable, each notice delivered under this Section shall be accompanied
by a statement of a Responsible Officer of the Borrower setting forth the details of the event or
development requiring such notice and any action taken or proposed to be taken with respect
thereto.

        Section 5.03 Existence; Conduct of Business. Each Credit Party will, and will cause
each Subsidiary to, do or cause to be done all things necessary to preserve, renew and keep in
full force and effect its legal existence and the rights, licenses, permits, privileges and franchises
material to the conduct of its business; provided that the foregoing shall not prohibit any merger,
consolidation, liquidation or dissolution permitted under Section 6.04 or any Disposition
permitted under Section 6.05 nor shall any Credit Party or any Subsidiary be required to preserve
any right or franchise unrelated to the Oil and Gas Property if such Credit Party or such
Subsidiary determines that the preservation thereof is no longer desirable in the conduct of its
business and that the loss thereof is not adverse in any material respect to the Administrative
Agent or any Lender.

       Section 5.04 Payment of Obligations. Each Credit Party will, and will cause each
Subsidiary to, pay its obligations, including Tax liabilities, before the same shall become
delinquent or in default in accordance with the Bankruptcy Code and subject to any required
approval by the Bankruptcy Court, except (a) where the validity or amount thereof is being
contested in good faith by appropriate proceedings and such Credit Party or such Subsidiary, as
applicable, has set aside on its books adequate reserves with respect thereto in accordance with
GAAP or (b) where such payment would be inconsistent with the Approved Budget.

       Section 5.05 Maintenance of Properties; Insurance. Each Credit Party will, and will
cause each Subsidiary and use commercially reasonable efforts to cause each operator of Oil and
Gas Property to:

      (a)     keep and maintain all property material to the conduct of its business in good
working order and condition, ordinary wear and tear excepted, and

       (b)    maintain, with financially sound and reputable insurance companies, insurance in
such amounts and against such risks as are customarily maintained by companies engaged in the


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same or similar businesses operating in the same or similar locations. Upon request of the
Administrative Agent, the Borrower will furnish or cause to be furnished to the Administrative
Agent from time to time a summary of the respective insurance coverage of the Borrower and its
Subsidiaries in form and substance reasonably satisfactory to the Majority Lenders, and, if
requested, will furnish the Administrative Agent copies of the applicable policies. Upon demand
by the Administrative Agent, the Borrower will cause any insurance policies covering any such
property to be endorsed (a) to provide that such policies may not be cancelled, reduced or
affected in any manner for any reason without 30 days’ prior notice to the Administrative Agent,
(b) to include the Administrative Agent as loss payee with respect to all property/casualty
policies and additional insured with respect to all liability policies and (c) to provide for such
other matters as the Lenders may reasonably require.

        Section 5.06 Books and Records; Inspection Rights. Each Credit Party will, and will
cause each Subsidiary to, keep proper books of record and account in which full, true and correct
entries are made of all dealings and transactions in relation to its business and activities. Subject
to the proviso in Section 5.22, each Credit Party will, and will cause each Subsidiary to, permit
any representatives designated by the Administrative Agent or any Lender, upon reasonable prior
notice, to visit and inspect its properties, to examine and make extracts from its books and
records, and to discuss its affairs, finances and condition with its senior management,
independent accountants and other advisors, all at such reasonable times and as often as
reasonably requested.

        Section 5.07 Compliance with Laws and DIP Orders. Each Credit Party will, and
will cause each Subsidiary to, comply with (a) all Requirements of Law (including
Environmental Laws) applicable to it or its property, except where the failure to do so,
individually or in the aggregate, could not reasonably be expected to result in a Material Adverse
Effect or such compliance is stayed by the Chapter 11 Cases and (b) the DIP Orders in all
respects.

        Section 5.08 Environmental Matters. If an Event of Default is continuing or if the
Administrative Agent at any time has a reasonable basis to believe that there exists a violation of
any Environmental Law by either Credit Party or any Subsidiary or that there exists any other
Environmental Liabilities that would in either case reasonably be expected to, individually or in
the aggregate, result in a Material Adverse Effect, then the applicable Credit Party and each
relevant Subsidiary shall, promptly upon the receipt of a request from the Administrative Agent,
cause the performance of, or allow the Administrative Agent (or its designee) access to the real
property for the purpose of conducting, an environmental assessment, including subsurface
sampling of soil and groundwater, and cause the preparation of a report. Such assessments and
reports, to the extent not conducted by the Administrative Agent (or its designee), shall be
conducted and prepared by a reputable environmental consulting firm acceptable to the Majority
Lenders and shall be in form and substance acceptable to the Majority Lenders. The Borrower
shall be responsible for (and reimburse the Administrative Agent for) all costs associated with
any such assessments and reports.

      Section 5.09 Use of Proceeds. The proceeds of the New Money Loans will be used in
a manner consistent with the uses set forth in Section 3.24. No part of the proceeds of the New
Money Loans will be used, whether directly or indirectly, to purchase or carry any margin stock


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(as defined in Regulation U issued by the Board). The Borrower shall not use, and shall procure
that its Subsidiaries and its or their respective directors, officers, employees and agents shall not
use, the proceeds of the New Money Loans (A) in furtherance of an offer, payment, promise to
pay, or authorization of the payment or giving of money, or anything else of value, to any Person
in violation of any Anti-Corruption Laws, (B) for the purpose of funding, financing or
facilitating any activities, business or transaction of or with any Sanctioned Person, or in any
Sanctioned Country, or (C) in any manner that would result in the violation of any Sanctions
applicable to any party hereto. The Borrower will not fund all or part of any repayment of the
Obligations out of proceeds derived from transactions which would be prohibited by Sanctions
or would otherwise cause any Person to be in breach of Sanctions.

       Section 5.10 [Reserved].

        Section 5.11 Title Data. Each Credit Party will, and will cause each Subsidiary to,
from time to time at the request of the Majority Lenders, deliver to the Administrative Agent title
information in form and substance reasonably acceptable to the Majority Lenders with respect to
that portion of the Oil and Gas Property set forth in the most recent Reserve Report provided to
the Administrative Agent and the Lenders as the Majority Lenders shall deem reasonably
necessary or appropriate to verify the title of the Credit Parties to not less than (i) 90% of the
PV10 of the Oil and Gas Property set forth in such Reserve Report and (ii) 90% of the net acres
of Oil and Gas Properties.

       Section 5.12 [Reserved].

       Section 5.13 Operation of Oil and Gas Property.

        (a)      Each Credit Party will, and will cause each Subsidiary to, maintain, develop and
operate its Oil and Gas Property in a good and workmanlike manner, and observe and comply
with all of the terms and provisions, express or implied, of all oil and gas leases relating to such
Oil and Gas Property so long as such Oil and Gas Property are capable of producing
Hydrocarbons and accompanying elements in paying quantities, except where such failure to
comply could not reasonably be expected to have, individually or in the aggregate, a Material
Adverse Effect.

        (b)      Each Credit Party will, and will cause each Subsidiary to, comply in all respects
with all contracts and agreements applicable to or relating to its Oil and Gas Property or the
production and sale of Hydrocarbons and accompanying elements therefrom, except to the extent
a failure to so comply could not reasonably be expected to have, individually or in the aggregate,
a Material Adverse Effect.

       Section 5.14 Subsidiaries. At the time hereafter that any Subsidiary of the Borrower is
created or acquired, each Credit Party will (a) promptly take all action necessary to comply with
Section 5.15, (b) promptly take all such action and execute and deliver, or cause to be executed
and delivered, to the Administrative Agent all such opinions, documents, instruments,
agreements, and certificates that the Administrative Agent or the Majority Lenders may
reasonably request, and (c) promptly cause such Subsidiary to (i) become a party to this
Agreement and Guarantee the Obligations by executing and delivering to the Administrative



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Agent a Counterpart Agreement in the form of Exhibit C, (ii) if requested by the Administrative
Agent or the Majority Lenders, execute and deliver Security Documents creating first priority
Liens in favor of the Administrative Agent, subject in priority only to the Carve-Out, the Hedge
Carve-Out and the Non-Primed Excepted Liens (only to the extent set forth in the DIP Orders),
in such Subsidiary’s Oil and Gas Property and substantially all of such Subsidiary’s personal
property, and (iii) deliver all title opinions and other information reasonably requested by the
Administrative Agent or the Majority Lenders. Upon delivery of any such Counterpart
Agreement to the Administrative Agent, notice of which is hereby waived by each Credit Party,
such Subsidiary shall be a Guarantor and shall be as fully a party hereto as if such Subsidiary
were an original signatory hereto. Each Credit Party expressly agrees that its obligations arising
hereunder shall not be affected or diminished by the addition or release of any other Credit Party
hereunder. This Agreement shall be fully effective as to any Credit Party that is or becomes a
party hereto regardless of whether any other Person becomes or fails to become or ceases to be a
Credit Party hereunder. With respect to each such Subsidiary, the Borrower shall promptly send
to the Administrative Agent written notice setting forth with respect to such Person the date on
which such Person became a Subsidiary of the Borrower, and supplement the data required to be
set forth in the Schedules to this Agreement as a result of the acquisition or creation of such
Subsidiary; provided that such supplemental data must be reasonably acceptable to the Majority
Lenders.

         Section 5.15 Pledged Capital Stock. At the request of the Administrative Agent or the
Majority Lenders, on the Effective Date and at the time hereafter that any Subsidiary of the
Borrower is created or acquired, each Credit Party and the Subsidiaries (as applicable) shall
deliver to the Administrative Agent for the benefit of the Secured Parties all certificates (or other
evidence acceptable to the Majority Lenders) evidencing the issued and outstanding Capital
Stock of each such Subsidiary of every class owned by such Credit Party (as applicable) which,
if certificated, shall be duly endorsed or accompanied by stock powers executed in blank to the
Administrative Agent, as the Administrative Agent or the Majority Lenders shall deem necessary
or appropriate to grant, evidence and perfect a first priority security interest in the issued and
outstanding Capital Stock owned by Borrower or any Subsidiary in each Subsidiary.

       Section 5.16 [Reserved].

       Section 5.17 Further Assurances.

        (a)     From time to time execute and deliver, or cause to be executed and delivered,
such additional instruments, certificates or documents, and take all such actions, as
Administrative Agent or the Majority Lenders may reasonably request for the purposes of
implementing or effectuating the provisions of this Agreement and the other Loan Documents, or
of more fully perfecting or renewing the rights of Administrative Agent and the Lenders with
respect to the Collateral (or with respect to any additions thereto or replacements or proceeds or
products thereof or with respect to any other Property hereafter acquired by any Credit Party,
which may be deemed to be part of the Collateral) pursuant hereto or thereto.

        (b)    Upon the exercise by the Administrative Agent or any Lender of any power, right,
privilege or remedy pursuant to this Agreement or the other Loan Documents which requires any
consent, approval, recording, qualification or authorization of any Governmental Authority,


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execute and deliver, or cause the execution and delivery of, all applications, certifications,
instruments and other documents and papers that the Administrative Agent or such Lender may
be required to obtain from any Credit Party or any of their respective Subsidiaries for such
governmental consent, approval, recording, qualification or authorization.

       Section 5.18 Lender Calls. Promptly following the delivery of each variance report
pursuant to Section 5.01(k), the Borrower shall host a call with Ares Management, L.P. and its
advisors to discuss the contents of such variance report.

        Section 5.19 Collateral Proceeds. Deposit all proceeds resulting from any Disposition
of, or Casualty Event relating to, any property or assets constituting in accordance with the DIP
Orders.

       Section 5.20 [Reserved].

        Section 5.21 Plan of Reorganization. In consultation with the Lenders, the Credit
Parties shall support and seek to cause confirmation of the Acceptable Plan in accordance with
the Restructuring Support Agreement (and within the time-frames contemplated in the
Restructuring Support Agreement) and in compliance with each Milestone.

        Section 5.22 Access to Information. Promptly following reasonable request, deliver
information requested by the Majority Lenders in connection with the Restructuring; provided
that, notwithstanding anything to the contrary in this Section 5.22, none of the Credit Parties or
any of their respective Subsidiaries will be required to disclose, permit the inspection,
examination or making copies or abstracts of, or discussion of, any document, information or
other matter that (x) in respect of which disclosure to the Administrative Agent or any Lender (or
their respective representatives or contractors) is prohibited by applicable law or (y) is subject to
attorney-client privilege or constitutes attorney work product.

                                          ARTICLE VI.

                                   NEGATIVE COVENANTS

      Until the Discharge of Obligations, the Credit Parties covenant and agree with the
Administrative Agent and the Lenders that:

       Section 6.01 [Reserved].

       Section 6.02 Indebtedness. The Borrower will not, nor will it permit any of its
Subsidiaries to, create, incur, assume or permit to exist any Indebtedness, except:

        (a)    Indebtedness of any Credit Party under (i) the Loan Documents, (ii) the
Prepetition Indebtedness, (iii) the Carve-Out or (iv) the Hedge Carve-Out;

       (b)     Indebtedness in respect of Swap Agreements permitted pursuant to Section 6.08;

       (c)     Indebtedness existing on the Effective Date and set forth in Schedule 6.02;



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       (d)     Unsecured intercompany Indebtedness between the Borrower and any Subsidiary
or between Subsidiaries to the extent expressly permitted by the Approved Budget and permitted
by Section 6.07(b); provided that any such Indebtedness owed by either the Borrower or a
Guarantor shall be subordinated to the Indebtedness on terms set forth in Article VII or on such
terms as are reasonably acceptable to the Majority Lenders; provided, further, that upon the
request of the Administrative Agent or the Majority Lenders at any time, such Indebtedness shall
be evidenced by promissory notes having terms reasonably satisfactory to the Majority Lenders,
and the sole originally executed counterparts of which shall be pledged and delivered to the
Administrative Agent, for the benefit of the Secured Parties, as security for the Obligations;

       (e)     [reserved];

          (f)    Indebtedness (other than Indebtedness for borrowed money) incurred or deposits
made by the Borrower or any Subsidiary (i) under worker’s compensation laws, unemployment
insurance laws or similar legislation, (ii) in connection with bids, tenders, contracts (other than
for the payment of Indebtedness) or leases to which the Borrower or any Subsidiary is a party,
(iii) to secure public or statutory obligations of the Borrower or any Subsidiary, and (iv) of cash
or U.S. Government Securities made to secure the performance of statutory obligations, surety,
stay, customs and appeal bonds to which the Borrower or any Subsidiary is party in connection
with the operation of the Oil and Gas Property, in each case in the ordinary course of business
and consistent with past practice;

       (g)     [reserved];

       (h)    Guarantees in respect of Indebtedness otherwise permitted pursuant to this
Section 6.02;

        (i)    Indebtedness in connection with the endorsement of negotiable instruments and
other obligations in respect of cash management services, netting services, overdraft protection
and similar arrangements, in each case in the ordinary course of business and consistent with past
practice;

       (j)    Indebtedness in respect of insurance premium financing for insurance being
acquired or maintained by the Borrower or any Subsidiary under customary terms and
conditions;

       (k)     [reserved];

         (l)   Indebtedness consisting of sureties or bonds provided to any Governmental
Authority or other Person and assuring payment of contingent liabilities of the Borrower in
connection with the operation of the Oil and Gas Properties, including with respect to plugging,
facility removal and abandonment of its Oil and Gas Properties; and

      (m)     other unsecured Indebtedness not in respect of borrowed money in an aggregate
amount outstanding to exceed $100,000 for the term of this Agreement.




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        Section 6.03 Liens. The Borrower will not, nor will it permit any of its Subsidiaries to,
create, incur, assume or permit to exist any Lien on any Property now owned or hereafter
acquired by it, except:

        (a)    (i) Liens created pursuant to any Loan Agreement, (ii) Adequate Protection Liens
or any Liens existing on the date hereof securing Prepetition Indebtedness and subordinated to
the extent required by the DIP Orders, (iii) the Carve-Out and (iv) the Hedge Carve-Out;

        (b)     Permitted Encumbrances;

        (c)    any Lien on any Property of the Borrower or any Subsidiary existing on the
Petition Date and set forth in Schedule 6.03 and subordinated to the extent required by the DIP
Orders;

       (d)    any Lien securing obligations under Swap Agreements permitted pursuant to
Section 6.08;

        (e)     [reserved];

       (f)     Liens securing insurance premium financing under customary terms and
conditions, provided that no such Lien may extend to or cover any property other than the
insurance being acquired with such financing, the proceeds thereof and any unearned or refunded
insurance premiums related thereto;

        (g)     [reserved];

        (h)     [reserved]; and

       (i)     Liens arising under the DrillCo Operating Agreements provided (1) such DrillCo
Operating Agreements do not cover Property located outside of the DrillCo Contract Area, and
(2) such DrillCo Operating Agreements are entered into pursuant to the DrillCo Agreement.

         Section 6.04 Fundamental Changes. The Borrower will not, nor will it permit any of
its Subsidiaries to, merge into or consolidate with any other Person, or permit any other Person to
merge into or consolidate with it, or Dispose of (in one transaction or in a series of transactions)
all or substantially all of its assets, or liquidate or dissolve, except that, if at the time thereof and
immediately after giving effect thereto no Default shall have occurred and be continuing and so
long as no approval of the Bankruptcy Court is required (or such approval is required and shall
have been received):

        (a)     any Subsidiary may merge into a Credit Party in a transaction in which such
Credit Party is the surviving entity so long as such transaction does not have an adverse effect on
the perfection or priority of the Liens granted under the Collateral Documents;

        (b)     any Subsidiary that is not a Credit Party may merge into any other Subsidiary that
is not a Credit Party in a transaction in which the surviving entity is a Subsidiary;

        (c)     any Subsidiary may Dispose of its assets to a Credit Party; and


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       (d)     Dispositions permitted by Section 6.05 may be made.

       Section 6.05 Disposition of Assets. The Borrower will not, and will not permit any
Subsidiary to, Dispose of any property except:

       (a)     the sale of Hydrocarbons in the ordinary course of business;

       (b)      the Disposition of equipment and other property in the ordinary course of
business, that is obsolete or no longer necessary in the business of the Borrower or any of its
Subsidiaries or that is being replaced by equipment of comparable value and utility;

        (c)   Liens permitted by Section 6.03, Investments permitted by Section 6.07 and
Restricted Payments permitted by Section 6.09;

       (d)     Dispositions of cash and Cash Equivalents in the ordinary course of business;

       (e)     any Credit Party may Dispose of its property to another Credit Party;

       (f)     sales or discounts of overdue accounts receivable in the ordinary course of
business, in connection with the compromise or collection thereof, and not in connection with
any financing transaction;

       (g)     [reserved];

       (h)     [reserved];

       (i)     Dispositions of seismic, geologic or other data and license rights in the ordinary
course of business;

      (j)      Hedge Modifications; provided that the consideration received for such Hedge
Modification is at least equal to Fair Market Value;

        (k)     a DrillCo Required Disposition so long as the Administrative Agent (or any
designee thereof) has received within 30 days of the date on which such DrillCo Required
Disposition is effected, a duly executed mortgage in form and substance reasonably satisfactory
to the Majority Lenders granting an Acceptable Security Interest, or has a perfected security
interest pursuant to the DIP Orders, in the applicable Credit Party’s interest in the DrillCo Joint
Well that is the subject of such DrillCo Required Disposition;

       (l)     Dispositions pursuant to a decision not to participate in an Oklahoma Corporation
Commission Force Pooling Order or any relinquishment of any interests in any oil and gas leases
pursuant to a non-consent provision of a standard form of joint operating agreement;

        (m)      Dispositions of interests in any Subject Lease pursuant to the exercise by a third
party of its rights to acquire an interest therein, to the extent and pursuant to the terms of such
right to acquire an interest therein, to the extent and pursuant to the terms of such right as in
effect on the date hereof, which Disposition is effected on or before the 90th day after such




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Subject Lease is acquired by a Credit Party (or, in the case of Subject Leases held on the
Effective Date, the 90th day after the Effective Date); and

       (n)      Other dispositions and sales of Properties (including any midstream assets or
gathering systems) not otherwise permitted pursuant to this Section 6.05 having a fair market
value not to exceed $500,000 in the aggregate for all dispositions and sales of Properties
pursuant to this Section 6.05(n) for the term of this Agreement.

        Section 6.06 Nature of Business. The Borrower will not, nor will it permit any of its
Subsidiaries to, engage to any material extent in any business other than businesses of the type
conducted by the Borrower and its Subsidiaries on the Petition Date and businesses reasonably
related thereto.

       Section 6.07 Investments. The Borrower will not, nor will it permit any of its
Subsidiaries to, make any Investment, except:

       (a)     Investments in Cash Equivalents;

       (b)     Investments made by any Credit Party in or to any other Credit Party;

        (c)     Investments made by the Borrower or any Subsidiary pursuant to the
commitments set forth on Schedule 6.07(c); provided, that the Borrower’s or any Subsidiary’s
commitments set forth on Schedule 6.07(c) shall not be increased or otherwise altered in any
manner adverse to the interests of the Borrower or any of its Subsidiaries, on the one hand, and
the Lenders, on the other hand, unless otherwise consented to by the Majority Lenders in their
sole discretion;

       (d)      Guarantees constituting Indebtedness permitted by Section 6.02 (other than
guarantees in respect of Capital Lease Obligations) and performance guarantees, in each case,
incurred in the ordinary course of business;

       (e)      Investments by the Borrower and its Subsidiaries that are customary in the oil and
gas business and in the ordinary course of the Borrower’s or such Subsidiary’s business, and in
the form of, or pursuant to, oil, gas and mineral leases, operating agreements, unitization
agreements, joint bidding agreements, services contracts and other similar agreements that a
reasonable and prudent oil and gas industry owner or operator would find reasonably acceptable;

       (f)    Investments consisting of Swap Agreements to the extent permitted under
Section 6.08;

       (g)     Investments existing as of the Petition Date and set forth on Schedule 6.07(g);

        (h)    Investments consisting of loans and advances to employees for moving,
entertainment, travel and other similar expenses in the ordinary course of business, in each case,
in accordance with the Approved Budget (including any Carry Forward Amount and any
Permitted Variance) and in any event not to exceed $100,000 in the aggregate during the term of
this Agreement;



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        (i)      demand deposits with financial institutions, prepaid expenses and extensions of
trade credit in the ordinary course of business (and any Investments received in satisfaction or
partial satisfaction thereof from financially troubled account debtors to the extent reasonably
necessary in order to prevent or limit loss);

       (j)     trade and customer accounts receivable which are for goods furnished or services
rendered in the ordinary course of business and are payable in accordance with customary trade
terms;

       (k)     Investments received in connection with the bankruptcy or reorganization of, or
settlement of delinquent accounts and disputes with, customers and suppliers, in each case in the
ordinary course of business; provided that, the aggregate amount of such investment shall not
exceed $500,000 (other than by appreciation);

       (l)     [reserved];

         (m)     any Investment by the Borrower or any Subsidiary of the Borrower in a Person, if
as a result of such Investment (i) such Person becomes a Subsidiary of the Borrower or (ii) such
Person is merged, consolidated or amalgamated with or into, or transfers or conveys substantially
all of its Properties or assets to, or is liquidated into, the Borrower or a Subsidiary of the
Borrower; and

       (n)   Investments expressly contemplated by the Approved Budget (including any
Carry Forward Amount and any Permitted Variance).

        Section 6.08 Swap Agreements. The Borrower will not, nor will the Borrower permit
any of its Subsidiaries to, enter into any Swap Agreement without the prior written consent of the
Majority Lenders in their sole discretion.

        Section 6.09 Restricted Payments. The Borrower will not, nor will it permit any of its
Subsidiaries to, declare or make, or agree to pay or make, directly or indirectly, any Restricted
Payment; provided that, so long as at the time of and immediately after giving effect to such
Restricted Payment no Default or Event of Default shall have occurred and be continuing or
would occur as a consequence thereof, the Borrower or any Subsidiary may make the following
Restricted Payments:

      (a)     Restricted Payments expressly identified and provided for in the Approved
Budget (including any Carry Forward Amount and any Permitted Variance); and

      (b)     the declaration and payment of dividends or distributions by any Subsidiary to the
Borrower or any Guarantor.

       Section 6.10 Transactions with Affiliates.

       (a)     The Borrower will not, and will not permit any of its Subsidiaries to, make any
payment to, or sell, lease, transfer or otherwise dispose of any of its properties or assets to, or
purchase any Property from, or enter into or make or amend any transaction, contract, agreement,



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understanding, loan, advance or guarantee with (or for the benefit of), any Affiliate of the
Borrower (each, an “Affiliate Transaction”), unless:

               (i)     the Affiliate Transaction is on terms that are no less favorable to the Credit
       Parties than those that would have been obtained in a comparable transaction by the
       Credit Parties with an unrelated Person; and

               (ii)    the Borrower delivers to the Administrative Agent (A) with respect to any
       Affiliate Transaction or series of related Affiliate Transactions involving aggregate
       consideration in excess of $1,000,000, a resolution of the Board of Directors of the
       Borrower set forth in an officers’ certificate certifying that such Affiliate Transaction or
       series of related Affiliate Transactions complies with this covenant and that such Affiliate
       Transaction or series of related Affiliate Transactions has been approved by a majority of
       the disinterested members of the Board of Directors of the Borrower; and (B) with
       respect to any Affiliate Transaction or series of related Affiliate Transactions involving
       aggregate consideration in excess of $5,000,000, an opinion as to the fairness to the
       Borrower or such Subsidiary of such Affiliate Transaction or series of related Affiliate
       Transactions from a financial point of view issued by an accounting, appraisal or
       investment banking firm of national standing.

       (b)     Section 6.10(a) will not apply to:

               (i)     transactions between or among Credit Parties;

               (ii)   transactions expressly identified and provided for in the Approved Budget
       (including any Carry Forward Amount and any Permitted Variance); and

               (iii)   Restricted Payments permitted by Section 6.09.

        Section 6.11 Restrictive Agreements. The Borrower will not, nor will it permit any of
its Subsidiaries to, directly or indirectly, enter into, incur or permit to exist any agreement or
other arrangement that prohibits, restricts or imposes any condition upon (a) the ability of the
Borrower or any Subsidiary to create, incur or permit to exist any Lien upon any of its Property
to secure the Obligations, or (b) the ability of any Subsidiary to pay dividends or other
distributions with respect to any of its Capital Stock or to make or repay loans or advances to the
Borrower or any Subsidiary or to Guarantee Indebtedness of the Borrower or any Subsidiary;
provided that (i) the foregoing shall not apply to restrictions and conditions imposed by law or by
this Agreement and (ii) clause (a) of the foregoing shall not apply to (A) [reserved],
(B) customary provisions in leases and other contracts restricting the assignment thereof,
(C) restrictions with respect to Oil and Gas Property that are not included in the most recent
Reserve Report delivered to the Administrative Agent and (D) provisions of the DrillCo
Agreement pursuant to which the Credit Parties agree not to grant Liens that can be perfected
with recordings in the applicable county records securing the Obligations on any Properties in
the DrillCo Contract Area (other than Wellbore Liens permitted hereunder and Liens on Non-
DrillCo Assets).

       Section 6.12 Disqualified Stock. The Borrower will not, nor will it permit any of its
Subsidiaries to, issue any Disqualified Stock.


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      Section 6.13 Certain Amendments to Organizational Documents; Prepayments of
Indebtedness. The Borrower will not, nor will it permit any of its Subsidiaries to:

        (a)     enter into or permit any modification or amendment of, or waive any material
right or obligation of any Person under its Organizational Documents if the effect thereof would
be materially adverse to the Administrative Agent or any Lender or violate Section 6.11;

        (b)    make any payment of principal or interest or otherwise on account of any
Prepetition Indebtedness or payables under the Prepetition Documents, other than (i) payments
made in compliance with the Approved Budget (including any Carry Forward Amount and any
Permitted Variance), (ii) payments agreed to in writing by the Majority Lenders in their sole
discretion and (iii) payments approved by the DIP Orders and, if necessary, authorized by the
Bankruptcy Court;

       (c)     without the prior written consent of the Majority Lenders, amend or modify the
terms of the Prepetition Documents; or

        (d)    without the prior written consent of the Majority Lenders, amend, modify or
assign any of their respective material agreements (as in effect on the Petition Date).

        Section 6.14 Sale and Leaseback Transactions and other Off-Balance Sheet
Liabilities. The Borrower will not, nor will it permit any Subsidiary to, enter into or suffer to
exist any Sale and Leaseback Transaction or any other transaction pursuant to which it incurs or
has incurred Off-Balance Sheet Liabilities.

       Section 6.15 DrillCo Restrictions. Without the prior written consent of the Majority
Lenders, no Credit Party shall amend or otherwise modify the DrillCo Agreement in a manner
materially adverse to the Lenders, including, without limitation, any amendment or modification
which would (a) increases the number of Joint Wells (as defined in the Drillco Agreement)
above sixty (60); (b) materially changes the area subject to the Joint Development Agreement; or
(c) materially change any economic terms or provision of the Joint Development Agreement,
including with respect to the costs to be borne by the Company.

        Section 6.16 Lease Restrictions. The Borrower and its Subsidiaries shall not, without
the consent of the Majority Lenders, allow more than 5.0% of the net acreage consisting of Oil
and Gas Properties of the Borrower and its Subsidiaries, measured as of the Petition Date, to
lapse, expire or otherwise terminate in any manner without such Oil and Gas Properties being
replaced by Oil and Gas Properties of similar quantity and value in Township 20 North –
Range 8 West, Township 20 North – Range 7 West, Township 19 North – Range 9 West,
Township 19 North – Range 8 West, Township 19 North – Range 7 West, Township 18 North –
Range 8 West, Township 18 North – Range 7 West, and Township 18 North – Range 6 West;
provided that, (a) for purposes of calculating such net acreage, all Non-Core Assets shall be
excluded from the Oil and Gas Properties of the Borrower and its Subsidiaries and (b) such
percentage shall be adjusted following the Effective Date to take into account any disposition or
acquisition of Oil and Gas Properties as reasonably determined between the Borrower and the
Majority Lenders (it being understood and agreed that such adjustment referred to in this proviso
shall not in and of itself result in a Default or an Event of Default).



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       Section 6.17 Changes to DIP Orders. Without the prior written consent of the
Majority Lenders (and with respect to any provisions that affect the rights or duties of the
Administrative Agent, the Administrative Agent) in their sole discretion, make, or permit to be
made, any change, amendment or modification, or any application or motion for any change,
amendment or modification, to the DIP Orders.

        Section 6.18 Actions Requiring Majority Lender Consent. Except as otherwise
permitted pursuant to the DIP Orders, without the prior written consent of the Majority Lenders,
(a) assume or reject any executory contract or unexpired lease or (b) consent to termination or
reduction of any exclusivity period or fail to object to any motion seeking to terminate or reduce
any exclusivity period other than a motion filed by the Majority Lenders.

        Section 6.19 Right of Subrogation. Assert any right of subrogation or contribution
against any other Credit Party.

       Section 6.20 Use of Proceeds. No part of the Credit Parties’ cash collateral (as defined
pursuant to section 363 of the Bankruptcy Code), the Collateral, the proceeds of the Loans, the
Carve-Out or the Hedge Carve-Out will be used, whether directly or indirectly:

        (a)    in any manner that causes such Loan or the application of such proceeds to violate
the Regulations of the Board, including Regulation T, Regulation U and Regulation X, or any
other regulation thereof, or to violate the Securities Exchange Act:

        (b)   for any purpose that is (i) prohibited under the Bankruptcy Code, the DIP Orders
or the Loan Documents or (ii) not expressly provided for in the Approved Budget (including any
Carry Forward Amount and any Permitted Variance);

        (c)     to investigate, commence, prosecute or finance in any way any action, suit,
proceeding (including discovery proceedings), application, motion, objection or other litigation
with respect to or related to: (i) the claims, liens or security interest of the Administrative Agent,
the Lenders, the Prepetition Secured Parties or any of their respective Related Parties or their
respective rights and remedies under this Agreement, the other Loan Documents, the DIP Orders
or the Prepetition Loan Documents, as the case may be, including to commence or prosecute or
join in any action against any or all of the Administrative Agent, the Lenders or the Prepetition
Secured Parties seeking (x) to avoid, subordinate or recharacterize the Obligations or any of the
Administrative Agent’s or the Prepetition Secured Parties’ Liens, (y) any monetary, injunctive or
other affirmative relief against any or all of the Administrative Agent, the Lenders, the
Prepetition Secured Parties or their Collateral or “Collateral” (as defined in the Prepetition Loan
Documents) in connection with the Loan Documents or the Prepetition Loan Documents or (z) to
prevent or restrict the exercise by any or all of the Administrative Agent, the Lenders or the
Prepetition Secured Parties of any of their respective rights or remedies under the Loan
Documents or the Prepetition Loan Documents, (ii) any claims, demands, liabilities,
responsibilities, disputes, remedies, causes of action, indebtedness or obligations that are subjects
of a release under the Acceptable Plan against the Administrative Agent, the Lenders and the
Prepetition Secured Parties or (iii) certain stipulations to be made by the Credit Parties and
approved by the Bankruptcy Court; provided that, the DIP Orders will include an agreed upon
“challenge period” and investigation budget for a Committee of unsecured creditors in the


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Chapter 11 Cases, if one is appointed, to investigate the Liens granted pursuant to, or any claims
under or causes of action with respect to, the Prepetition Loan Documents at an aggregate
expense for such investigation not to exceed $25,000; provided further that no portion of such
amount may be used to prosecute or support any such claims or causes of action;

        (d)     to finance in any way: (i) any adversary action, suit, arbitration, proceeding,
application, motion or other litigation of any type adverse to the interests of any or all of the
Administrative Agent, the Lenders, the Prepetition Secured Parties or any of their respective
Related Parties or their respective rights and remedies under the Loan Documents, the DIP
Orders or the Prepetition Loan Documents or (ii) any other action which with the giving of
notice or passing of time would result in an Event of Default hereunder or under any of the other
Loan Documents; provided that, the DIP Orders will include an agreed upon “challenge period”
and investigation budget for a Committee of unsecured creditors in the Chapter 11 Cases, if one
is appointed, to investigate the Liens granted pursuant to, or any claims under or causes of action
with respect to, the Prepetition Loan Documents at an aggregate expense for such investigation
not to exceed $25,000; provided further that no portion of such amount may be used to prosecute
or support any such claims or causes of action;

     (e)       for the payment of fees, expenses, interest or principal under the Prepetition Loan
Documents;

        (f)   to make any distribution under a plan of reorganization in the Chapter 11 Cases
except the Acceptable Plan or as otherwise agreed to in writing by the Majority Lenders and the
Borrower; and

        (g)     to make any payment in settlement of any claim, action or proceeding, before any
court, arbitrator or other Governmental Authority, which payment is not provided for in the
Approved Budget (including any Carry Forward Amount and any Permitted Variance), without
the prior written consent of the Majority Lenders.

Nothing herein shall in any way prejudice or prevent the Administrative Agent or the Lenders
from objecting, for any reason, to any requests, motions, or applications made in the Bankruptcy
Court, including any application of final allowances of compensation for services rendered or
reimbursement of expenses incurred under sections 105(a), 330 or 331 of the Bankruptcy Code,
by any party in interest (and each such order shall preserve the Administrative Agent’s and the
Lenders’ right to review and object to any such requests, motions or applications).

During the period between the Interim Order Entry Date and the Final DIP Order Entry Date, no
proceeds of the Loans shall be used in connection with the payment of any fees or expenses
incurred by any professional retained (or to be retained) in the Chapter 11 Cases, other than the
payment of fees and expenses of the Administrative Agent and the Lenders.

                                         ARTICLE VII.

                              GUARANTEE OF OBLIGATIONS

       Section 7.01 Guarantee of Payment. Each Guarantor unconditionally and irrevocably
guarantees to the Administrative Agent for the benefit of the Secured Parties, the punctual


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payment of all Obligations now or which may in the future be owing by any Credit Party,
including any Obligations incurred or accrued during the pendency of the Chapter 11 Cases or
any other proceeding under bankruptcy, insolvency or similar laws of any jurisdiction, whether
or not allowed or allowable in such proceeding (including all such amounts that would become
due but for the operation of the automatic stay under section 362(a) of the Bankruptcy Code, 11
U.S.C. §362(a), and the operation of sections 502(b) and 506(b) of the Bankruptcy Code, 11
U.S.C. §502(b) and §506(b)) (collectively, the “Guaranteed Liabilities”). This Guarantee is a
guaranty of payment and not of collection only. The Administrative Agent shall not be required
to exhaust any right or remedy or take any action against the Borrower or any other Person or
any collateral. Each Guarantor agrees that, as between the Guarantor and the Administrative
Agent, the Guaranteed Liabilities may be declared to be due and payable for the purposes of this
Guarantee notwithstanding any stay, injunction or other prohibition which may prevent, delay or
vitiate any declaration as regards the Borrower or any other Guarantor and that in the event of a
declaration or attempted declaration, the Guaranteed Liabilities shall immediately become due
and payable by each Guarantor for the purposes of this Guarantee.

        Section 7.02 Guarantee Absolute. Each Guarantor guarantees that the Guaranteed
Liabilities shall be paid strictly in accordance with the terms of this Agreement. The liability of
each Guarantor hereunder is absolute and unconditional irrespective of: (a) any change in the
time, manner or place of payment of, or in any other term of, all or any of the Loan Documents
or the Guaranteed Liabilities, or any other amendment or waiver of or any consent to departure
from any of the terms of any Loan Document or Guaranteed Liability, including any increase or
decrease in the rate of interest thereon; (b) any release or amendment or waiver of, or consent to
departure from, any other guaranty or support document, or any exchange, release or non-
perfection of any collateral, for all or any of the Loan Documents or Guaranteed Liabilities;
(c) any present or future law, regulation or order of any jurisdiction (whether of right or in fact)
or of any agency thereof purporting to reduce, amend, restructure or otherwise affect any term of
any Loan Document or Guaranteed Liability; (d) without being limited by the foregoing, any
lack of validity or enforceability of any Loan Document or Guaranteed Liability; and (e) any
other setoff, defense or counterclaim whatsoever (in any case, whether based on contract, tort or
any other theory) with respect to the Loan Documents or the transactions contemplated thereby
which might constitute a legal or equitable defense available to, or discharge of, the Borrower or
a Guarantor (other than the defense of payment or performance).

       Section 7.03 Guarantee Irrevocable. This Guarantee is a continuing guaranty of the
payment of all Guaranteed Liabilities now or hereafter existing under this Agreement, and shall
remain in full force and effect until the Discharge of Obligations.

        Section 7.04 Reinstatement. This Guarantee shall continue to be effective or be
reinstated, as the case may be, if at any time any payment of any of the Guaranteed Liabilities is
rescinded or must otherwise be returned by the Administrative Agent or any Lender as a result of
the insolvency, bankruptcy or reorganization of the Borrower, or any other Credit Party, or
otherwise, all as though the payment had not been made.

       Section 7.05 Subrogation. No Guarantor shall exercise any rights which it may
acquire by way of subrogation, by any payment made under this Guarantee or otherwise. If any
amount is paid to the Guarantor on account of subrogation rights under this Guarantee at any


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time when all the Guaranteed Liabilities have not been paid in full, the amount shall be held in
trust for the benefit of the Secured Parties and shall be promptly paid to the Administrative
Agent to be credited and applied to the Guaranteed Liabilities, whether matured or unmatured or
absolute or contingent, in accordance with the terms of this Agreement. If any Guarantor makes
payment to any Secured Party of all or any part of the Guaranteed Liabilities and all the
Guaranteed Liabilities are paid in full and this Agreement, the Administrative Agent and the
Secured Parties shall, at such Guarantor’s request, execute and deliver to such Guarantor
appropriate documents, without recourse and without representation or warranty, necessary to
evidence the transfer by subrogation to such Guarantor of an interest in the Guaranteed
Liabilities resulting from the payment.

        Section 7.06 Subordination. Without limiting the rights of the Administrative Agent
and the other Secured Parties under any other agreement, any liabilities owed by the Borrower to
any Guarantor in connection with any extension of credit or financial accommodation by any
Guarantor to or for the account of the Borrower, including but not limited to interest accruing at
the agreed contract rate after the commencement of a bankruptcy or similar proceeding, are
hereby subordinated to the Guaranteed Liabilities, and such liabilities of the Borrower to such
Guarantor, if the Administrative Agent so requests after the occurrence and during the
continuation of a Default, shall be collected, enforced and received by any Guarantor as trustee
for the Administrative Agent and shall be paid over to the Administrative Agent on account of
the Guaranteed Liabilities but without reducing or affecting in any manner the liability of the
Guarantor under the other provisions of this Guarantee.

        Section 7.07 Payments Generally. All payments by the Guarantors shall be made in
Dollars and in immediately available funds (except PIK Interest, which shall be payable on each
Interest Payment Date by capitalizing and adding such amount to the outstanding principal
balance of the Refinanced Loans on such Interest Payment Date in lieu of paying such amount in
cash).

        Section 7.08 Setoff. Each Guarantor agrees that, in addition to (and without limitation
of) any right of setoff, banker’s lien or counterclaim the Administrative Agent or any other
Secured Party may otherwise have, the Administrative Agent or such Secured Party shall be
entitled, at its option, to offset balances (general or special, time or demand, provisional or final)
held by it for the account of any Guarantor at any office of the Administrative Agent or such
Secured Party, in Dollars or in any other currency, against any amount payable by such
Guarantor under this Guarantee which is not paid when due (regardless of whether such balances
are then due to such Guarantor), in which case it shall promptly notify such Guarantor thereof;
provided that the failure of the Administrative Agent or such Secured Party to give such notice
shall not affect the validity thereof.

        Section 7.09 Formalities. Each Guarantor waives presentment, notice of dishonor,
protest, notice of acceptance of this Guarantee or incurrence of any Guaranteed Liability and any
other formality with respect to any of the Guaranteed Liabilities or this Guarantee.

        Section 7.10 Limitations on Guarantee. The provisions of the Guarantee under this
Article VII are severable, and in any action or proceeding involving any state corporate law, or
any state, federal or foreign bankruptcy, insolvency, reorganization or other law affecting the


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rights of creditors generally, if the obligations of any Guarantor under this Guarantee would
otherwise be held or determined to be avoidable, invalid or unenforceable on account of the
amount of such Guarantor’s liability under this Guarantee, then, notwithstanding any other
provision of this Guarantee to the contrary, the amount of such liability shall, without any further
action by the Guarantors, the Administrative Agent or any other Secured Party, be automatically
limited and reduced to the highest amount that is valid and enforceable as determined in such
action or proceeding (such highest amount determined hereunder being the relevant Guarantor’s
“Maximum Liability”). This Section 7.10 with respect to the Maximum Liability of the
Guarantors is intended solely to preserve the rights of the Administrative Agent and the other
Secured Parties hereunder to the maximum extent not subject to avoidance under applicable law,
and no Guarantor nor any other Person shall have any right or claim under this Section 7.10 with
respect to the Maximum Liability, except to the extent necessary so that none of the obligations
of any Guarantor hereunder shall not be rendered voidable under applicable law.

        Section 7.11 Stay of Acceleration. If acceleration of the time for payment of any of
the Guaranteed Liabilities is stayed upon the insolvency, bankruptcy or reorganization (including
the Chapter 11 Cases) of the Credit Parties, all such amounts otherwise subject to acceleration
under the terms of this Agreement or any other Loan Document shall nonetheless be payable by
each of the Guarantors hereunder forthwith on demand by the Administrative Agent made at the
written request of the Majority Lenders.

       Section 7.12 Survival. The agreements and other provisions in this Article VII shall
survive, and remain in full force and effect regardless of, the resignation or removal of the
Administrative Agent, the replacement of any Lender, the expiration or termination of this
Agreement and the Aggregate Commitments or the Discharge of Obligations.

                                         ARTICLE VIII.

                                     EVENTS OF DEFAULT

       If any of the following events (“Events of Default”) shall occur:

        (a)     Non-Payment. (i) Any Credit Party shall fail to pay any principal of, or premium
on, any Loan when and as the same shall become due and payable, whether at the due date
thereof or at a date fixed for prepayment thereof or otherwise or (ii) any Credit Party shall fail to
pay any fee or any other amount (including interest), other than an amount referred to in
clause (i)) payable under this Agreement or the Fee Letter, when and as the same shall become
due and payable, and such failure under this clause (ii) shall continue unremedied for a period of
three (3) Business Days;

        (b)      Representations and Warranties. Any representation or warranty made or
deemed made by or on behalf of the Borrower or any Subsidiary in or in connection with this
Agreement or any amendment or modification hereof or waiver hereunder, or in any report,
certificate, financial statement or other document furnished pursuant to or in connection with this
Agreement or any amendment or modification hereof or waiver hereunder or in any Loan
Document furnished pursuant to or in connection with this Agreement or any amendment or




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modification thereof or waiver hereunder, shall prove to have been incorrect in any material
respect when made or deemed made and such materiality is continuing;

        (c)     Covenants. The Borrower or any Subsidiary shall fail to observe or perform (i)
any term, covenant, condition or agreement contained in Section 5.01(j), Section 5.01(k), Section
5.01(l), Section 5.02, Section 5.03 (with respect to the Borrower’s or any Subsidiary’s
existence), Section 5.07(b), Section 5.09, Section 5.18, Section 5.19 or in Article VI or (ii) any
other term, covenant, condition or agreement contained in this Agreement (other than those
specified in the foregoing clause (i) of this section or clause (a) or (b) of this Article) or any Loan
Document, and such failure shall continue unremedied for a period of 10 days after the earlier of
(x) knowledge thereof by the Borrower or (y) receipt of written notice thereof from the
Administrative Agent to the Borrower (which notice will be given at the request of any Lender);

       (d)     DrillCo Agreement. The Borrower or any Subsidiary shall fail to make any
payment required under the DrillCo Agreement (which is not stayed by the filing of the
voluntary petition to commence the Chapter 11 Cases and is otherwise permitted to be paid
under this Agreement and by the DIP Orders) within 30 days of the date such payment is due
under the DrillCo Agreement, unless such payment is being disputed in good faith and the
Company has established adequate reserves therefor;

        (e)     Cross-Default. The Borrower or any Subsidiary shall fail to make any payment
(whether of principal or interest and regardless of amount) in respect of any Material
Indebtedness, when and as the same shall become due and payable and such failure shall
continue beyond the applicable grace period, if any, or any event or condition occurs that results
in any Material Indebtedness becoming due prior to its scheduled maturity or that enables or
permits (with or without the giving of notice, the lapse of time or both) the holder or holders of
any Material Indebtedness or any trustee or agent on its or their behalf to cause any Material
Indebtedness to become due, or to require the prepayment, repurchase, redemption or defeasance
thereof, prior to its scheduled maturity, in each case, which is not stayed by the filing of the
voluntary petition to commence the Chapter 11 Cases and is otherwise permitted to be paid
under this Agreement and by the DIP Orders;

         (f)    Restructuring Support Agreement. (i) Any Credit Party or any of its Subsidiaries
files or supports a motion that has been filed to reject the Restructuring Support Agreement, (ii)
the Restructuring Support Agreement is terminated for any reason other than as a result of a
default thereunder by the holders of the Prepetition Obligations or (ii) the occurrence of a default
by any Credit Party or any of its Subsidiaries under the Restructuring Support Agreement;

        (g)     Judgments. One or more judgments for the payment of money in an aggregate
amount in excess of $500,000 shall be rendered against the Borrower or any Subsidiary or any
combination thereof and either the same shall remain undischarged or unsatisfied for a period
of 15 days after entry thereof during which execution shall not be effectively stayed (including
pursuant to the Chapter 11 Cases), or any action shall be legally taken by a judgment creditor to
attach or levy upon any assets of the Borrower or any Subsidiary to enforce any such judgment;




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       (h)     ERISA. An ERISA Event shall have occurred that, in the opinion of the Majority
Lenders, when taken together with all other ERISA Events that have occurred, could reasonably
be expected to result in a Material Adverse Effect;

        (i)    Guarantee. The delivery by any Guarantor to the Administrative Agent of written
notice that a Guarantee under Article VII has been revoked;

       (j)      Invalidity of Loan Documents. Any material provision of any Loan Document, at
any time after its execution and delivery and for any reason other than as expressly permitted
hereunder or thereunder or satisfaction in full of all the Obligations, ceases to be valid and
enforceable as against any Credit Party; or any Credit Party or any other Person contests in any
manner the validity or enforceability of any provision of any Loan Document; or any Credit
Party denies that it has any or further liability or obligation under any provision of any Loan
Document, or purports to revoke, terminate or rescind any provision of any Loan Document;

        (k)     Drillco. Any Lien granted to a Credit Party by the DrillCo Investor under or
related to the DrillCo Operating Agreement fails to be senior to all other Liens granted by the
DrillCo Investor in the Property encumbered thereby (other than (i) the Liens granted under the
memorandum of DrillCo Operating Agreement to the other Persons party thereto and (ii) Liens
of the type described in clause (a) of “Permitted Encumbrances” definition), and such failure
shall remain unremedied for 30 days after the earlier to occur of a Credit Party becoming aware
of the occurrence of such failure and notice from the Administrative Agent to the Borrower of
such failure;

      (l)   Budget Event. Subject to and after giving effect to the application of any Carry
Forward Amount, there occurs any Budget Event;

         (m)    Liens; Additional Security Documents. (i) Any Credit Party or its Subsidiaries
shall attempt to invalidate, reduce or otherwise impair the Liens or security interests of the
Administrative Agent and/or the Lenders, claims or rights against such Person or to subject any
Collateral to assessment pursuant to section 506(c) of the Bankruptcy Code, (ii) the Lien or
security interest created by any Loan Document with respect to the Collateral shall, for any
reason, cease to create a valid and perfected Lien with such priority required by this Agreement
(other than in accordance with their terms) on the Collateral purported to be covered thereby, (iii)
any action is commenced by the Credit Parties which contests the validity, perfection or
enforceability of any of the Liens and security interests of the Administrative Agent and/or the
Lenders purported to be created by any Loan Document or (iv) any Credit Party shall fail to
execute and deliver to the Administrative Agent any agreement, financing statement, trademark
filing, copyright filing, mortgages, notices of lien or similar instruments or other documents that
the Administrative Agent or the Lenders may reasonably request from time to time to more fully
evidence, confirm, validate, perfect, preserve and enforce the liens created in favor of the
Administrative Agent, and such failure under this clause (iv) shall continue unremedied for a
period of ten days;

        (n)    Conversion to Chapter 7. An order with respect to any of the Chapter 11 Cases
shall be entered by the Bankruptcy Court converting any Chapter 11 Case to a Chapter 7 case;




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        (o)    Alternate Financing. Any Credit Party shall propose, consent to, cooperate with,
acquiesce to, support or file a motion in any of the Chapter 11 Cases without the express written
consent of the Majority Lenders (x) to obtain additional financing from a party other than the
Lenders under section 364(d) of the Bankruptcy Code unless such additional financing provides
for the Discharge of Obligations and payment in full in cash of all Prepetition Obligations upon
the incurrence of such additional financing or (y) to use Cash Collateral of a Lender under
section 363(c) of the Bankruptcy Code;

        (p)       Prepetition Claims. Any Credit Party shall file a motion seeking, or the
Bankruptcy Court shall enter, an order (i) approving payment of any prepetition claim other than
(x) as provided for in the “first day orders” and included in the Approved Budget (including any
Carry Forward Amount and any Permitted Variance), or (y) otherwise consented to in writing by
the Majority Lenders in their sole discretion, (ii) granting relief from the automatic stay
applicable under section 362 of the Bankruptcy Code to any holder of any security interest to
permit foreclosure on any assets having a book value in excess of $500,000 in the aggregate or to
permit other actions that would have a material adverse effect on the Credit Parties or their
estates, or (iii) except with respect to the Prepetition Obligations, approving any settlement or
other stipulation not approved by the Majority Lenders or not authorized by the Bankruptcy
Court and not included in the Approved Budget (including any Carry Forward Amount and any
Permitted Variance) with any secured creditor of any Credit Party providing for Adequate
Protection Payments or other payment to such secured creditor;

        (q)     Other Proceedings. Other than the Chapter 11 Cases or any ancillary non-U.S.
proceeding, scheme or process requested by the Lenders, the commencement or pendency of any
involuntary or voluntary insolvency proceeding, scheme or like processes pending in any
jurisdiction with respect any Credit Party;

        (r)      Appointment of Trustee or Examiner. An order with respect to any of the Chapter
11 Cases shall be entered by the Bankruptcy Court appointing, or any Credit Party, or any
Subsidiary of a Credit Party shall file an application for an order with respect to any of the
Chapter 11 Cases or otherwise seeking the appointment of, (i) a trustee under section 1104, (ii)
an examiner with enlarged powers relating to the operation of the business (powers beyond those
set forth in section 1106(a)(3) and (4) of the Bankruptcy Code) under section 1106(b) of the
Bankruptcy Code or (iii) a receiver;

        (s)    Dismissal of Chapter 11 Cases. An order shall be entered by the Bankruptcy
Court dismissing any of the Chapter 11 Cases which does not contain a provision upon entry
thereof for each of (i) Discharge of Obligations and (ii) payment in full of the Prepetition
Obligations;

        (t)    Order With Respect to Chapter 11 Cases. An order with respect to any of the
Chapter 11 Cases shall be entered by the Bankruptcy Court without the express prior written
consent of the Majority Lenders (which may be withheld in their sole discretion) (and with
respect to any provisions that affect the rights or duties of the Administrative Agent, the
Administrative Agent), (i) to revoke, reverse, stay, modify, supplement, vacate or amend any of
the DIP Orders (or any Credit Party shall apply for authority to do so), (ii) to permit any
administrative expense or any claim (now existing or hereafter arising, of any kind or nature


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whatsoever) to have administrative priority as to the Credit Parties equal or superior to the
priority of the Chapter 11 Cases (other than the Carve-Out and the Hedge Carve-Out) or (iii) to
permit the incurrence of any Indebtedness not permitted by Section 6.02 or to grant or permit the
grant of a Lien on the Collateral not permitted by Section 6.03;

        (u)     Application for Order By Third Party. (i) An application for any of the orders
described in clause (o), (p) or (t) of this section shall be made by a Person other than the Credit
Parties and such application is not contested by the Credit Parties in good faith or the relief
requested is not withdrawn, dismissed or denied within 30 days after filing or (ii) any Person
obtains a Final Order under §506(c) of the Bankruptcy Code against the Administrative Agent or
the Lenders or obtains a Final Order adverse to the Administrative Agent or the Lenders or any
of their respective rights and remedies under the Loan Documents or in the Collateral;

        (v)    DIP Orders. (i) A violation by any Credit Party of any term, provision or
condition in any DIP Order, (ii) Any DIP Order is amended, supplemented, reversed, vacated or
otherwise modified without the prior written consent of the Majority Lenders (and with respect
to amendments, modifications or supplements that affect the rights or duties of the
Administrative Agent, the Administrative Agent) or (iii) any DIP Order shall cease to be in full
force and effect;

       (w)     Right to File Chapter 11 Plan. The entry of an order by the Bankruptcy Court
terminating or modifying the exclusive right of any Credit Party to file a Chapter 11 plan
pursuant to section 1121 of the Bankruptcy Code, without the prior written consent of the
Majority Lenders;

        (x)     Invalidation of Claims. Any Credit Party shall seek to, or shall support (in any
such case by way of any motion or other pleading filed with the Bankruptcy Court or any other
writing to another party-in-interest executed by or on behalf of such Credit Party) any other
Person’s motion to, disallow in whole or in part the Lenders’ claim in respect of (i) the
Obligations or contest any Loan Document, or any material provision of any Loan Document
shall cease to be effective (other than in accordance with its terms) or (ii) the Prepetition
Obligations or to challenge the validity and enforceability of the liens in favor of the holders
thereof;

        (y)     Liquidation. The determination of any Credit Party or any of its Subsidiaries,
whether by vote of such Person’s board of directors or otherwise, to suspend the operation of
such Person’s business in the ordinary course, liquidate all or substantially all of such Person’s
assets, or to conduct any sales of all or substantially all of such Person’s assets, or the filing of a
motion or other application in the Cases except as permitted by this Agreement;

         (z)    Public Announcements. Any Credit Party files or publicly announces its intention
to file a Chapter 11 plan that contains terms and conditions that are inconsistent in any material
respect with the Acceptable Plan or any exhibit or supplement attached thereto and any permitted
amendment or modification thereof, without the prior written consent of the Majority Lenders,
unless such plan provides for the Discharge of Obligations and payment in full in cash of all
Prepetition Obligations upon the effectiveness of such plan;




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        (aa) Payments. Any Credit Party or any of its Affiliates shall have filed a motion
seeking the entry of, or the Bankruptcy Court shall have entered, an order approving a payment
to any Person that would be inconsistent with the treatment of any such Person under the
Acceptable Plan, other than in accordance with any of the “first day orders,” the final cash
collateral order, the DIP Orders, the Approved Budget (including any Carry Forward Amount
and any Permitted Variance), or as otherwise agreed to in writing by the Majority Lenders;

        (bb) Impairment. (i) The Credit Parties or any of their Affiliates shall file any pleading
or proceeding which could reasonably be expected to result in a material impairment of the rights
or interests of the Lenders or (ii) entry of an order of the Bankruptcy Court with respect to any
pleading or proceeding which results in a material impairment of the rights or interests of the
Lenders;

       (cc) Acceptable Plan. The Acceptable Plan or the confirmation order approving the
same is amended, supplemented or otherwise modified or withdrawn or terminated without the
prior written consent of the Majority Lenders (and with respect to amendments, modifications or
supplements that affect the rights or duties of the Administrative Agent, the Administrative
Agent);

         (dd) Alternate Reorganization Plan. (i) The Credit Parties’ pursuit of, proposal to,
consent to, cooperation with, solicitation of votes with respect to, acquiescence to, support of or
the filing of a motion in any of the Chapter 11 Cases with respect to, without the express written
consent of the Majority Lenders, any plan of reorganization (including any exit financing) other
than the Acceptable Plan or (ii) the entry of an order approving any disclosure statement in
support of a plan of reorganization (including any exit financing) other than the Acceptable Plan,
without the express written consent of the Majority Lenders;

       (ee) Chief Restructuring Officer. The appointment of a chief restructuring officer or
any equivalent officer that is not reasonably satisfactory to the Majority Lenders;

        (ff)     Stipulations. The Credit Parties shall breach any of their respective stipulations
set forth in the DIP Orders;

        (gg) Adversary Proceedings. The initiation by the Credit Parties, any statutory
Committee appointed in the Chapter 11 Cases, any trustee, any examiner or any other party in
interest of any contested matter or adversary proceeding in respect of any of this Agreement, the
Obligations, the Administrative Agent, the Lenders, the Prepetition Obligations or the Prepetition
Secured Parties, including, but not limited to, any actions pursuant to chapter 5 of the
Bankruptcy Code, in each case, except as may otherwise be permitted under the DIP Orders; or

       (hh)    Change of Control. There occurs any Change of Control.

then, the Administrative Agent may, at the written request of the Majority Lenders, issue a DIP
Toggle Notice (as defined in the DIP Orders), and in every such event, and at any time thereafter
during the continuance of such event, subject to the terms of the DIP Orders, the Administrative
Agent may, and at the written request of the Majority Lenders shall, by notice to the Borrower,
take any or all of the following actions, at the same or different times: (i) terminate the
Aggregate Commitment, and thereupon the Aggregate Commitment shall terminate immediately,


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(ii) upon three (3) Business Days’ prior written notice to the Borrower, declare the Loans then
outstanding to be due and payable in whole (or in part, in which case any principal not so
declared to be due and payable may thereafter be declared to be due and payable), and thereupon
the principal of the Loans so declared to be due and payable, together with accrued interest
thereon and all fees, premiums and other obligations of the Borrower accrued or payable
hereunder, shall become due and payable immediately, without presentment, demand, protest or
other notice of any kind, all of which are hereby waived by the Borrower, at which point the
automatic stay of Section 362 of the Bankruptcy Code shall be terminated without order of the
Bankruptcy Court, without the need for filing any motion for relief from the automatic stay or
any other pleading, for the purpose of permitting the Administrative Agent and the Lenders to
exercise any or all of their rights and remedies set forth in the DIP Orders or the Loan
Documents, including without limitation: (A) directing the Administrative Agent to foreclose on
the Collateral and (B) moving the Bankruptcy Court (on shortened notice) to appoint a chief
restructuring officer for the Credit Parties, which the Credit Parties hereby agree not to oppose
such motion. In addition, upon the occurrence of an Event of Default, the Lenders (or the
Administrative Agent at the direction of the Majority Lenders) may file a motion to seek to
terminate or modify the Credit Parties’ plan exclusivity periods under section 1121(d) of the
Bankruptcy Code and have such motion heard on shortened notice (but in no event on less than
three (3) Business Days’ notice). Without limiting the foregoing, upon the occurrence and
during the continuance of an Event of Default, upon three (3) Business Days’ prior written notice
to the Borrower, the Administrative Agent and each Lender may protect and enforce its rights
under this Agreement and the other Loan Documents by any appropriate proceedings, including
proceedings for specific performance of any covenant or agreement contained in this Agreement
or any other Loan Document, and the Administrative Agent and each Lender may enforce
payment of any Obligations due and payable hereunder or enforce any other legal or equitable
right and remedies which it may have under this Agreement, any other Loan Document, or under
applicable law or in equity.

        Without limiting the generality of the foregoing, it is understood and agreed that if the
maturity of the Loans shall be accelerated or the Loans otherwise become due prior to the
Maturity Date (under any provision of this Article VIII or otherwise) a premium equal to the
Make-Whole Amount (in each case, determined as if the Loans were repaid at the time of such
acceleration at the option of the Borrower pursuant to Section 2.08 and as calculated by the
Majority Lenders which, absent manifest error, shall be deemed conclusive) shall also become
immediately due and payable and shall constitute part of the Obligations, in view of the
impracticability and extreme difficulty of ascertaining actual damages and by mutual agreement
of the parties as to a reasonable calculation of each Lender’s lost profits as a result thereof. Any
premium payable pursuant to this Article VIII shall be presumed to be the liquidated damages
sustained by each Lender as a result of the early redemption and the Credit Parties agree that it is
reasonable under the circumstances currently existing. The premium shall also be payable in the
event the Obligations are satisfied or released by foreclosure (whether by power of judicial
proceeding), deed in lieu of foreclosure or by any other means. THE CREDIT PARTIES
EXPRESSLY WAIVE (TO THE FULLEST EXTENT IT MAY LAWFULLY DO SO) THE
PROVISIONS OF ANY PRESENT OR FUTURE STATUTE OR LAW THAT PROHIBITS
OR MAY PROHIBIT THE COLLECTION OF THE FOREGOING PREMIUM IN
CONNECTION WITH ANY SUCH ACCELERATION. The Credit Parties expressly agree (to
the fullest extent it may lawfully do so) that: (A) the premium is reasonable and is the product of


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an arm’s length transaction between sophisticated business people, ably represented by counsel;
(B) the premium shall be payable notwithstanding the then prevailing market rates at the time
payment is made; (C) there has been a course of conduct between the Lenders and the Credit
Parties giving specific consideration in this transaction for such agreement to pay the premium;
and (D) the Credit Parties shall be estopped hereafter from claiming differently than as agreed to
in this paragraph. The Credit Parties expressly acknowledge that its agreement to pay the
premium to Lenders as herein described is a material inducement to Lenders to enter into this
Agreement.

        Notwithstanding anything to the contrary contained in this Agreement, upon the
occurrence and during the continuance of an Event of Default, the Borrower irrevocably waives
the right to direct the application of any and all payments at any time or times thereafter received
by Administrative Agent from or on behalf of Borrower or any Guarantor of all or any part of the
Obligations, and, as between Borrower on the one hand and Administrative Agent and Lenders
on the other, Administrative Agent shall have the continuing and exclusive right to apply and to
reapply any and all payments received against the Obligations in such manner as Administrative
Agent may deem advisable notwithstanding any previous application by Administrative Agent.

        Following the occurrence and during the continuance of an Event of Default,
Administrative Agent shall apply any and all payments received by Administrative Agent in
respect of the Obligations, and any and all proceeds of Collateral received by Administrative
Agent, in the following order: first, to all fees, costs, indemnities, liabilities, obligations and
expenses incurred by or owing to Administrative Agent with respect to this Agreement, the other
Loan Documents or the Collateral, second, to all fees, costs, indemnities and expenses incurred
by or owing to any Lender with respect to this Agreement, the other Loan Documents or the
Collateral, including any Make-Whole Amount, third, to accrued and unpaid interest on the
Obligations, fourth, to the principal amount of the Obligations outstanding, and fifth, to any other
indebtedness or obligations of Borrower owing to Administrative Agent or any Lender under the
Loan Documents. Any balance remaining after giving effect to the applications set forth above
shall be delivered to the Borrower or to whoever may be lawfully entitled to receive such balance
or as a court of competent jurisdiction may direct. In carrying out any of the applications set
forth herein, amounts received shall be applied in the numerical order provided until exhausted
prior to the application to the next succeeding category.

                                          ARTICLE IX.

                              THE ADMINISTRATIVE AGENT

       Section 9.01 Appointment and Authority.

       (a)     Each of the Lenders hereby irrevocably appoints Wilmington Trust, National
Association, to act on its behalf as the Administrative Agent hereunder and under the other Loan
Documents and authorizes the Administrative Agent to take such actions on its behalf and to
exercise such powers as are delegated to the Administrative Agent by the terms hereof, together
with such actions and powers as are reasonably incidental thereto.




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       (b)     The Administrative Agent shall also act as the collateral agent under the Loan
Documents, and each of the Lenders hereby irrevocably appoints and authorizes the
Administrative Agent to act as the agent of such Lender for purposes of acquiring, holding and
enforcing any and all Liens on Collateral granted by any of the Credit Parties to secure any of the
Obligations, together with such powers and discretion as are reasonably incidental thereto.

       Section 9.02 Rights as a Lender. The Person serving as the Administrative Agent
hereunder shall have the same rights and powers in its capacity, if applicable, as a Lender as any
other Lender and may exercise the same as though it were not the Administrative Agent, and
such Person and its Affiliates may accept deposits from, lend money to and generally engage in
any kind of business with any Credit Party or other Affiliate thereof as if it were not the
Administrative Agent hereunder.

        Section 9.03 Exculpatory Provisions. The duties of Administrative Agent shall be
mechanical and administrative in nature. The Administrative Agent shall not have any duties or
obligations except those expressly set forth herein or in the other Loan Documents, and its duties
hereunder shall be administrative in nature. Without limiting the generality of the foregoing:

        (a)     the Administrative Agent shall not be subject to any fiduciary or other implied
duties, regardless of whether a Default has occurred and is continuing,

       (b)     the Administrative Agent shall not have any duty to take any discretionary action
or exercise any discretionary powers, except discretionary rights and powers expressly
contemplated hereby that the Administrative Agent is required to exercise as directed in writing
by the Majority Lenders (or such other number or percentage of the Lenders as shall be
necessary under the circumstances as provided in Section 11.02); provided that Administrative
Agent shall not be required to take any action that, in its judgment or the judgment of its counsel,
may expose Administrative Agent to liability or that is contrary to any Loan Document or
applicable Requirements of Law, and

        (c)    except as expressly set forth herein, the Administrative Agent shall not have any
duty to disclose, and shall not be liable for the failure to disclose, any information relating to any
Credit Party or any of their Affiliates that is communicated to or obtained by the Person serving
as Administrative Agent or any of its Affiliates in any capacity.

       The Administrative Agent shall not be liable for any action taken or not taken by it with
the consent or at the request of the Majority Lenders (or such other number or percentage of the
Lenders as shall be necessary under the circumstances as provided in Section 11.02) or in the
absence of its own gross negligence or willful misconduct as determined by a final
non-appealable judgment of a court of competent jurisdiction.

       The Administrative Agent shall be deemed not to have knowledge of any Default unless
and until written notice thereof is given to the Administrative Agent by the Borrower or a
Lender, and the Administrative Agent shall not be responsible for or have any duty to ascertain
or inquire into (i) any statement, warranty or representation made in or in connection with this
Agreement or any other Loan Document, (ii) the contents of any certificate, report or other
document delivered hereunder or thereunder or in connection herewith or therewith, (iii) the



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performance or observance of any of the covenants, agreements or other terms or conditions set
forth herein or therein, (iv) the validity, enforceability, effectiveness or genuineness of this
Agreement, or any other Loan Document or any other agreement, instrument or document, or the
creation, perfection or priority of any Lien purported to be created by the Security Documents,
(v) the value or the sufficiency of any Collateral or (vi) the satisfaction of any condition set forth
in Article IV or elsewhere herein, other than to confirm receipt of items expressly required to be
delivered to the Administrative Agent. The Administrative Agent shall not be liable for any
apportionment or distribution of payments made by it in good faith and if any such
apportionment or distribution is subsequently determined to have been made in error the sole
recourse of any Lender to whom payment was due but not made, shall be to recover from other
Lenders any payment in excess of the amount to which they are determined to be entitled (and
such other Lenders hereby agree to return to such Lender any such erroneous payments received
by them).

        Without limiting the generality of the foregoing, the use of the term “agent” in this
Agreement with reference to the Administrative Agent is not intended to connote any fiduciary
or other implied (or express) obligations arising under agency doctrine of any applicable law.
Instead, such term us used merely as a matter of market custom and is intended to create or
reflect only an administrative relationship between independent contracting parties. Each party
to this Agreement acknowledges and agrees that the Administrative Agent and the Majority
Lenders or the Majority Lenders may use an outside service provider for the tracking of all UCC
financing statements or similar statements under the laws of any other jurisdiction required to be
filed pursuant to the Loan Documents and notification to the Administrative Agent, the Majority
Lenders or the Majority Lenders, as the case may be, of, among other things, the upcoming lapse
or expiration thereof.

         Section 9.04 Reliance by Administrative Agent. The Administrative Agent shall be
entitled to rely upon, and shall not incur any liability for relying upon, any notice, request,
certificate, consent, statement, instrument, document or other writing believed by it to be genuine
and to have been signed or sent by the proper Person. The Administrative Agent also may rely
upon any statement made to it orally or by telephone and believed by it to be made by the proper
Person, and shall not incur any liability for relying thereon. The Administrative Agent may
consult with legal counsel (who may be counsel for the Borrower), independent accountants and
other experts selected by it, and shall not be liable for any action taken or not taken by it in
accordance with the advice of any such counsel, accountants or experts. In determining
compliance with any condition hereunder to the making of a Loan that by its terms must be
fulfilled to the satisfaction of a Lender, the Administrative Agent may presume that such
condition is satisfactory to such Lender unless the Administrative Agent shall have received
written notice to the contrary from such Lender prior to the making of such Loan.

        The Administrative Agent may at any time request instructions from Lenders with respect
to any actions or approvals which by the terms of this Agreement or of any of the Loan
Documents the Administrative Agent is permitted or desires to take or to grant, and if such
instructions are promptly requested, the Administrative Agent shall be absolutely entitled to
refrain from taking any action or to withhold any approval and shall not be under any liability
whatsoever to any Person for refraining from any action or withholding any approval under any
of the Loan Documents until it shall have received such instructions from Majority Lenders or all


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or such other portion of Lenders as shall be prescribed by this Agreement. Without limiting the
foregoing, no Lender shall have any right of action whatsoever against the Administrative Agent
as a result of Administrative Agent acting or refraining from acting under this Agreement or any
of the other Loan Documents in accordance with the instructions of the Majority Lenders (or all
or such other portion of Lenders as shall be prescribed by this Agreement) and, notwithstanding
the instructions of the Majority Lenders (or such other applicable portion of Lenders), the
Administrative Agent shall have no obligation to take any action if it believes, in good faith, that
such action would violate applicable law or exposes the Administrative Agent to any liability for
which it has not received indemnification reasonably satisfactory to it.

         Section 9.05 Delegation of Duties. The Administrative Agent may perform any and all
its duties and exercise its rights and powers by or through any one or more sub-agents appointed
by the Administrative Agent. The Administrative Agent and any such sub-agent may perform
any and all its duties and exercise its rights and powers through their respective Related Parties.
The exculpatory provisions of the preceding paragraphs, including those indemnification and
expense reimbursement provisions in Section 10.03, shall apply to any such sub-agent and to the
Related Parties of the Administrative Agent and any such sub-agent, and shall apply to their
respective activities in connection with the syndication of the credit facilities provided for herein
as well as activities as Administrative Agent. Administrative Agent shall not incur any liability
for any action or inaction taken by a sub-agent except to the extent that a court of competent
jurisdiction determines in a final and non-appealable judgment that the Administrative Agent
acted with gross negligence or willful misconduct in the selection of such sub-agents.

        Section 9.06 Collateral and Guaranty Matters. Each Lender hereby authorizes the
Administrative Agent to release any Collateral that it is permitted to be sold or released pursuant
to the terms of the Loan Documents (it being understood and agreed that the Administrative
Agent may conclusively rely without further inquiry on a certificate of a Responsible Officer as
to the sale or other disposition of property being made in full compliance with the provisions of
the Loan Documents). Each Lender hereby authorizes the Administrative Agent to execute and
deliver to the Borrower, at the Borrower’s sole cost and expense, any and all releases of Liens,
termination statements, assignments or other documents reasonably requested by the Borrower in
connection with any Disposition of Collateral to the extent such Disposition is permitted by the
terms of this Agreement or is otherwise authorized by the terms of the Loan Documents. Upon
request by the Administrative Agent at any time, the Lenders will confirm the Administrative
Agent’s authority to release and/or subordinate particular types or items of Collateral pursuant to
this Article IX.

        The Administrative Agent shall have no obligation whatsoever to any Lender or any
other person to investigate, confirm or assure that the Collateral exists or is owned by any Credit
Party or is cared for, protected or insured or has been encumbered, or that any particular items of
Collateral meet the eligibility criteria applicable in respect of the Loans hereunder, or that the
liens and security interests granted to the Administrative Agent pursuant hereto or any of the
Loan Documents or otherwise have been properly or sufficiently or lawfully created, perfected,
protected or enforced or are entitled to any particular priority, or to exercise at all or in any
particular manner or under any duty of care, disclosure or fidelity, or to continue exercising, any
of the rights, authorities and powers granted or available to the Administrative Agent in this
Agreement or in any of the other Loan Documents, it being understood and agreed that in respect


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of the Collateral, or any act, omission or event related thereto, subject to the other terms and
conditions contained herein, the Administrative Agent shall have no duty or liability whatsoever
to any other Lender.

        The Administrative Agent and each Lender hereby appoint each other as agent for the
purpose of perfecting the Administrative Agent’s security interest in assets which, in accordance
with the Uniform Commercial Code in any applicable jurisdiction, can be perfected by
possession or control. Should any Lender (other than the Administrative Agent) obtain
possession or control of any such assets, such Lender shall notify the Administrative Agent
thereof, and, promptly upon the Administrative Agent’s request therefor, shall deliver such assets
to the Administrative Agent or in accordance with the Administrative Agent’s instructions or
transfer control to the Administrative Agent in accordance with the Administrative Agent’s
instructions. Each Lender agrees that it will not have any right individually to enforce or seek to
enforce any Security Instrument or to realize upon any Collateral for the Loans unless instructed
to do so by the Administrative Agent (or consented to by Administrative Agent), it being
understood and agreed that such rights and remedies may be exercised only by Administrative
Agent.

       Section 9.07 Resignation and Removal of Administrative Agent.

         (a)     The Administrative Agent may resign at any time by notifying the Lenders and
the Borrower. Upon any such resignation, the Majority Lenders shall have the right to appoint a
successor. If no successor shall have been so appointed by the Majority Lenders and shall have
accepted such appointment within thirty (30) days after the retiring Administrative Agent gives
notice of its resignation (or such earlier date as shall be agreed by the Majority Lenders) (the
“Resignation Effective Date”), then the retiring Administrative Agent may, on behalf of the
Lenders, appoint a successor Administrative Agent which shall be a bank with an office in
Chicago, Illinois or New York, New York, or an Affiliate of any such bank that is a financial
institution. Upon the acceptance of its appointment as Administrative Agent hereunder by a
successor which shall include execution by such successor Administrative Agent of a joinder
agreement in form and substance reasonably satisfactory to the Majority Lenders, such successor
shall succeed to and become vested with all the rights, powers, privileges and duties of the
retiring Administrative Agent. If no successor administrative agent has accepted appointment as
Administrative Agent by the date which is thirty (30) days following a retiring Administrative
Agents notice of resignation, the retiring Administrative Agent’s resignation shall nevertheless
thereupon become effective.

        (b)     The Majority Lenders may remove the Administrative Agent upon twenty (20)
days prior written notice to the Administrative Agent and appoint a successor. If no successor
administrative agent shall have been appointed by the Majority Lenders and shall have accepted
such appointment within twenty (20) days (or such earlier date as shall be agreed by the Majority
Lenders (the “Removal Effective Date”)) which acceptance shall include execution by such
successor Administrative Agent of a joinder agreement in form and substance reasonably
satisfactory to the Majority Lenders, then such removal shall nonetheless become effective in
accordance with such notice on the Removal Effective Date.




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        (c)    With the effect of the Resignation Effective Date or the Removal Effective Date,
the Administrative Agent shall be discharged from its duties and obligations hereunder and under
the other Loan Documents, all payments, communications and determinations provided to be
made by, to or through the Administrative Agent shall instead be made by or to each Lender
directly and the Majority Lenders shall perform all of the duties of the Administrative Agent
hereunder until such time, if any, as the Majority Lenders appoint a successor as provided for
above. After the Administrative Agent’s resignation or removal hereunder, the provisions of this
Article and Section 11.03 shall continue in effect for the benefit of such retiring Administrative
Agent, its sub-agents and their respective Related Parties in respect of any actions taken or
omitted to be taken by any of them while it was acting as Administrative Agent.

         Section 9.08 Non-Reliance on Administrative Agent and Other Lenders. Each
Lender acknowledges and agrees that the extensions of credit made hereunder are commercial
loans and not investments in a business enterprise or securities. Each Lender further represents
that it is engaged in making, acquiring or holding commercial loans in the ordinary course of its
business and has, independently and without reliance upon the Administrative Agent or any other
Lender and based on such documents and information as it has deemed appropriate, made its
own credit analysis and decision to enter into this Agreement as a Lender, and to make, acquire
or hold Loans hereunder. Each Lender shall, independently and without reliance upon the
Administrative Agent or any other Lender and based on such documents and information (which
may contain material, non-public information within the meaning of the United States securities
laws concerning the Borrower and its Affiliates) as it shall from time to time deem appropriate,
continue to make its own decisions in taking or not taking action under or based upon this
Agreement, any related agreement or any document furnished hereunder or thereunder and in
deciding whether or to the extent to which it will continue as a lender or assign or otherwise
transfer its rights, interests and obligations hereunder.

       Section 9.09 Administrative Agent May File Proofs of Claim. In case of the
pendency of any receivership, insolvency, liquidation, bankruptcy, reorganization, arrangement,
adjustment, composition or other judicial proceeding relative to the Borrower or any Subsidiary,
the Administrative Agent shall be entitled and empowered, by intervention in such proceeding or
otherwise:

        (a)     to file and prove a claim for the whole amount of the principal and interest owing
and unpaid in respect of the Loans and all other Indebtedness that are owing and unpaid and to
file such other documents as may be necessary or advisable in order to have the claims of the
Lenders and the Administrative Agent (including any claim for the reasonable compensation,
expenses, disbursements and advances of the Lenders and the Administrative Agent and their
respective agents and counsel and all other amounts due the Lenders and the Administrative
Agent under Section 11.03 of this Agreement allowed in such judicial proceeding); and

       (b)    to collect and receive any monies or other property payable or deliverable on any
such claims and to distribute the same;

and any custodian, receiver, assignee, trustee, liquidator, sequestrator or other similar official in
any such judicial proceeding is hereby authorized by each Lender to make such payments to the
Administrative Agent and, in the event that the Administrative Agent shall consent to the making


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of such payments directly to the Lenders, to pay to the Administrative Agent any amount due for
the reasonable compensation, expenses, disbursements and advances of the Administrative Agent
and their agents and counsel, and any other amounts due the Administrative Agent under
Section 11.03.

       Nothing contained herein shall be deemed to authorize the Administrative Agent to
authorize or consent to or accept or adopt on behalf of any Lender any plan of reorganization,
arrangement, adjustment or composition affecting the Indebtedness or the rights of any Lender or
to authorize the Administrative Agent to vote in respect of the claim of any Lender in any such
proceeding.

        Anything contained in any of the Loan Documents to the contrary notwithstanding,
Borrower, Administrative Agent and each Secured Party hereby agree that (i) no Secured Party
shall have any right individually to realize upon any of the Collateral or to enforce the Guaranty,
it being understood and agreed that all powers, rights and remedies hereunder and under any of
the Loan Documents may be exercised solely by Administrative Agent, for the benefit of the
Secured Parties in accordance with the terms hereof and thereof and all powers, rights and
remedies under the Security Documents may be exercised solely by the Administrative Agent for
the benefit of the Secured Parties in accordance with the terms thereof, and (ii) in the event of a
foreclosure or similar enforcement action by Administrative Agent on any of the Collateral
pursuant to a public or private sale or other disposition (including, without limitation, pursuant to
Section 363(k), Section 1129(b)(2)(a)(ii) or otherwise of the Bankruptcy Code), Administrative
Agent (or any Lender, except with respect to a “credit bid” pursuant to Section 363(k),
Section 1129(b)(2)(a)(ii) or otherwise of the Bankruptcy Code,) may be the purchaser or licensor
of any or all of such Collateral at any such sale or other disposition and Administrative Agent, as
agent for and representative of Secured Parties (but not any Lender or Lenders in its or their
respective individual capacities) shall be entitled, upon instructions from Majority Lenders, for
the purpose of bidding and making settlement or payment of the purchase price for all or any
portion of the Collateral sold at any such sale or disposition, to use and apply any of the
Obligations as a credit on account of the purchase price for any collateral payable by
Administrative Agent at such sale or other disposition. The Secured Parties hereby irrevocably
authorize the Administrative Agent, at the direction of the Majority Lenders, to credit bid all or
any portion of the Obligations (including accepting some or all of the Collateral in satisfaction of
some or all of the Obligations pursuant to a deed in lieu of foreclosure or otherwise) and in such
manner purchase (either directly or through one or more acquisition vehicles) all or any portion
of the Collateral (a) at any sale thereof conducted under the provisions of the Bankruptcy Code,
including under Sections 363, 1123 or 1129 thereof, or any similar laws in any other jurisdictions
to which a Credit Party is subject, (b) at any other sale or foreclosure or acceptance of collateral
in lieu of debt conducted by (or with the consent or at the direction of) the Administrative Agent
(whether by judicial action or otherwise) in accordance with any applicable law. In connection
with any such credit bid and purchase, the Obligations owed to the Secured Parties shall be
entitled to be, and shall be, credit bid on a ratable basis (with Obligations with respect to
contingent or unliquidated claims receiving contingent interests in the acquired assets on a
ratable basis that would vest upon the liquidation of such claims in an amount proportional to the
liquidated portion of the contingent claim amount used in allocating the contingent interests) in
the asset or assets so purchased (or in the Capital Stock or debt instruments of the acquisition
vehicle or vehicles that are used to consummate such purchase). In connection with any such bid


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(i) the Administrative Agent shall be authorized to form one or more acquisition vehicles to
make a bid, (ii) to adopt documents providing for the governance of the acquisition vehicle or
vehicles (provided that any actions by the Administrative Agent with respect to such acquisition
vehicle or vehicles, including any disposition of the assets or Capital Stock thereof shall be
governed, directly or indirectly, by the vote of the Majority Lenders, irrespective of the
termination of this Agreement and without giving effect to the limitations on actions by the
Majority Lenders contained in Section 11.02), (iii) the Administrative Agent shall be authorized
to assign the relevant Obligations to any such acquisition vehicle pro rata by the Lenders, as a
result of which each of the Lenders shall be deemed to have received a pro rata portion of any
Capital Stock and/or debt instruments issued by such an acquisition vehicle on account of the
assignment of the Obligations to be credit bid, all without the need for any Secured Party or
acquisition vehicle to take any further action, and (iv) to the extent that Obligations that are
assigned to an acquisition vehicle are not used to acquire Collateral for any reason (as a result of
another bid being higher or better, because the amount of Obligations assigned to the acquisition
vehicle exceeds the amount of debt credit bid by the acquisition vehicle or otherwise), such
Obligations shall automatically be reassigned to the Lenders pro rata and the Capital Stock
and/or debt instruments issued by any acquisition vehicle on account of the Obligations that had
been assigned to the acquisition vehicle shall automatically be cancelled, without the need for
any Secured Party or any acquisition vehicle to take any further action.

                                           ARTICLE X.

                                   SECURITY AGREEMENT

       Section 10.01 Grant of Security Interest.

        (a)     To secure the prompt payment and performance in full of all of the Obligations,
upon authorization by the Bankruptcy Court under any of the DIP Orders, including as pursuant
to sections 364(c)(2), 364(c)(3) and 364(d) of the Bankruptcy Code, each Credit Party hereby
pledges, hypothecates, assigns, charges, mortgages, delivers, and transfers to the Administrative
Agent, for the ratable benefit of each Secured Party, and hereby grants to the Administrative
Agent, for the ratable benefit of each Secured Party, a continuing security interest in all of such
Credit Party’s right, title and interest in, to and under, all of the following, whether now owned
or hereafter acquired by such Credit Party, and wherever located and whether now owned or
hereafter existing or arising:

                       (i)     all accounts;

                       (ii)    all contract rights;

                       (iii)   all chattel paper;

                       (iv)    all documents;

                       (v)     all instruments;

                       (vi)    all supporting obligations and letter-of-credit rights;



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                     (vii) all general intangibles (including                payment     intangibles,
       intercompany accounts, intellectual property and software);

                       (viii) all inventory and other goods;

                       (ix)    all motor vehicles, equipment and fixtures;

                       (x)     all investment property, financial assets and all securities accounts;

                       (xi)    all money, cash, Cash Equivalents, securities, and other property of
       any kind;

                       (xii)   all deposit accounts;

                       (xiii) all notes, and all documents of title;

                       (xiv) all books, records, and other property related to or referring to any
       of the foregoing, including books, records, account ledgers, data processing records,
       computer software and other property, and general intangibles at any time evidencing or
       relating to any of the foregoing;

                       (xv)    all commercial tort claims;

                       (xvi)   all real property owned or leased by such Credit Party;

                       (xvii) all other personal property of such Credit Party;

                       (xviii) all accessions to, substitutions for, and replacements, products, and
       proceeds of any of the foregoing, including, but not limited to, dividends or distributions
       on investment property, rents, profits, income and benefits, proceeds of any insurance
       policies, claims against third parties, and condemnation or requisition payments with
       respect to all or any of the foregoing; and

                       (xix)   any and all proceeds of any of the foregoing.

For the avoidance of doubt, the Collateral (or any component term thereof) shall include or be
deemed to include any claims and causes of action of the Credit Parties under sections 502(d),
544, 545, 547, 548, 549, 550 or 553 of the Bankruptcy Code, and any other avoidance actions
under the Bankruptcy Code or other applicable law and the proceeds thereof. Notwithstanding
the foregoing, the Collateral shall not include or be deemed to include (a) any United States
intent-to-use trademark application (“Excluded Trademark Applications”) until such time, if any,
as a statement of use or an amendment to allege use is filed with and accepted by the United
States Patent and Trademark Office or (b) any general intangibles, contracts, contract documents,
government approvals or other document (and any contract rights arising thereunder) to which
any Credit Party is a party to the extent (and only to the extent) that a Credit Party is prohibited
from granting a security interest in, pledge of, or charge, mortgage or lien upon any such
property by reason of (i) an existing and enforceable negative pledge or anti-assignment
provision the breach of which would give another party any rights of termination or (ii)


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applicable law or regulation to which such Credit Party is subject (the foregoing property in this
clause (b) and the contract rights thereunder, collectively, “Excluded Contracts” and together
with Excluded Trademark Applications, collectively, “Excluded Collateral”); provided that (x)
the exclusion from the lien and security interest granted by such Credit Party hereunder shall not
limit, restrict or impair the grant by such Credit Party of the lien and security interest in any right
to receive proceeds from the sale or other disposition of Excluded Collateral or any proceeds,
products, substitutes or replacements of any Excluded Collateral (unless otherwise constituting
Excluded Collateral) and (y) any Excluded Collateral shall automatically cease to be an
“Excluded Collateral” and excluded from the Collateral (and shall automatically be subject to the
lien and security interest granted hereby and to the terms and provisions of this Agreement as
“Collateral”), to the extent that (1) either of the prohibitions discussed in clause (i) or (ii) above
is ineffective or subsequently rendered ineffective under any Requirements of Law or the
Bankruptcy Code or is otherwise no longer in effect, or (2) with respect to Excluded Contracts,
the applicable Credit Party has obtained the consent of the other parties to such Excluded
Contract to the creation of a lien and security interest in, such Excluded Contract (which consent,
upon the reasonable request of the Administrative Agent, such Credit
Party will use its commercial reasonable efforts to obtain).

        (b)     Subject to the Carve-Out and the Hedge Carve-Out, pursuant to Bankruptcy Code
section 364(c)(1), the Administrative Agent on behalf of the Secured Parties has been granted a
super-priority administrative claim over any and all administrative claims (including claims
having priority under section 507 of the Bankruptcy Code or otherwise).

        (c)    The Liens, lien priority, administrative priorities and other rights and remedies
granted to the Administrative Agent and the Lenders pursuant to this Agreement, the DIP Orders
and the other Loan Documents (specifically including, but not limited to, the existence,
perfection and priority of the Liens and security interests provided herein and therein, and the
administrative priority provided herein and therein) shall not be modified, altered or impaired in
any manner by any other financing or extension of credit or incurrence of Indebtedness by the
Borrower (pursuant to section 364 of the Bankruptcy Code or otherwise), or by any dismissal or
conversion of any of the Chapter 11 Cases, or by any other act or omission whatsoever.

        (d)      The Liens and security interests granted pursuant to this Section 10.01 and the
administrative priority and lien priority granted pursuant this Agreement may be independently
granted by the Loan Documents and by other Loan Documents entered into hereafter. This
Agreement, the DIP Orders and such other Loan Documents supplement each other, and the
grants, priorities, rights and remedies of the Administrative Agent and the Lenders hereunder and
thereunder are cumulative; provided that, to the extent of conflict the DIP Orders control.

       Section 10.02 Perfection and Protection of Security Interests.

        (a)     Notwithstanding the perfection of any security interest granted hereunder
pursuant to the order of the Bankruptcy Court under the applicable DIP Order, each Credit Party
shall, as applicable, at such Credit Party’s expense, perform all steps reasonably requested by the
Administrative Agent or the Majority Lenders at any time to perfect, maintain, protect, and
enforce the Liens granted to the Administrative Agent, including: upon request by the
Administrative Agent or the Majority Lenders, delivering to the Administrative Agent (who shall


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hold on behalf of the other Secured Parties) (i) the originals of all certificated investment
property, instruments, documents, and chattel paper, and all other Collateral of which the
Majority Lenders reasonably determine the Administrative Agent should have physical
possession in order to perfect and protect the Administrative Agent’s security interest therein,
duly pledged, endorsed, or assigned to the Administrative Agent without restriction, (ii)
certificates of title (excluding deeds for real estate) covering any portion of the Collateral for
which certificates of title have been issued and (iii) all letters of credit on which such Credit
Party is named beneficiary.

        (b)    To the fullest extent permitted by applicable law, the Administrative Agent may
file one or more financing statements disclosing the Liens on the Collateral granted to the
Administrative Agent.

       (c)     To the extent any Credit Party owns any investment property, such Credit Party
agrees as follows with respect to such investment property:

               (i)     all cash dividends, cash distributions, and other cash or Cash Equivalents
       in respect of such investment property at any time payable or deliverable to such Credit
       Party shall be deposited into an account specified by the Administrative Agent; and

               (ii)   such Credit Party will not acknowledge any transfer or encumbrance in
       respect of such investment property to or in favor of any Person other than the
       Administrative Agent or a Person designated by the Administrative Agent in writing.

        (d)      To the extent the Capital Stock of any Subsidiary of a Credit Party is in
certificated form, upon the Administrative Agent’s or Majority Lender’s reasonable request, such
Credit Party shall deliver all certificates or instruments at any time representing or evidencing
such Capital Stock in such Subsidiary to the Administrative Agent, and shall be in suitable form
for transfer by delivery, or shall be accompanied by instruments of transfer or assignment, duly
executed in blank, all in form and substance satisfactory to the Majority Lenders. The
Administrative Agent shall have the right, at any time, after the occurrence and during the
continuance of an Event of Default, upon three Business Days’ prior written notice, to transfer to
or to register in the name of the Administrative Agent or its nominee any Capital Stock in such
Subsidiary. In addition, the Administrative Agent shall have the right at any time to exchange
certificates or instruments representing or evidencing Capital Stock of such Subsidiaries for
certificates or instruments of smaller or larger denominations.

       Section 10.03 Deposit Accounts. No Credit Party shall open any deposit or securities
account without the prior written consent of the Majority Lenders.

       Section 10.04 Title to, Liens on and Use of Collateral. Each Credit Party represents
and warrants to the Secured Parties and agrees with the Secured Parties that: (a) all of the
Collateral owned by such Credit Party is and will (subject to dispositions permitted hereunder)
continue to be owned by such Credit Party free and clear of all Liens whatsoever, except for the
Liens permitted under Section 6.03, (b) the Liens granted to the Administrative Agent in the
Collateral will not be junior in priority to any Lien other than the Carve-Out, the Hedge Carve-
Out and the Non-Primed Excepted Liens (only to the extent set forth in the DIP Orders), and (c)



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such Credit Party will use, store, and maintain the Collateral owned by such Credit Party
consistent with past practice. The inclusion of proceeds in the Collateral shall not be deemed to
constitute any Secured Party’s consent to any sale or other disposition of the Collateral except as
expressly permitted herein.

        Section 10.05 Right to Cure. Upon the occurrence and during the continuance of an
Event of Default, upon three Business Days’ prior written notice, the Administrative Agent shall
have the right to (but shall not be obligated to), pay any amount or do any act required of any
Credit Party hereunder or under any other Loan Document (other than in respect of principal,
interest or fees on the Loans) in order to preserve, protect, maintain, or enforce the Obligations,
the Collateral, or the Liens granted to the Administrative Agent, and which any Credit Party fails
to pay or do, including payment of any judgment against any Credit Party, any insurance
premium, any warehouse charge, any finishing or processing charge, any landlord’s or bailee’s
claim, and any other obligation secured by a Lien upon or with respect to the Collateral. All
payments that the Administrative Agent makes under this Section 10.05 and all out-of-pocket
costs and expenses that the Administrative Agent pays or incurs in connection with any
reasonable action taken by it hereunder shall be considered part of the Obligations and shall bear
interest until repaid at the rate set forth in Section 2.10. Any payment made or other action taken
by the Administrative Agent under this Section 10.05 shall be without prejudice to any right to
assert an Event of Default hereunder and to proceed thereafter as herein provided.

        Section 10.06 Power of Attorney. Upon the occurrence of and during the continuance
of an Event of Default, upon three Business Days’ prior written notice, each Credit Party hereby
appoints the Administrative Agent and the Administrative Agent’s designee(s) as such Credit
Party’s attorney to sign such Credit Party’s name on any invoice, bill of lading, warehouse
receipt, or other document of title relating to any Collateral, on drafts against customers, on
assignments of accounts, on notices of assignment, financing statements, and other public
records and to file any such financing statements permitted under this Agreement by electronic
means with or without a signature as authorized or required by applicable law or filing
procedure. Each Credit Party ratifies and approves all acts of such attorney. This power, being
coupled with an interest, is irrevocable until the Discharge of Obligations.

        Section 10.07 The Secured Parties’ Rights, Duties and Liabilities. The Credit Parties
assume all responsibility and liability arising from or relating to the use, sale, or other disposition
of the Collateral. The Obligations shall not be affected by any failure of any Secured Party to
take any steps to perfect the Liens granted to the Administrative Agent or to collect or realize
upon the Collateral, nor shall loss of or damage to the Collateral release any Credit Party from
any of the Obligations.

        Section 10.08 Site Visits, Observations and Testing. The Secured Parties and their
representatives will have the right at any commercially reasonable time, and upon reasonable
advance notice to the applicable Credit Party, to enter and visit the properties of any Credit Party
constituting or containing Collateral for the purposes of observing or inspecting such Collateral.
The Secured Parties may examine, audit and make copies of any and all of the Credit Parties’
books and records and the Collateral and discuss the Credit Parties’ affairs with executive
officers or managers of any Credit Party. No site visit, observation, or inspection by the Secured
Parties will result in a waiver of any Default or Event of Default or impose any liability on the


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Secured Parties other than for damages incurred as a result of the gross negligence or willful
misconduct by the Secured Parties as determined by a final, non-appealable order of a court of
competent jurisdiction. The Secured Parties will make reasonable efforts to avoid interfering
with any use of such properties or any other property in exercising any rights provided
hereunder; provided that, notwithstanding anything to the contrary in this Section 10.08, none of
the Credit Parties or any of their respective Subsidiaries will be required to disclose, permit the
inspection, examination or making copies or abstracts of, or discussion of, any document,
information or other matter that (x) in respect of which disclosure to the Administrative Agent or
any Secured Party (or their respective representatives or contractors) is prohibited by applicable
law or (y) is subject to attorney-client privilege or constitutes attorney work product.

        Section 10.09 Rights in Respect of Investment Property. During the existence of an
Event of Default, subject to any order of the Bankruptcy Court and the Bankruptcy Code, (i) the
Administrative Agent may, upon three (3) Business Days’ prior written notice to the relevant
Credit Party, transfer or register in the name of the Administrative Agent or any of its nominees,
for the benefit of the Secured Parties, any or all of the Collateral consisting of investment
property, the proceeds thereof (in cash or otherwise), and all liens, security, rights, remedies, and
claims of any Credit Party with respect thereto (collectively, the “Pledged Collateral”) held by
the Administrative Agent hereunder, and the Administrative Agent or its nominee may
thereafter, after written notice to the applicable Credit Party, exercise all voting and corporate
rights at any meeting of any corporation, partnership, or other business entity issuing any of the
Pledged Collateral and any and all rights of conversion, exchange, subscription, or any other
rights, privileges, or options pertaining to any of the Pledged Collateral as if it were the absolute
owner thereof, including the right to exchange at its discretion any and all of the Pledged
Collateral upon the merger, consolidation, reorganization, recapitalization, or other readjustment
of any corporation, partnership, or other business entity issuing any of such Pledged Collateral or
upon the exercise by any such issuer or the Administrative Agent of any right, privilege, or
option pertaining to any of the Pledged Collateral, and in connection therewith, to deposit and
deliver any and all of the Pledged Collateral with any committee, depositary, transfer agent,
registrar, or other designated agency upon such terms and conditions as it may determine, all
without liability except to account for property actually received by it, but the Administrative
Agent shall have no duty to exercise any of the aforesaid rights, privileges, or options, and the
Administrative Agent shall not be responsible for any failure to do so or delay in so doing, (ii) to
the extent permitted under any requirements of law, after the Administrative Agent’s giving of
the notice specified in clause (i) of this Section 10.09, all rights of any Credit Party to exercise
the voting and other consensual rights which it would otherwise be entitled to exercise and to
receive the dividends, interest, and other distributions which it would otherwise be authorized to
receive and retain thereunder shall be suspended until such Event of Default shall no longer
exist, and all such rights shall, until such Event of Default shall no longer exist, thereupon
become vested in the Administrative Agent which shall thereupon have the sole right to exercise
such voting and other consensual rights and to receive and hold as Pledged Collateral such
dividends, interest, and other distributions, (iii) all dividends, interest, and other distributions
which are received by any Credit Party contrary to the provisions of this Section 10.09 shall be
received in trust for the benefit of the Administrative Agent, shall be forthwith deposited into an
account specified by the Administrative Agent as Collateral in the same form as so received
(with any necessary endorsement), and (iv) each Credit Party shall execute and deliver (or cause
to be executed and delivered) to the Administrative Agent all such proxies and other instruments


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as the Administrative Agent or a Lender may request for the purpose of enabling the
Administrative Agent to exercise the voting and other rights which it is entitled to exercise
pursuant to this Section 10.09 and to receive the dividends, interest, and other distributions
which it is entitled to receive and retain pursuant to this Section 10.09.

        Section 10.10 No Filings Required. Notwithstanding anything to the contrary contained
herein, (a) the Liens and security interests referred to herein shall be deemed valid and perfected
by entry of the DIP Orders and (b) the Administrative Agent shall not be required to file any
financing statements, mortgages, notices of Lien or similar instruments in any jurisdiction or
filing office or to take any other action in order to validate or perfect the Lien and security
interest granted by or pursuant to this Agreement, any other Loan Document or the DIP Orders.
If the Administrative Agent (as directed by the Majority Lenders in their sole discretion) from
time to time elects to prepare, file, register or publish any such financing statements, mortgages,
notices of Lien or similar instruments in any jurisdiction or filing office, take possession of any
Collateral, or take any other action to validate, render enforceable or perfect all or any portion of
the Administrative Agent’s Lien on the Collateral, all such documents and actions shall be
deemed to have been filed, registered, published or recorded or taken at the time and on the date
that the Interim Order or the Final Order, as applicable, is entered and shall not negate or impair
the validity or effectiveness of this Section 10.10 or of the perfection of any other Liens on the
Collateral in favor of the Administrative Agent.



                                          ARTICLE XI.

                                       MISCELLANEOUS

       Section 11.01 Notices.

        (a)     Subject to paragraph (b) below, all notices and other communications provided
for herein shall be in writing and shall be delivered by hand or overnight courier service, mailed
by certified or registered mail or sent by telecopy or email, as follows:

               (i)    if to the Borrower, to Gastar Exploration Inc., 1331 Lamar, Suite 650,
       Houston, Texas 77010, Attention: Michael A. Gerlich, Senior Vice President and Chief
       Financial Officer / Trent Determann, Vice President-Finance, Facsimile No. (713) 739-
       0458, email: mgerlich@gastar.com / tdetermann@gastar.com, with a copy to Kirkland
       and Ellis LLP, Attention: Ross Kwasteniet, Facsimile No, (312) 862-2200, email:
       rkwasteniet@kirkland.com and John Luze, Facsimile No, (312) 862-2200, email:
       john.luze@kirkland.com;

              (ii)   if to the Administrative Agent, to Wilmington Trust, National Association,
       50 South Sixth Street, Suite 1290, Minneapolis, MN 55402, Attention: Jeffrey Rose,
       Facsimile No. (612) 217-5651, email: JRose@wilmingtontrust.com , with a copy to
       Arnold & Porter Kaye Scholer LLP 250 West 55th Street, New York, NY 10019,
       Attention: Alan Glantz, Facsimile No, (212) 836-6763, email:
       Alan.Glantz@arnoldporter.com; and



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             (iii) if to any other Lender, to its address (or telecopy number) set forth in its
       Administrative Questionnaire.

        (b)    Notices and other communications to the Lenders hereunder may be delivered or
furnished by electronic communications pursuant to procedures approved by the Administrative
Agent; provided that the foregoing shall not apply to notices pursuant to Article II unless
otherwise agreed by the Administrative Agent and the applicable Lender. The Administrative
Agent or the Borrower may, in their discretion, agree to accept notices and other
communications to it hereunder by electronic communications pursuant to procedures approved
by it; provided that approval of such procedures may be limited to particular notices or
communications.

        (c)    Any party hereto may change its address or telecopy number or email address for
notices and other communications hereunder by written notice to the other parties hereto. All
notices and other communications given to any party hereto in accordance with the provisions of
this Agreement shall be deemed to have been given on the date of receipt if received during the
recipient’s normal business hours.

         (d)      Borrower hereby acknowledges that (i) the Administrative Agent may make
available to the Lenders materials and/or information provided by or on behalf of Borrower
hereunder (collectively, the “Borrower Materials”) by posting the Borrower Materials on
SyndTrak, Intralinks, DebtDomain or another similar electronic system (the “Platform”), (ii) the
Administrative Agent may, in its discretion, agree to accept notices and other communications to
it hereunder by electronic communications pursuant to procedures approved by it; provided that
approval of such procedures may be limited to particular notices or communications, and
(iii) certain of the Lenders may be “public-side” Lenders (i.e., Lenders, or representatives
thereof, that do not wish to receive material nonpublic information with respect to Borrower or
its securities) (each, a “Public Lender”). Borrower hereby agrees that (w) all Borrower Materials
that are to be made available to Public Lenders shall be clearly and conspicuously marked
“PUBLIC” which, at a minimum, shall mean that the word “PUBLIC” shall appear prominently
on the first page thereof; (x) by marking Borrower Materials “PUBLIC”, Borrower shall be
deemed to have authorized the Administrative Agent and the Lenders to treat such Borrower
Materials as not containing any material non-public information with respect to Borrower or its
securities for purposes of United States Federal and state securities laws (provided, however, that
to the extent such Borrower Materials constitute Information, they shall be treated as set forth in
Section 11.12); (y) all Borrower Materials marked “PUBLIC” are permitted to be made available
through a portion of the Platform designated as “Public Investor”; and (z) the Administrative
Agent shall be entitled to treat any Borrower Materials that are not marked “PUBLIC” as being
suitable only for posting on a portion of the Platform not marked as “Public Investor”.
Notwithstanding the foregoing, the following Borrower Materials shall be marked “PUBLIC”,
unless Borrower notifies the Administrative Agent in writing promptly (after being given a
reasonable opportunity to review such Borrower Materials) that any such document contains
material non-public information: (1) the Loan Documents and (2) notification of changes in the
terms of the Loan Documents.

     (e)  THE PLATFORM IS PROVIDED “AS IS” AND “AS AVAILABLE”.
NEITHER THE ADMINISTRATIVE AGENT NOR ANY OF ITS RELATED PARTIES


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WARRANTS THE ACCURACY OR COMPLETENESS OF THE COMMUNICATIONS OR
THE ADEQUACY OF THE PLATFORM AND EACH EXPRESSLY DISCLAIMS
LIABILITY FOR ERRORS OR OMISSIONS IN THE COMMUNICATIONS. NO
WARRANTY OF ANY KIND, EXPRESS, IMPLIED OR STATUTORY, INCLUDING ANY
WARRANTY OF MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE,
NON-INFRINGEMENT OF THIRD PARTY RIGHTS OR FREEDOM FROM VIRUSES OR
OTHER CODE DEFECTS IS MADE BY THE ADMINISTRATIVE AGENT OR ANY OF ITS
RELATED PARTIES IN CONNECTION WITH THE COMMUNICATIONS OR THE
PLATFORM. IN NO EVENT SHALL THE ADMINISTRATIVE AGENT OR ANY OF ITS
RELATED PARTIES HAVE ANY LIABILITY TO ANY CREDIT PARTY, ANY LENDER
OR ANY OTHER PERSON FOR DAMAGES OF ANY KIND, WHETHER OR NOT BASED
ON STRICT LIABILITY AND INCLUDING DIRECT OR INDIRECT, SPECIAL,
INCIDENTAL OR CONSEQUENTIAL DAMAGES, LOSSES OR EXPENSES (WHETHER
IN TORT, CONTRACT OR OTHERWISE) ARISING OUT OF ANY CREDIT PARTY’S OR
THE ADMINISTRATIVE AGENT’S TRANSMISSION OF COMMUNICATIONS
THROUGH THE INTERNET, EXCEPT TO THE EXTENT THE LIABILITY OF ANY SUCH
PERSON IS FOUND IN A FINAL AND NON-APPEALABLE RULING BY A COURT OF
COMPETENT JURISDICTION TO HAVE RESULTED FROM SUCH PERSON’S GROSS
NEGLIGENCE OR WILLFUL MISCONDUCT.

       Section 11.02 Waivers; Amendments.

        (a)     No failure or delay by the Administrative Agent or any Lender in exercising any
right or power hereunder shall operate as a waiver thereof, nor shall any single or partial exercise
of any such right or power, or any abandonment or discontinuance of steps to enforce such a
right or power, preclude any other or further exercise thereof or the exercise of any other right or
power. The rights and remedies of the Administrative Agent and the Lenders hereunder are
cumulative and are not exclusive of any rights or remedies that they would otherwise have. No
waiver of any provision of this Agreement or consent to any departure by the Borrower
therefrom shall in any event be effective unless the same shall be permitted by paragraph (b) of
this Section, and then such waiver or consent shall be effective only in the specific instance and
for the purpose for which given. Without limiting the generality of the foregoing, the making of
the Loans shall not be construed as a waiver of any Default, regardless of whether the
Administrative Agent or any Lender may have had notice or knowledge of such Default at the
time.

        (b)    None of this Agreement, any other Loan Document or any provision hereof or
thereof may be waived, amended or modified, and no consent to any departure by the Borrower
or any other Credit Party therefrom shall be effective, except pursuant to an agreement or
agreements in writing entered into by the Credit Parties and the Majority Lenders, and
acknowledged by the Administrative Agent, or by the Credit Parties and the Administrative
Agent in each case with the consent of the Majority Lenders; provided that no such agreement
shall:

              (i)   increase the Commitment of any Lender without the written consent of
       such Lender;



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              (ii)    reduce the principal amount of any Loan or reduce the rate of interest
       thereon, or reduce any fees or premium payable hereunder, without the written consent of
       each Lender affected thereby;

               (iii) postpone the scheduled date of payment of the principal amount of any
       Loan, or any interest thereon, or any fees or premium payable hereunder, or reduce the
       amount of, waive or excuse any such payment, or postpone the scheduled date of
       expiration of any of the Aggregate Commitment, without the written consent of each
       Lender affected thereby (it being understood that any waiver of a mandatory prepayment
       of the Loans shall not constitute a postponement or waiver of a scheduled payment or
       date of expiration);

               (iv)   change Section 2.13(b) or Section 2.13(c) in a manner that would alter the
       pro rata sharing of payments required thereby, without the written consent of each
       Lender;

               (v)    except in connection with any Dispositions permitted in Section 6.05,
       release any Guarantor from its obligations under Article VII or release any of the
       Collateral without the written consent of each Lender; or

               (vi)   change any of the provisions of this Section or the definition of “Majority
       Lenders” or any other provision hereof specifying the number or percentage of Lenders
       required to waive, amend or modify any rights hereunder or make any determination or
       grant any consent hereunder, without the written consent of each Lender;

provided further that (i) no such agreement shall amend, modify or otherwise affect the rights or
duties of the Administrative Agent hereunder or under any other Loan Document without the
prior written consent of the Administrative Agent and (ii) the Fee Letter may only be amended,
or rights or privileges thereunder waived, in a writing executed only by the parties thereto.

       (c)    Notwithstanding anything to the contrary contained in this Section 11.02, the
Administrative Agent may, with the consent of the Borrower only, amend, modify or supplement
this Agreement or any of the other Loan Documents to correct any clerical errors or cure any
ambiguity, omission, mistake, defect or inconsistency.

       Section 11.03 Expenses; Indemnity; Damage Waiver.

        (a)     The Borrower shall pay (i) all reasonable and documented out-of-pocket expenses
incurred by the Administrative Agent, the Majority Lenders and each of their respective
Affiliates, including the reasonable fees, charges and disbursements of counsel for the
Administrative Agent and the Majority Lenders, in connection with the preparation and
administration of this Agreement and the other Loan Documents or any amendments,
modifications or waivers of the provisions hereof (whether or not the transactions contemplated
hereby or thereby shall be consummated) and (ii) all reasonable and documented out-of-pocket
expenses incurred by the Administrative Agent, the Majority Lenders or any other Lender,
including the reasonable fees, charges and disbursements of any counsel for the Administrative
Agent, the Majority Lenders or any other Lender, in connection with the enforcement or
protection of its rights in connection with this Agreement, including its rights under this Section,


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or in connection with the Loans made hereunder, including all such out-of-pocket expenses
incurred during any workout, restructuring or negotiations in respect of such Loans.

       (b)  THE CREDIT PARTIES SHALL, JOINTLY AND SEVERALLY, INDEMNIFY
THE ADMINISTRATIVE AGENT AND EACH LENDER, AND EACH RELATED PARTY
OF ANY OF THE FOREGOING PERSONS (EACH SUCH PERSON BEING CALLED AN
“INDEMNITEE”) AGAINST, AND HOLD EACH INDEMNITEE HARMLESS FROM, ANY
AND ALL LOSSES, CLAIMS, DAMAGES, LIABILITIES AND RELATED EXPENSES,
INCLUDING THE FEES, CHARGES AND DISBURSEMENTS OF ANY COUNSEL FOR
ANY INDEMNITEE, INCURRED BY OR ASSERTED AGAINST ANY INDEMNITEE
ARISING OUT OF, IN CONNECTION WITH, OR AS A RESULT OF (I) THE EXECUTION
OR DELIVERY OF THIS AGREEMENT OR ANY AGREEMENT OR INSTRUMENT
CONTEMPLATED HEREBY, THE PERFORMANCE BY THE PARTIES HERETO OF
THEIR RESPECTIVE OBLIGATIONS HEREUNDER OR THE CONSUMMATION OF THE
TRANSACTIONS OR ANY OTHER TRANSACTIONS CONTEMPLATED HEREBY,
(II) ANY LOAN OR THE USE OF THE PROCEEDS THEREFROM, (III) ANY ACTUAL OR
ALLEGED PRESENCE OR RELEASE OF HAZARDOUS MATERIALS ON OR FROM ANY
PROPERTY OWNED OR OPERATED BY THE BORROWER OR ANY SUBSIDIARY, OR
ANY OTHER ENVIRONMENTAL LIABILITY RELATED IN ANY WAY TO THE
BORROWER OR ANY SUBSIDIARY, OR (IV) ANY ACTUAL OR PROSPECTIVE CLAIM,
LITIGATION, INVESTIGATION OR PROCEEDING RELATING TO ANY OF THE
FOREGOING, WHETHER OR NOT SUCH CLAIM, LITIGATION, INVESTIGATION OR
PROCEEDING IS BROUGHT BY A CREDIT PARTY, ANY EQUITY HOLDERS OF A
CREDIT PARTY, ANY AFFILIATES OF A CREDIT PARTY, ANY CREDITORS OF A
CREDIT PARTY OR ANY OTHER THIRD PERSON AND WHETHER BASED ON
CONTRACT, TORT OR ANY OTHER THEORY AND REGARDLESS OF WHETHER ANY
INDEMNITEE IS A PARTY THERETO; PROVIDED THAT SUCH INDEMNITY SHALL
NOT, AS TO ANY INDEMNITEE, BE AVAILABLE TO THE EXTENT THAT SUCH
LOSSES, CLAIMS, DAMAGES, LIABILITIES OR RELATED EXPENSES ARE
DETERMINED BY A COURT OF COMPETENT JURISDICTION BY FINAL AND
NONAPPEALABLE JUDGMENT TO HAVE RESULTED FROM THE GROSS
NEGLIGENCE OR WILLFUL MISCONDUCT OF SUCH INDEMNITEE OR, SOLELY IN
THE CASE OF A LENDER, FROM A CLAIM BROUGHT BY A CREDIT PARTY AGAINST
SUCH LENDER FOR MATERIAL BREACH IN BAD FAITH OF SUCH LENDER’S
OBLIGATIONS UNDER THIS AGREEMENT OR ANY OTHER LOAN DOCUMENTS.
FOR THE AVOIDANCE OF DOUBT, WITH RESPECT TO THE FOREGOING PROVISO
“ANY INDEMNITEE” MEANS ONLY THE INDEMNITEE OR INDEMNITEES, AS THE
CASE MAY BE, THAT ARE DETERMINED BY SUCH COURT IN SUCH JUDGMENT TO
HAVE BEEN GROSSLY NEGLIGENT OR TO HAVE ENGAGED IN WILLFUL
MISCONDUCT OR, SOLELY IN THE CASE OF A LENDER, MATERIALLY BREACHED
THIS AGREEMENT OR ANY OTHER LOAN DOCUMENT IN BAD FAITH AND NOT
ANY OTHER INDEMNITEE. THIS SECTION 11.03(b) SHALL NOT APPLY WITH
RESPECT TO TAXES (WHICH ARE SUBJECT TO SECTION 2.17 HEREOF) OTHER
THAN ANY TAXES THAT REPRESENT LOSSES, CLAIMS OR DAMAGES ARISING
FROM ANY NON-TAX CLAIM.




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         (c)    To the extent that any Credit Party fails to pay any amount required to be paid by
it to the Administrative Agent (or any sub-agent thereof) or any Related Party thereof under
paragraph (a) or (b) of this Section, each Lender severally agrees to pay to the Administrative
Agent (or any such sub-agent thereof) or such Related Party of the Administrative Agent, as the
case may be, such Lender’s Applicable Percentage (determined as of the time that the applicable
unreimbursed expense or indemnity payment is sought (or if such unreimbursed amount or
indemnity payment is sought after the date on which the Loans have been paid in full, and the
Commitments have terminated or expired, in accordance with such Lender’s Applicable
Percentage immediately prior to the date on which the Loans are paid in full and the
Commitments have terminated or expired)) of such unpaid amount. If any indemnity furnished
to Administrative Agent for any purpose shall, in the opinion of the Administrative Agent, be
insufficient or become impaired, the Administrative Agent may call for additional indemnity and
cease, or not commence, to do the acts indemnified against even if so directed by Majority
Lenders, until such additional indemnity is furnished. Each Lender hereby authorizes the
Administrative Agent to set off and apply any and all amounts at any time owing to such Lender
under any Loan Document or otherwise payable by the Administrative Agent to the Lender from
any source against any amount due to the Administrative Agent under this paragraph (c).

        (d)      To the extent permitted by applicable law, no party hereto shall assert, and each
such party hereby waives, any claim against any other party hereto on any theory of liability, for
special, indirect, consequential or punitive damages (as opposed to direct or actual damages)
arising out of, in connection with, or as a result of, this Agreement or any agreement or
instrument contemplated hereby, the Transactions, the Loans or the use of the proceeds thereof;
provided that, nothing in this clause (d) shall relieve any Credit Party of any obligation it may
have to indemnify an Indemnitee against special, indirect, consequential or punitive damages
asserted against such Indemnitee by a third party.

        (e)  All amounts due under this Section shall be payable not later than 10 days after
written demand therefor.

        (f)   The agreements in this Section 11.03 shall survive the resignation or removal of
the Administrative Agent, the replacement of any Lender, the termination of this Agreement and
the repayment, satisfaction or discharge of the Secured Obligations.

       Section 11.04 Successors and Assigns.

        (a)     The provisions of this Agreement shall be binding upon and inure to the benefit of
the parties hereto and their respective successors and assigns permitted hereby, except that (i) no
Credit Party may assign or otherwise transfer any of its rights or obligations hereunder without
the prior written consent of each Lender and the Administrative Agent (and any attempted
assignment or transfer by such Credit Party without such consent shall be null and void) and
(ii) no Lender may assign or otherwise transfer its rights or obligations hereunder except in
accordance with this Section. Nothing in this Agreement, expressed or implied, shall be
construed to confer upon any Person (other than the parties hereto, their respective successors
and assigns permitted hereby, Participants (to the extent provided in paragraph (c) of this
Section) and, to the extent expressly contemplated hereby, the Related Parties of each of the



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Administrative Agent and the Lenders) any legal or equitable right, remedy or claim under or by
reason of this Agreement.

       (b)

                (i)    Subject to the conditions set forth in paragraph (b)(ii) below, any Lender
       may assign to one or more Persons (other than an Ineligible Institution) all or a portion of
       its rights and obligations under this Agreement (including all or a portion of its
       Commitment and the Loans at the time owing to it) with the prior written consent (such
       consent not to be unreasonably withheld) of (A) the Administrative Agent and (B) if no
       Event of Default has occurred and is continuing, the Borrower.

              (ii)    Assignments shall be subject to the following additional conditions:

                      (A)    except in the case of an assignment to a Lender, an Affiliate of a
              Lender, an Approved Fund or an assignment of the entire remaining amount of
              the assigning Lender’s Commitment or Loans, the amount of the Commitment or
              Loans of the assigning Lender subject to each such assignment (determined as of
              the date the Assignment and Assumption with respect to such assignment is
              delivered to the Administrative Agent) shall not be less than $1,000,000 unless
              the Administrative Agent otherwise consents;

                     (B)     each partial assignment shall be made as an assignment of a
              proportionate part of all the assigning Lender’s rights and obligations in respect of
              such Lender’s Commitment and such Lender’s Loans under this Agreement;

                     (C)     the parties to each assignment shall execute and deliver to the
              Administrative Agent an Assignment and Assumption, together with a processing
              and recordation fee of $3,500 (unless such fee is waived or reduced by the
              Administrative Agent in its sole discretion);

                     (D)     the assignee, if it shall not be a Lender, shall deliver to the
              Administrative Agent an Administrative Questionnaire and any tax forms
              required under Section 2.17; and

                      (E)    in the case of an assignment of a Refinanced Commitment, the
              assignor and assignee party to the Assignment and Assumption shall have also
              executed and delivered to the Prepetition Term Loan Agent an Assignment and
              Assumption (as defined in the Prepetition Term Loan Agreement) in respect of
              Prepetition Term Loan Obligations in the same amount as the Refinanced
              Commitment being assigned.

         For the purposes of this Section 11.04(b), the term “Approved Fund” and “Ineligible
Institution” have the following meanings:

       “Approved Fund” means any Person (other than a natural person) that is engaged in
making, purchasing, holding or investing in bank loans and similar extensions of credit in the
ordinary course of its business and that is administered or managed by (a) a Lender, (b) an


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Affiliate of a Lender or (c) an entity or an Affiliate of an entity that administers or manages a
Lender.

        “Ineligible Institution” means a (a) natural person, (b) company, investment vehicle or
trust for, or owned and operated for the primary benefit of, a natural person or relative(s) thereof
or (c) or the Borrower.

               (iii) Subject to acceptance and recording thereof pursuant to paragraph (b)(iv)
       of this Section, from and after the effective date specified in each Assignment and
       Assumption the assignee thereunder shall be a party hereto and, to the extent of the
       interest assigned by such Assignment and Assumption, have the rights and obligations of
       a Lender under this Agreement, and the assigning Lender thereunder shall, to the extent
       of the interest assigned by such Assignment and Assumption, be released from its
       obligations under this Agreement (and, in the case of an Assignment and Assumption
       covering all of the assigning Lender’s rights and obligations under this Agreement, such
       Lender shall cease to be a party hereto but shall continue to be entitled to the benefits of
       Section 2.14, Section 2.15, Section 2.16, Section 2.17 and Section 11.03). Any
       assignment or transfer by a Lender of rights or obligations under this Agreement that
       does not comply with this Section 11.04 shall be treated for purposes of this Agreement
       as a sale by such Lender of a participation in such rights and obligations in accordance
       with paragraph (c) of this Section except that any attempted assignment or transfer by any
       Lender that does not comply with clause (C) of Section 11.04(b)(ii) shall be null and
       void.

               (iv)    The Administrative Agent, acting for this purpose as a non-fiduciary agent
       of the Borrower, shall maintain at one of its offices a copy of each Assignment and
       Assumption delivered to it and a register for the recordation of the names and addresses
       of the Lenders, and the Commitment and the Applicable Percentage of, and principal
       amount (and stated interest) of the Loans owing to, each Lender pursuant to the terms
       hereof from time to time (the “Register”). The entries in the Register shall be conclusive,
       and the Credit Parties, the Administrative Agent and the Lenders may treat each Person
       whose name is recorded in the Register pursuant to the terms hereof as a Lender
       hereunder for all purposes of this Agreement, notwithstanding notice to the contrary. The
       Register shall be available for inspection by the Credit Parties and any Lender, at any
       reasonable time and from time to time upon reasonable prior notice. For the avoidance of
       doubt, the language in this Section 11.04(b)(iv) is intended to cause the Loans, and any
       participation therein, to be in “registered form” as defined in Sections 163(f), 87(h)(2)
       and 881(c)(2) of the Code and Section 5f.103-(c) of the United States Treasury
       Regulations, and such language shall be interpreted and applied consistently therewith.

               (v)    Upon its receipt of a duly completed Assignment and Assumption
       executed by an assigning Lender and an assignee, the assignee’s completed
       Administrative Questionnaire and any applicable tax forms (unless the assignee shall
       already be a Lender hereunder), the processing and recordation fee referred to in
       paragraph (b) of this Section, and any written consent to such assignment required by
       paragraph (b) of this Section and any Assignment and Assumption (as defined in the
       Prepetition Term Loan Agreement) required under paragraph (b)(E) of this Section, the


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  Administrative Agent shall accept such Assignment and Assumption and record the
  information contained therein in the Register; provided that if either the assigning Lender
  or the assignee shall have failed to make any payment required to be made by it pursuant
  to Section 2.18(d) or Section 11.03(c), the Administrative Agent shall have no obligation
  to accept such Assignment and Assumption and record the information therein in the
  Register unless and until such payment shall have been made in full, together with all
  accrued interest thereon. No assignment shall be effective for purposes of this
  Agreement unless it has been recorded in the Register as provided in this paragraph.

  (c)

          (i)      Any Lender may, without the consent of the Borrower or the
  Administrative Agent, sell participations to one or more banks or other entities (a
  “Participant”), other than an Ineligible Institution, in all or a portion of such Lender’s
  rights and obligations under this Agreement (including all or a portion of its Commitment
  and the Loans owing to it); provided that (A) such Lender’s obligations under this
  Agreement shall remain unchanged, (B) such Lender shall remain solely responsible to
  the other parties hereto for the performance of such obligations and (C) the Borrower, the
  Administrative Agent, and the other Lenders shall continue to deal solely and directly
  with such Lender in connection with such Lender’s rights and obligations under this
  Agreement. Any agreement or instrument pursuant to which a Lender sells such a
  participation shall provide that such Lender shall retain the sole right to enforce this
  Agreement and to approve any amendment, modification or waiver of any provision of
  this Agreement; provided that such agreement or instrument may provide that such
  Lender will not, without the consent of the Participant, agree to any amendment,
  modification or waiver described in the first proviso to Section 11.02(b) that affects such
  Participant. The Borrower agrees that each Participant shall be entitled to the benefits of
  Section 2.14, Section 2.15, Section 2.16 and Section 2.17 (subject to the requirements
  and limitations therein, including the requirements under Section 2.17(f) (it being
  understood, however, that the documentation required under Section 2.17(f) shall be
  delivered to the participating Lender)) to the same extent as if it were a Lender and had
  acquired its interest by assignment pursuant to paragraph (b) of this Section; provided
  that such Participant shall not be entitled to receive any greater payment under
  Section 2.14, Section 2.15, Section 2.16 or Section 2.17, with respect to any participation,
  than its participating Lender would have been entitled to receive, except to the extent
  such entitlement to receive a greater payment results from a Change in Law that occurs
  after the Participant acquired the applicable participation. To the extent permitted by
  law, each Participant also shall be entitled to the benefits of Section 11.08 as though it
  were a Lender, provided that such Participant agrees to be subject to Section 2.18(c) as
  though it were a Lender. Each Lender that sells a participation shall, acting solely for this
  purpose as a non-fiduciary agent of the Borrower, maintain a register on which it enters
  the name and address of each Participant and the principal amounts (and stated interest)
  of each Participant’s interest in the Loans or other obligations under the Loan Documents
  (the “Participant Register”), and no participation shall be effective unless it has been
  recorded in the Participant Register pursuant to this Section; provided that no Lender
  shall have any obligation to disclose all or any portion of the Participant Register
  (including the identity of any Participant or any information relating to a Participant’s


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       interest in any Commitments, Loans or its other obligations under any Loan Document)
       to any Person except to the extent that such disclosure is necessary to establish that such
       Commitment, Loan or other obligation is in registered form under Section 5f.103-1(c) of
       the United States Treasury Regulations. The entries in the Participant Register shall be
       conclusive absent manifest error, and such Lender shall treat each Person whose name is
       recorded in the Participant Register as the owner of such participation for all purposes of
       this Agreement notwithstanding any notice to the contrary. For the avoidance of doubt,
       the Administrative Agent (in its capacity as Administrative Agent) shall have no
       responsibility for maintaining a Participant Register.

        (d)      Any Lender may at any time pledge or assign a security interest in all or any
portion of its rights under this Agreement to secure obligations of such Lender, including without
limitation any pledge or assignment to secure obligations to a Federal Reserve Bank or other
central banking authority, and this Section shall not apply to any such pledge or assignment of a
security interest; provided that no such pledge or assignment of a security interest shall release a
Lender from any of its obligations hereunder or substitute any such pledgee or assignee for such
Lender as a party hereto.

        (e)     The Administrative Agent shall not be responsible or have any liability for, or
have any duty to ascertain, inquire into, monitor or enforce, compliance with the provisions
hereof relating to Ineligible Institutions. Without limiting the generality of the foregoing, the
Administrative Agent shall not (x) be obligated to ascertain, monitor or inquire as to whether any
Lender or Participant or prospective Lender or Participant is an Ineligible Institution or (y) have
any liability with respect to or arising out of any assignment or participation of Loans, or
disclosure of confidential information, to any Ineligible Institution.

        Section 11.05 Survival. All covenants, agreements, representations and warranties
made by the Credit Parties herein and in the certificates or other instruments delivered in
connection with or pursuant to this Agreement shall be considered to have been relied upon by
the other parties hereto and shall survive the execution and delivery of this Agreement and the
making of any Loans, regardless of any investigation made by any such other party or on its
behalf and notwithstanding that the Administrative Agent or any Lender may have had notice or
knowledge of any Default or incorrect representation or warranty at the time any credit is
extended hereunder, and shall continue in full force and effect as long as the principal of or any
accrued interest on any Loan or any fee, premium or any other amount payable under this
Agreement is outstanding and so long as the Aggregate Commitment has not expired or
terminated. The provisions of Section 2.14, Section 2.15, Section 2.16, Section 2.17, Section
11.03, Article VII and Article IX shall survive and remain in full force and effect regardless of
the consummation of the transactions contemplated hereby, the repayment of the Loans, the
expiration or termination of the Aggregate Commitment or the termination of this Agreement or
any provision hereof.

       Section 11.06 Counterparts; Integration; Effectiveness; Electronic Execution.

        (a)     This Agreement may be executed in counterparts (and by different parties hereto
on different counterparts), each of which shall constitute an original, but all of which when taken
together shall constitute a single contract. This Agreement and any separate letter agreements


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with respect to fees payable to the Administrative Agent constitute the entire contract among the
parties relating to the subject matter hereof and supersede any and all previous agreements and
understandings, oral or written, relating to the subject matter hereof. THIS AGREEMENT
AND THE OTHER LOAN DOCUMENTS REPRESENT THE FINAL AGREEMENT
AMONG THE PARTIES AND MAY NOT BE CONTRADICTED BY EVIDENCE OF
PRIOR, CONTEMPORANEOUS, OR SUBSEQUENT ORAL AGREEMENTS OF THE
PARTIES. THERE ARE NO UNWRITTEN ORAL AGREEMENTS BETWEEN THE
PARTIES. This Agreement shall become effective when it shall have been executed by the
Administrative Agent and when the Administrative Agent shall have received counterparts
hereof which, when taken together, bear the signatures of each of the other parties hereto, and
thereafter shall be binding upon and inure to the benefit of the parties hereto and their respective
successors and assigns. Delivery of an executed counterpart of a signature page of this
Agreement by telecopy shall be effective as delivery of a manually executed counterpart of this
Agreement.

        (b)      Delivery of an executed counterpart of a signature page of this Agreement by
telecopy, emailed pdf. or any other electronic means that reproduces an image of the actual
executed signature page shall be effective as delivery of a manually executed counterpart of this
Agreement. The words “execution,” “signed,” “signature,” “delivery,” and words of like import
in or relating to any document to be signed in connection with this Agreement and the
transactions contemplated hereby shall be deemed to include Electronic Signatures, deliveries or
the keeping of records in electronic form, each of which shall be of the same legal effect, validity
or enforceability as a manually executed signature, physical delivery thereof or the use of a
paper-based recordkeeping system, as the case may be, to the extent and as provided for in any
applicable law, including the Federal Electronic Signatures in Global and National Commerce
Act, the New York State Electronic Signatures and Records Act, or any other similar state laws
based on the Uniform Electronic Transactions Act.

        Section 11.07 Severability. Any provision of this Agreement held to be invalid, illegal
or unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of
such invalidity, illegality or unenforceability without affecting the validity, legality and
enforceability of the remaining provisions hereof; and the invalidity of a particular provision in a
particular jurisdiction shall not invalidate such provision in any other jurisdiction.

        Section 11.08 Right of Setoff. If an Event of Default shall have occurred and be
continuing, upon three (3) Business Days’ prior written notice, each Lender and each of its
Affiliates is hereby authorized at any time and from time to time, to the fullest extent permitted
by law, to set off and apply any and all deposits (general or special, time or demand, provisional
or final) at any time held and other obligations at any time owing by such Lender or Affiliate to
or for the credit or the account of the Borrower against any of and all the obligations of any
Credit Party now or hereafter existing under this Agreement held by such Lender, irrespective of
whether or not such Lender shall have made any demand under this Agreement and although
such obligations may be unmatured. The rights of each Lender under this Section and
Section 7.08 are in addition to other rights and remedies (including other rights of setoff) which
such Lender may have.




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     Section 11.09 GOVERNING LAW; JURISDICTION; CONSENT TO SERVICE
OF PROCESS.

     (a)  THIS AGREEMENT SHALL BE CONSTRUED IN ACCORDANCE WITH
AND GOVERNED BY THE LAW OF THE STATE OF NEW YORK EXCEPT TO THE
EXTENT THE LAW OF THE STATE OF NEW YORK IS SUPERSEDED BY THE
BANKRUPTCY CODE.

      (b)  EACH CREDIT PARTY HEREBY IRREVOCABLY AND
UNCONDITIONALLY SUBMITS, FOR ITSELF AND ITS PROPERTY, TO THE
EXCLUSIVE JURISDICTION OF THE BANKRUPTCY COURT, OR, TO THE EXTENT
THE BANKRUPTCY COURT DOES NOT HAVE (OR ABSTAINS FROM EXERCISING)
JURISDICTION, THE SUPREME COURT OF THE STATE OF NEW YORK SITTING IN
NEW YORK COUNTY, BOROUGH OF MANHATTAN, AND OF THE UNITED STATES
DISTRICT COURT FOR THE SOUTHERN DISTRICT OF NEW YORK, AND ANY
APPELLATE COURT FROM ANY THEREOF, IN ANY ACTION OR PROCEEDING
ARISING OUT OF OR RELATING TO THIS AGREEMENT, OR FOR RECOGNITION OR
ENFORCEMENT OF ANY JUDGMENT, AND EACH OF THE PARTIES HERETO
HEREBY IRREVOCABLY AND UNCONDITIONALLY AGREES THAT ALL CLAIMS IN
RESPECT OF ANY SUCH ACTION OR PROCEEDING MAY BE HEARD AND
DETERMINED IN SUCH BANKRUPTCY COURT, NEW YORK STATE OR, TO THE
EXTENT PERMITTED BY LAW, IN SUCH FEDERAL COURT. EACH OF THE PARTIES
HERETO AGREES THAT A FINAL JUDGMENT IN ANY SUCH ACTION OR
PROCEEDING SHALL BE CONCLUSIVE AND MAY BE ENFORCED IN OTHER
JURISDICTIONS BY SUIT ON THE JUDGMENT OR IN ANY OTHER MANNER
PROVIDED BY LAW. NOTHING IN THIS AGREEMENT SHALL AFFECT ANY RIGHT
THAT THE ADMINISTRATIVE AGENT OR ANY LENDER MAY OTHERWISE HAVE TO
BRING ANY ACTION OR PROCEEDING RELATING TO THIS AGREEMENT AGAINST
ANY CREDIT PARTY OR ITS PROPERTIES IN THE COURTS OF ANY JURISDICTION.

     (c)   EACH CREDIT PARTY HEREBY IRREVOCABLY AND
UNCONDITIONALLY WAIVES, TO THE FULLEST EXTENT IT MAY LEGALLY AND
EFFECTIVELY DO SO, ANY OBJECTION WHICH IT MAY NOW OR HEREAFTER HAVE
TO THE LAYING OF VENUE OF ANY SUIT, ACTION OR PROCEEDING ARISING OUT
OF OR RELATING TO THIS AGREEMENT IN ANY COURT REFERRED TO IN
PARAGRAPH (B) OF THIS SECTION. EACH OF THE PARTIES HERETO HEREBY
IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY LAW, THE
DEFENSE OF AN INCONVENIENT FORUM TO THE MAINTENANCE OF SUCH ACTION
OR PROCEEDING IN ANY SUCH COURT.

     (d)   EACH PARTY TO THIS AGREEMENT IRREVOCABLY CONSENTS TO
SERVICE OF PROCESS IN THE MANNER PROVIDED FOR NOTICES IN SECTION 11.01.
NOTHING IN THIS AGREEMENT WILL AFFECT THE RIGHT OF ANY PARTY TO THIS
AGREEMENT TO SERVE PROCESS IN ANY OTHER MANNER PERMITTED BY LAW.

    Section 11.10 WAIVER OF JURY TRIAL. EACH PARTY HERETO HEREBY
WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT


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IT MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING DIRECTLY OR
INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE
TRANSACTIONS CONTEMPLATED HEREBY (WHETHER BASED ON CONTRACT,
TORT OR ANY OTHER THEORY). EACH PARTY HERETO (A) CERTIFIES THAT NO
REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PARTY HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD
NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER
AND (B) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE
BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS,
THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

        Section 11.11 Headings. Article and Section headings and the Table of Contents used
herein are for convenience of reference only, are not part of this Agreement and shall not affect
the construction of, or be taken into consideration in interpreting, this Agreement.

        Section 11.12 Confidentiality. Each of the Administrative Agent and the Lenders
agrees to maintain the confidentiality of the Information (as defined below), except that
Information may be disclosed (a) to its and its Affiliates’ directors, officers, employees and
agents, including accountants, legal counsel and other advisors (it being understood that the
Persons to whom such disclosure is made will be informed of the confidential nature of such
Information and instructed to keep such Information confidential), (b) to the extent requested by
any regulatory authority (including any self-regulatory authority, such as the National
Association of Insurance Commissioners), (c) to the extent required by Requirements of Law or
by any subpoena or similar legal process, (d) to any other party to this Agreement, (e) in
connection with the exercise of any remedies hereunder or any suit, action or proceeding relating
to this Agreement or the enforcement of rights hereunder, (f) subject to an agreement containing
provisions substantially the same as those of this Section, to (i) any assignee of or Participant in,
or any prospective assignee of or Participant in, any of its rights or obligations under this
Agreement or (ii) any actual or prospective counterparty (or its advisors) to any swap or
derivative transaction relating to the Credit Parties and their obligations, (g) with the consent of
the Borrower or (h) to the extent such Information (i) becomes publicly available other than as a
result of a breach of this Section or (ii) becomes available to the Administrative Agent or any
Lender on a nonconfidential basis from a source other than a Credit Party. For the purposes of
this Section, “Information” means all information received from any Credit Party relating to any
Credit Party or its business, other than any such information that is available to the
Administrative Agent or any Lender on a nonconfidential basis prior to disclosure by any Credit
Party; provided that, in the case of information received from any Credit Party after the date
hereof, such information is clearly identified at the time of delivery as confidential. Any Person
required to maintain the confidentiality of Information as provided in this Section shall be
considered to have complied with its obligation to do so if such Person has exercised the same
degree of care to maintain the confidentiality of such Information as such Person would accord
to its own confidential information.

       Section 11.13 Material Non-Public Information.

      (a)  EACH LENDER ACKNOWLEDGES THAT INFORMATION AS DEFINED
IN SECTION 11.12 FURNISHED TO IT PURSUANT TO THIS AGREEMENT MAY


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INCLUDE MATERIAL NON-PUBLIC INFORMATION CONCERNING THE BORROWER
AND ITS RELATED PARTIES OR THEIR RESPECTIVE SECURITIES, AND CONFIRMS
THAT IT HAS DEVELOPED COMPLIANCE PROCEDURES REGARDING THE USE OF
MATERIAL NON-PUBLIC INFORMATION AND THAT IT WILL HANDLE SUCH
MATERIAL NON-PUBLIC INFORMATION IN ACCORDANCE WITH THOSE
PROCEDURES AND APPLICABLE LAW, INCLUDING FEDERAL AND STATE
SECURITIES LAWS.

     (b)   ALL INFORMATION, INCLUDING REQUESTS FOR WAIVERS AND
AMENDMENTS, FURNISHED BY THE BORROWER OR THE ADMINISTRATIVE
AGENT PURSUANT TO, OR IN THE COURSE OF ADMINISTERING, THIS AGREEMENT
WILL BE SYNDICATE-LEVEL INFORMATION, WHICH MAY CONTAIN MATERIAL
NON-PUBLIC INFORMATION ABOUT THE BORROWER, THE CREDIT PARTIES AND
THEIR RELATED PARTIES OR THEIR RESPECTIVE SECURITIES. ACCORDINGLY,
EACH LENDER REPRESENTS TO THE BORROWER AND THE ADMINISTRATIVE
AGENT THAT IT HAS IDENTIFIED IN ITS ADMINISTRATIVE QUESTIONNAIRE A
CREDIT CONTACT WHO MAY RECEIVE INFORMATION THAT MAY CONTAIN
MATERIAL NON-PUBLIC INFORMATION IN ACCORDANCE WITH ITS COMPLIANCE
PROCEDURES AND APPLICABLE LAW.

       Section 11.14 Authorization to Distribute Certain Materials to Public-Siders.

        (a)    If the Borrower does not file this Agreement with the SEC, then the Borrower
hereby authorizes the Administrative Agent to distribute the execution version of this Agreement
and the Loan Documents to all Lenders, including their Public-Siders. The Borrower
acknowledges its understanding that Public-Siders and their firms may be trading in any of the
Parties’ respective securities while in possession of the Loan Documents.

        (b)      The Borrower represents and warrants that none of the information in the Loan
Documents constitutes or contains material non-public information within the meaning of the
federal and state securities laws. To the extent that any of the executed Loan Documents
constitutes at any time a material non-public information within the meaning of the federal and
state securities laws after the date hereof, the Borrower agrees that it will promptly make such
information publicly available by press release or public filing with the SEC.

        Section 11.15 Interest Rate Limitation. Notwithstanding anything herein to the
contrary, if at any time the interest rate applicable to any Loan, together with all fees, charges
and other amounts which are treated as interest on such Loan under applicable law (collectively
the “Charges”), shall exceed the maximum lawful rate (the “Maximum Rate”) which may be
contracted for, charged, taken, received or reserved by the Lender holding such Loan in
accordance with applicable law, the rate of interest payable in respect of such Loan hereunder,
together with all Charges payable in respect thereof, shall be limited to the Maximum Rate and,
to the extent lawful, the interest and Charges that would have been payable in respect of such
Loan but were not payable as a result of the operation of this Section shall be cumulated and the
interest and Charges payable to such Lender in respect of other Loans or periods shall be
increased (but not above the Maximum Rate therefor) until such cumulated amount, together
with interest thereon at the Federal Funds Effective Rate to the date of repayment, shall have


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been received by such Lender. In the event that, notwithstanding Section 11.09, applicable law
is the law of the State of Texas and such applicable law provides for an interest ceiling under
Chapter 303 of the Texas Finance Code (the “Texas Finance Code”) as amended, for each day,
the ceiling shall be the “weekly ceiling” as defined in the Texas Finance Code and shall be used
in this Note and the other Loan Documents for calculating the Maximum Rate and for all other
purposes. Chapter 346 of the Texas Finance Code (which regulates certain revolving credit
accounts (formerly Tex. Rev. Civ. Stat. Ann. Art. 5069, Ch. 15)) shall not apply to this
Agreement or to any Loan, nor shall this Agreement or any Loan be governed by or be subject to
the provisions of such Chapter 346 in any manner whatsoever.

        Section 11.16 USA PATRIOT Act. Each Lender that is subject to the requirements of
the USA Patriot Act (Title III of Pub. L. 107-56 (signed into law October 26, 2001)) (the “Act”)
and the Administrative Agent hereby notifies each Credit Party that pursuant to the requirements
of the Act, it is required to obtain, verify and record information that identifies each Credit Party,
which information includes the name and address of each Credit Party and other information that
will allow such Lender or the Administrative Agent to identify each Credit Party in accordance
with the Act.

       Section 11.17 Release of Guarantees and Liens.

       (a)     Upon Discharge of Obligations, the Collateral shall be released from the Liens
created by the Security Documents, and the Security Documents and all obligations (other than
those expressly stated to survive such termination) of each Credit Party under the Security
Documents shall terminate, all without delivery of any instrument or performance of any act by
any Person; and

        (b)     If any of the Collateral shall be sold, transferred or otherwise disposed of by the
Borrower or any Subsidiary in a transaction permitted by this Agreement, then the
Administrative Agent, at the request and sole expense of the Borrower or any Subsidiary, shall
execute and deliver to the Borrower or any Subsidiary all releases or other documents reasonably
necessary or desirable for the release of the Liens created by the Security Documents on such
Collateral; provided that the Borrower shall have delivered to the Administrative Agent, at least
five (5) Business Days prior to the date of the proposed release, a written request for release
identifying the terms of the Disposition in reasonable detail, including the price thereof and any
anticipated expenses in connection therewith, together with a certification by the Borrower
stating that such transaction is in compliance with this Agreement and the other Loan Documents
(and the Lenders hereby authorize and direct the Administrative Agent to conclusively rely on
such certifications in performing its obligations under this Section 11.17). At the request and
sole expense of the Borrower, a Guarantor shall be released from its obligations hereunder and
under the other Security Documents upon Discharge of Obligations.

                                      [Signature Page Follows]




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       IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed by their respective authorized officers as of the day and year first above written.

                                              BORROWER:

                                              GASTAR EXPLORATION INC.


                                              By:
                                              Name:
                                              Title:


                                              GUARANTOR:

                                              NORTHWEST PROPERTY VENTURES LLC


                                              By:
                                              Name:
                                              Title:




                                          Signature Page to
                               Gastar Exploration Inc. Credit Agreement
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                                   WILMINGTON TRUST, NATIONAL
                                   ASSOCIATION,
                                   as Administrative Agent


                                   By:
                                   Name:
                                   Title:




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                    Gastar Exploration Inc. Credit Agreement
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                                   AF V Energy I Holdings, L.P.,
                                   as a Lender


                                   By:
                                   Name:
                                   Title:     Authorized Signatory




                               Signature Page to
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                                    SCHEDULE 2.01

                                    COMMITMENTS

New Money Interim Loans

                                                              Percent of Aggregate New Money
           Lender              New Money Interim Commitment        Interim Commitment
AF V Energy I Holdings, L.P.      $15,000,000                                  100%
TOTAL:                                                                         100%


New Money Final Loans

                                                              Percent of Aggregate New Money
           Lender               New Money Final Commitment          Final Commitment
AF V Energy I Holdings, L.P.   $100,000,000, minus the sum                     100%
                               of the amount of New
                               Money Loans previously
                               drawn by the Borrower
TOTAL:                                                                         100%


New Money Reserve Loans

           Lender              New Money Reserve Commitment   New Money Reserve Commitment
AF V Energy I Holdings, L.P.   $100,000,000, minus the sum                     100%
                               of the amount of New
                               Money Loans previously
                               drawn by the Borrower
TOTAL:                                                                         100%


Refinanced Loans

           Lender                 Refinanced Commitment          Refinanced Commitment
AF V Energy I Holdings, L.P.   $286,242,682.88                                 100%
TOTAL:                                                                         100%
